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              EXHIBIT D
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       User Manual




  Insight Managed Smart Cloud
  Wireless Access Point
  Model WAC510




                                                    NETGEAR, Inc.
  August 2020                                       350 E. Plumeria Drive
  202-11840-07                                      San Jose, CA 95134, USA
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  For regulatory compliance information including the EU Declaration of Conformity, visit
  https://www.netgear.com/about/regulatory/.
  See the regulatory compliance document before connecting the power supply.
  For NETGEAR’s Privacy Policy, visit https://www.netgear.com/about/privacy-policy.
  By using this device, you are agreeing to NETGEAR’s Terms and Conditions at
  https://www.netgear.com/about/terms-and-conditions. If you do not agree, return the
  device to your place of purchase within your return period.
  Do not use this device outdoors. The PoE port is intended for intra building connection
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  Revision History

   Publication   Publish Date   Comments
   Part Number

   202-11840-07 August 2020     We added the following sections:
                                Change the format of the DHCP offer messages in a WiFi network on page 63
                                Manage sticky clients on page 100
                                Manage the ARP proxy on page 104
                                Manage the amount of broadcast traffic on page 105
                                We made major changes to the following sections:
                                Set up an open or secure WiFi network on page 45
                                Enable or disable client isolation for a WiFi network on page 56
                                Enable or disable PMF for a WiFi network on page 61
                                Manage the basic settings for the radios on page 79
                                Manage the advanced WiFi settings for the radios on page 94
                                Manage the broadcast and multicast settings for a radio on page 98
                                Manage load balancing for the radios on page 101
                                View WiFi and WAN traffic, traffic and ARP statistics, and channel utilization on
                                page 209
                                We made minor changes to other sections.
                                We removed the “Change the MCS index and data rate for a radio” section.

   202-11840-06 August 2019     We added the following sections:
                                AP mode only: Specify an existing domain name on page 150
                                Set up and manage captive portals for WiFi networks on page 67 and Set up an
                                external captive portal for a WiFi network on page 70
                                You enter the wrong password and can no longer log in to the access point on
                                page 232
                                We made major changes to the following sections:
                                Log in to the access point after initial setup on page 41 (To log in to the access
                                point, you now must use an HTTPS browser connection.)
                                Manage user accounts on page 125
                                Change the admin user account password on page 172
                                Back up the access point configuration on page 184 and Restore the access point
                                configuration on page 186
                                In other sections, we made minor changes in relation to the new features.
                                We removed the section about enabling and disabling Telnet. A Telnet connection
                                to the access point is no longer supported.




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   Publication    Publish Date   Comments
   Part Number

   202-11840-05 February 2019 We published the manual in a new style and added About NETGEAR Insight on
                              page 13.
                              We made major changes to the following sections:
                              Connect over WiFi using a WiFi-enabled computer or mobile device on page 29
                              Connect over Ethernet using a computer connected to the same network on
                              page 33
                              Connect over Ethernet using a directly connected computer on page 37
                              Set up an open or secure WiFi network on page 45
                              Enable or disable band steering with 802.11k RRM and 802.11v WiFi network
                              management on page 58
                              Change the channel width for a radio on page 86
                              Manage load balancing for the radios on page 101
                              Manage the maximum number of clients for a radio on page 97
                              Change the management mode to NETGEAR Insight or Web-browser on page
                              168
                              View the access point Internet, IP, and system settings on page 197
                              View the WiFi radio settings on page 200
                              Factory default settings on page 236
                              We made other minor changes and corrections throughout the manual.
                              We removed Set up a WiFi on/off schedule for the radios, which is replaced by
                              Disable or enable a WiFi network or set up a WiFi activity schedule on page 54.
                              We removed information about the Power LED alternating green and amber,
                              which is not an option for the Power LED.

   202-11840-04 July 2018        We added the following sections:
                                 Safety instructions and warnings for an indoor access point on page 17
                                 Enable or disable URL tracking for a WiFi network on page 62
                                 Set a data volume limit for the access point on page 106
                                 Router mode: Specify WAN Point-to-Point Protocol over Ethernet settings on
                                 page 140
                                 Schedule the access point to reboot on page 188
                                 View or download tracked URLs on page 211
                                 View the data volume consumption on page 216
                                 Check the Internet speed on page 224
                                 We made major changes to the following sections:
                                 Set up an open or secure WiFi network on page 45
                                 Disable or enable a WiFi network or set up a WiFi activity schedule on page 54
                                 Register and configure Facebook Wi-Fi for the access point on page 74
                                 Manage the advanced WiFi settings for the radios on page 94
                                 Add a user account on page 125
                                 Disable the DHCP client and configure a LAN or WAN IP address on page 137
                                 Router mode: Disable the DHCP client and specify a fixed WAN IP address on
                                 page 139
                                 Router mode: Enable the DHCP client and let the access point obtain a WAN IP
                                 address on page 144
                                 Perform a ping test on page 222
                                 We made other minor changes and corrections throughout the manual.



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   Publication     Publish Date    Comments
   Part Number

   202-11840-03 February 2018 We added Connect over the Internet using the NETGEAR Insight Cloud portal
                              on page 27, and, throughout the manual, information about the NETGEAR Insight
                              Cloud portal.
                              We made major changes to the following sections:
                              Top panel with LEDs on page 14
                              Manage local MAC access control lists on page 118, including Manually set up a
                              MAC access control List on page 118 and Import an existing MAC access control
                              list on page 122
                              Enable or disable inter-VLAN routing on page 165
                              Insight LED is off on page 228
                              We made other minor changes and corrections throughout the manual.
                              The client separation feature is now referred to as the client isolation feature (see
                              Set up an open or secure WiFi network on page 45 and Enable or disable client
                              isolation for a WiFi network on page 56)

   202-11840-02 December           We added or made major changes to the following sections:
                2017               Set up an open or secure WiFi network on page 45
                                   Enable or disable PMF for a WiFi network on page 61
                                   Manage local MAC access control lists on page 118, including Manually set up a
                                   MAC access control List on page 118 and Import an existing MAC access control
                                   list on page 122
                                   Change the management mode to NETGEAR Insight or Web-browser on page
                                   168
                                   Manually download firmware and upgrade the access point on page 179
                                   Revert to the backup firmware on page 181
                                   Perform a ping test on page 222
                                   Technical specifications on page 239
                                   For all sections to which it applies, we added a step that describes the action that
                                   is required in the pop-up warning window.

   202-11840-01 September          We added or made major changes to the following sections:
                2017               Connect over WiFi using a WiFi-enabled computer or mobile device on page 29
                                   Connect over Ethernet using a computer connected to the same network on
                                   page 33
                                   Connect over Ethernet using a directly connected computer on page 37
                                   Set up an open or secure WiFi network on page 45
                                   Register and configure Facebook Wi-Fi for the access point on page 74
                                   Set up a click-through captive portal for a WiFi network on page 68
                                   Unregister the access point from Facebook Wi-Fi on page 78
                                   Manage the advanced WiFi settings for the radios on page 94
                                   Manage neighbor AP detection on page 128
                                   Set up RADIUS servers on page 134
                                   Disable the DHCP client and configure a LAN or WAN IP address on page 137




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   Publication   Publish Date   Comments
   Part Number

   202-11840-01 September       (202-11840-01, September 2017, Continued)
                2017            Enable the DHCP client on page 143
                                Set the 802.1Q VLAN and management VLAN on page 146
                                Enable or disable IGMP snooping on page 153
                                Router mode only: Manage DHCP servers on page 156, including Manage the
                                default DHCP server on page 157 and Enable or disable inter-VLAN routing on
                                page 165
                                Change the management mode to NETGEAR Insight or Web-browser on page
                                168
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                                View WiFi and WAN traffic, traffic and ARP statistics, and channel utilization on
                                page 209
                                View a WiFi bridge connection on page 215
                                Capture WiFi and Ethernet packets on page 220
                                In addition, we made minor changes to other sections and updated some figures.

   202-11686-02 April 2017      We made major changes to the following sections:
                                Connect over WiFi using the NETGEAR Insight App on an iOS or Android mobile
                                device on page 26
                                Connect over WiFi using a WiFi-enabled computer or mobile device on page 29
                                Connect over Ethernet using a computer connected to the same network on
                                page 33
                                Connect over Ethernet using a directly connected computer on page 37
                                Set up an open or secure WiFi network on page 45
                                Block specific URLs and keywords for Internet access on page 116
                                Change the system mode to Router mode or AP mode on page 170
                                In addition, we made minor changes to other sections and updated some figures.

   202-11686-01 December        First publication.
                2016




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   1
   Hardware Overview of the Access
   Point

   The NETGEAR Insight Managed Smart Cloud Wireless Access Point (WAC510) 802.11
   Wave 2 AC1300, in this manual referred to as the access point, supports dual-band
   concurrent operation at 2.4 GHz and 5 GHz with a combined throughput of 1300 Mbps
   (400 Mbps at 2.4 GHz and 867 Mbps at 5 GHz).
   The access point can function as a Power over Ethernet (PoE) powered device (PD) in
   an existing network connected to a PoE switch, with a power adapter connected to a
   regular switch, or in standalone mode as both an access point and router connected to
   an Internet modem.
   The chapter contains the following sections:
   •   About NETGEAR Insight
   •   Related documentation
   •   Unpack the access point
   •   Top panel with LEDs
   •   Back panel
   •   Product label
   •   Safety instructions and warnings for an indoor access point

   Note: For more information about the topics that are covered in this manual, visit the
   support website at netgear.com/support/.

   Note: Firmware updates with new features and bug fixes are made available from time
   to time at netgear.com/support/download/. You can check for and download new
   firmware manually. If the features or behavior of your product does not match what is
   described in this manual, you might need to update the firmware.

   Note: In this user manual, WiFi network means the same as SSID (service set identifier
   or WiFi network name) or VAP (virtual access point). That is, in this user manual, when
   we refer to a WiFi network we mean an individual SSID or VAP.



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   About NETGEAR Insight
   The access point supports the NETGEAR Insight app, which lets you set up and manage
   the access point from your iOS or Android mobile device and connects to the Insight
   cloud-based management platform. For Insight Premium or Insight Pro subscribers, the
   access point also supports the Insight Cloud portal, which is the website that provides
   access to the Insight cloud-based management platform.
   This user manual describes the local browser–based management interface, in this
   manual referred to as the local browser interface. For more information about NETGEAR
   Insight, visit insight.netgear.com and see the NETGEAR knowledge base at
   netgear.com/support/product/insight.aspx.
   If you install the access point as a NETGEAR Insight managed device, the settings for
   features that you can manage through the Insight app and Insight Cloud portal are
   masked out in the local browser interface. However, using the local browser interface,
   you can still manage the settings for certain features that are not yet supported in Insight.
   For more information, visit the NETGEAR knowledge base at
   netgear.com/support/product/insight.aspx and search for What is Hybrid Management
   Mode.


   Related documentation
   The following related documentation is available at netgear.com/support/download/:
   •   Installation guide
   •   Ceiling and wall installation guide
   •   Data sheet

   For information about the NETGEAR Insight app and the Insight Cloud portal, visit
   insight.netgear.com and see the NETGEAR knowledge base at
   netgear.com/support/product/insight.aspx.


   Unpack the access point
   The package contains the access point, installation guide, ceiling and wall installation
   kit, and mounting installation guide. Because the access point supports Power over
   Ethernet (PoE), a power adapter is not included in the product package but is available
   as an option.




   Hardware Overview of the                     13                                  User Manual
   Access Point
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   Top panel with LEDs
   The LEDs that provide the status of the access point are located on the top panel of the
   access point.




   Figure 1. Top panel with LEDs




   Table 1. LED descriptions


   LED                 Description

   Power LED           Off. No power is supplied to the access point.
                       Solid green. Power is supplied to the access point and the access point is ready.
                       Solid amber. During startup, the Power LED lights solid amber. If after five minutes the amber
                       light remains on, a boot error occurred.
                       Blinking amber fast, temporarily. The access point is upgrading firmware.
                       Blinking amber slowly, continuously. The access point did not receive an IP address from a
                       DHCP server.

   Insight LED         If the serial number begins with 5B4 or 5B5:    If the serial number begins with 4W8 or
                                                                       4W9:

                       Off. The access point functions either in       Off. The access point functions either in
                       standalone mode or in Insight mode but is not   standalone mode or in Insight mode but is not
                       connected to the Insight cloud-based            connected to the Insight cloud-based
                       management platform.                            management platform.
                       Solid blue. The access point functions in       Solid green. The access point functions in
                       Insight mode and is connected to the Insight    Insight mode and is connected to the Insight
                       cloud-based management platform.                cloud-based management platform.




   Hardware Overview of the                              14                                           User Manual
   Access Point
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   Table 1. LED descriptions (Continued)


   LED                Description

   WAN PoE LED        Off. Either no powered-on Ethernet device is connected to the WAN PoE port, or, if a
                      powered-on Ethernet device is connected, no Ethernet link is detected.
                      Solid amber. A 10 or 100 Mbps Ethernet link is detected on the WAN PoE port.
                      Blinking amber. 10 or 100 Mbps traffic activity is detected on the WAN PoE port.
                      Solid green. A 1000 Mbps Ethernet link is detected on the WAN PoE port.
                      Blinking green. 1000 Mbps traffic activity is detected on the WAN PoE port.

   LAN LED            Off. Either no powered-on Ethernet device is connected to the LAN port, or, if a powered-on
                      Ethernet device is connected, no Ethernet link is detected.
                      Solid amber. A 10 or 100 Mbps Ethernet link is detected on the LAN port.
                      Blinking amber. 10 or 100 Mbps traffic activity is detected on the LAN port.
                      Solid green. A 1000 Mbps Ethernet link is detected on the LAN port.
                      Blinking green. 1000 Mbps traffic activity is detected on the LAN port.

   2.4G WLAN LED      Off. The 2.4 GHz WiFi radio is off.
                      Solid green. The 2.4 GHz WiFi radio is on.
                      Solid blue. One or more WLAN clients are connected to the 2.4 GHz WiFi radio.
                      Blinking blue. Traffic is detected on the 2.4 GHz WiFi radio.


   5G WLAN LED        Off. The 5 GHz WiFi radio is off.
                      Solid green. The 5 GHz WiFi radio is on.
                      Solid blue. One or more WLAN clients are connected to the 5 GHz WiFi radio.
                      Blinking blue. Traffic is detected on the 5 GHz WiFi radio.



   Note: For information about troubleshooting with the LEDs, see Troubleshoot with the
   LEDs on page 226.


   Back panel
   The back panel of the access point provides two ports and a DC power connector.




      Figure 2. Back panel of the access point




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   Access Point
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   Viewed from left to right, the back panel contains the following components:

   •   LAN port. One black Gigabit Ethernet RJ-45 LAN port to connect the access point
       to Ethernet devices. You can use the LAN port to connect the access point to a switch,
       computer, or other Ethernet device.
   •   WAN PoE port. One yellow Gigabit Ethernet RJ-45 WAN PoE port that provides a
       connection to a PoE switch or regular switch that is connected to your network and
       the Internet, for example, through an Internet modem. If the access point functions
       in Router mode (see Change the system mode to Router mode or AP mode on page
       170), you can connect the WAN PoE port directly to the LAN port of an Internet
       modem.
   •   DC power connector. If you do not use a PoE connection, connect an optional
       power adapter to the DC power connector.

   For more information about WAN PoE and LAN port connections, see Set up and connect
   the access point to your network or Internet modem on page 22.

   Note: The Reset button is located on the left side panel of the access point. Press the
   Reset button for about 2 seconds to reboot the access point or for more than 10 seconds
   to reset the access point to factory default settings. If you added the access point to a
   NETGEAR Insight network location, you must first use the Insight app or Insight Cloud
   portal to remove the access point from your Insight network location before the factory
   default settings function of the Reset button is available. For more information, see Use
   the Reset button to reset the access point on page 189.


   Product label
   The product label on the bottom panel of the access point consists of two parts and
   shows compliance statements, the default login information, default WiFi network name
   (SSID), serial number, network key (password), and MAC address of the access point.




   Figure 3. Product label, part 1




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   Figure 4. Product label, part 2




   Safety instructions and warnings for an
   indoor access point
   Use the following safety guidelines to ensure your own personal safety and to help
   protect your system from potential damage.
   To reduce the risk of bodily injury, electrical shock, fire, and damage to the equipment,
   observe the following precautions:

   •   This product is designed for indoor use only in a temperature-controlled and
       humidity-controlled environment. Note the following:
       -   For more information about the environment in which this product must operate,
           see the environmental specifications in the appendix or the data sheet.
       -   If you want to connect the product over an Ethernet cable to a device located
           outdoors, the outdoor device must be properly grounded and surge protected,
           and you must install an Ethernet surge protector inline between the indoor
           product and the outdoor device. Failure to do so can damage the product.
       -   Before connecting the product to outdoor cables or wired outdoor devices, see
           https://kb.netgear.com/000057103 for additional safety and warranty information.

       Failure to follow these guidelines can result in damage to your NETGEAR product,
       which might not be covered by NETGEAR’s warranty, to the extent permissible by
       applicable law.
   •   Do not service the product except as explained in your product documentation.
       Some devices should never be opened.




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   •   If any of the following conditions occur, unplug the product from its power source,
       and then replace the part or contact your trained service provider:
       -   Depending on your product, the power adapter, power adapter cable, power
           adapter plug, or PoE Ethernet cable is damaged.
       -   An object fell into the product.
       -   The product was exposed to water.
       -   The product was dropped or damaged.
       -   The product does not operate correctly when you follow the operating
           instructions.

   •   Keep the product away from radiators and heat sources. Also, do not block cooling
       vents.
   •   Do not spill food or liquids on your product components, and never operate the
       product in a wet environment. If the product gets wet, see the appropriate section
       in your troubleshooting guide, or contact your trained service provider.
   •   Do not push any objects into the openings of your product. Doing so can cause fire
       or electric shock by shorting out interior components.
   •   Use the product only with approved equipment.
   •   If applicable to your product, allow the product to cool before removing covers or
       touching internal components.
   •   Be sure that devices that are attached over Ethernet cables are electrically rated to
       operate with the power available in your location.
   •   Depending on your product, use only the supplied power adapter or an Ethernet
       cable that provides PoE.
       If your product uses a power adapter:
       -   If you were not provided with a power adapter, contact your local NETGEAR
           reseller.
       -   The power adapter must be rated for the product and for the voltage and current
           marked on the product electrical ratings label.

   •   To help prevent electric shock, plug any system and peripheral power cables into
       properly grounded power outlets.
   •   If applicable to your product, the peripheral power cables are equipped with
       three-prong plugs to help ensure proper grounding. Do not use adapter plugs or
       remove the grounding prong from a cable. If you must use an extension cable, use
       a three-wire cable with properly grounded plugs.




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   •   Observe extension cable and power strip ratings. Make sure that the total ampere
       rating of all products plugged into the extension cable or power strip does not
       exceed 80 percent of the ampere ratings limit for the extension cable or power strip.
   •   To help protect your system from sudden, transient increases and decreases in
       electrical power, use a surge suppressor, line conditioner, or uninterruptible power
       supply (UPS).
   •   Position system cables, power adapter cables, and PoE Ethernet cables carefully.
       Route cables so that they cannot be stepped on or tripped over. Be sure that nothing
       rests on any cables.
   •   Do not modify power adapters, power adapter cables, or plugs. Consult a licensed
       electrician or your power company for site modifications.
   •   Always follow your local and national wiring rules.




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   2
   Install the Access Point in Your
   Network and Access It for Initial
   Configuration

   This chapter describes how you can install and access the access point in your network.
   The chapter contains the following sections:
   •   Position your access point
   •   Set up and connect the access point to your network or Internet modem
   •   Connect to the access point for initial configuration
   •   Log in to the access point after initial setup




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   Position your access point
   Before you install your access point as described in the mounting installation guide,
   consider how you will position the access point.
   The access point lets you access your network anywhere within the operating range of
   your WiFi network. However, the operating distance or range of your WiFi connection
   can vary significantly depending on the physical placement of your access point. For
   example, the thickness and number of walls the WiFi signal passes through can limit
   the range.
   Additionally, other WiFi devices in and around your home might affect your access
   point’s signal. WiFi devices can be other access point, routers, repeaters, WiFi range
   extenders, and any other devices that emit WiFi signals for network access.
   Position your access point according to the following guidelines:

   •   Place your access point near the center of the area where your computers and other
       devices operate and within line of sight to your WiFi devices.
   •   If you use a power adapter, make sure that the access point is within reach of an AC
       power outlet.
   •   Place the access point in an elevated location, minimizing the number walls and
       ceilings between the access point and your other devices.
   •   Place the access point away from electrical devices such as these:
       -   Ceiling fans
       -   Home security systems
       -   Microwaves
       -   Computers
       -   Base of a cordless phone
       -   2.4 GHz and 5.8 GHz cordless phones

   •   Place the access point away from large metal surfaces, large glass surfaces, insulated
       walls, and items such as these:
       -   Solid metal door
       -   Aluminum studs
       -   Fish tanks
       -   Mirrors
       -   Brick
       -   Concrete

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   If you are using adjacent access points, use different radio frequency channels to reduce
   interference.


   Set up and connect the access point to your
   network or Internet modem
   The access point can function in AP system mode as a WiFi access point in your existing
   network or in Router system mode as both a WiFi access point and router connected
   to your DSL or cable Internet modem.
   The following sections describe how you can connect the access point to your network
   or Internet modem:
   •   Set up the access point with a PoE network connection
   •   Set up the access point with a non-PoE network connection
   •   Set up the access point with a connection to your Internet modem
   To set up your access point, follow the procedure in one of these sections.


   Set up the access point with a PoE network connection
   You can connect the access point to a Power over Ethernet (PoE) switch in your network.
   The switch must be connected to a network router that is connected to the Internet. If
   you use a PoE connection, the access point does not require a power adapter.
   In the access point default AP mode, WiFi clients can connect to the access point and
   access your network and the Internet.




   Figure 5. Set up the access point with a PoE connection to your network




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  To set up the access point with a PoE connection to your network:
   1. Connect an Ethernet cable to the WAN PoE port on the access point.

       Note: Do not use the LAN port for a connection to the PoE switch.

   2. Connect the other end of the Ethernet cable to a PoE port on a PoE switch that is
      connected to your network and to the Internet.
      The Power LED lights solid amber. After about one minute, if the access point is
      connected to a DHCP server, the Power LED turns solid green and the access point
      is ready for you to perform the initial configuration.

   For information about accessing the access point for initial configuration, see Connect
   to the access point for initial configuration on page 25.


   Set up the access point with a non-PoE network connection
   You can connect the access point to a regular switch, that is, a non–Power over Ethernet
   switch in your network. The switch must be connected to a network router that is
   connected to the Internet. If you use a regular switch, the access point requires a power
   adapter, which is an option that you can purchase.
   In the access point default AP mode, WiFi clients can connect to the access point and
   access your network and the Internet.




   Figure 6. Set up the access point with a connection to your network


  To set up the access point with a non-PoE connection to your network:
   1. Connect an Ethernet cable to the WAN PoE port on the access point.
   2. Connect the other end of the Ethernet cable to a switch that is connected to your
      network and to the Internet.


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   3. Connect the power adapter to the access point and plug it into an electrical outlet.
      The Power LED lights solid amber. After about one minute, if the access point is
      connected to a DHCP server, the Power LED turns solid green and the access point
      is ready for you to perform the initial configuration.

   For information about accessing the access point for initial configuration, see Connect
   to the access point for initial configuration on page 25.


   Set up the access point with a connection to your Internet
   modem
   You can connect the access point directly to a LAN port on your DSL or cable Internet
   modem and let the access point function as both a WiFi access point and a router. In
   this configuration, WiFi clients can connect to the access point and access your network
   and the Internet and you also can attach a switch to the access point to enhance your
   network. Because you cannot use Power over Ethernet (PoE) in this setup, the access
   point requires a power adapter, which is an option that you can purchase.




   Figure 7. Set up the access point with a connection to a LAN port on your Internet modem


  To connect the access point to your Internet modem:
   1. Unplug your Internet modem’s power, leaving the modem connected to the wall
      jack for your Internet service.
   2. If your Internet modem includes a battery backup, remove the battery.
   3. Use an Ethernet cable to connect the yellow WAN PoE port on the access point to
      a LAN port on the Internet modem.

       Note: Do not use the LAN port on the access point for a connection to the Internet
       modem.


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   4. If your Internet modem includes a battery backup, reinsert the battery.
   5. Plug in your Internet modem’s power and turn on your Internet modem.
   6. To attach a switch to the access point, use an Ethernet cable to connect the switch
      to the black LAN port on the access point.
   7. Connect the power adapter to the access point and plug it into an electrical outlet.
      The Power LED lights solid amber. After about one minute, if the access point is
      connected to a DHCP server (an Internet modem usually also functions as a DHCP
      server), the Power LED turns solid green and the access point is ready for you to
      perform the initial configuration.

       Note: During initial configuration of the access point, you must change the default
       system mode of the access point from AP mode to Router mode.


   For information about accessing the access point for initial configuration, see Connect
   to the access point for initial configuration on page 25. After initial configuration, change
   the default system mode of the access point from AP mode to Router mode (see Change
   the system mode to Router mode or AP mode on page 170).


   Connect to the access point for initial
   configuration
   After you set up the access point, you can use several methods to connect to it for initial
   configuration.
   You can connect to the access point by using the NETGEAR Insight app on an iOS or
   Android mobile device, by accessing the Insight Cloud portal, or by using the local
   browser interface. You cannot use Insight access with the local browser interface. These
   types of access are mutually exclusive.
   The Insight app and the Insight Cloud portal provide ease of access and let you configure
   most features that are available on the access point. The local browser interface lets
   you configure all features that are available on the access point.
   If you use the Insight app or the Insight Cloud portal to connect to the access point, see
   one of the following sections:

   •   Connect over WiFi using the NETGEAR Insight App on an iOS or Android mobile
       device on page 26
   •   Connect over the Internet using the NETGEAR Insight Cloud portal on page 27




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   If you use the local browser interface to connect to the access point, follow the procedure
   in one of these sections:

   •   Connect over WiFi using a WiFi-enabled computer or mobile device on page 29
   •   Connect over Ethernet using a computer connected to the same network on page
       33
   •   Connect over Ethernet using a directly connected computer on page 37

   Note: If your network does not include a DHCP server (or a router that functions as a
   DHCP server) and you do not perform the initial configuration of the access point as
   described in one of these sections, you can connect only two clients to the access point
   and the access point can provide an IP address to only two clients. To prevent this
   situation, make sure that you perform the initial configuration of the access point.


   Connect over WiFi using the NETGEAR Insight App on an
   iOS or Android mobile device
   You can install the NETGEAR Insight app on an iOS or Android mobile device and set
   up the access point (and perform many other tasks as well).

   IMPORTANT: If you add the access point to a NETGEAR Insight network location and
   manage the access point through the Insight app or Insight Cloud portal, the admin
   password for the access point changes. That is, the Insight network password for that
   location replaces the admin password. To access the local browser interface, you must
   then enter the Insight network password and not the admin password. If you later decide
   to remove the access point from the Insight network location or change the management
   mode to Web-browser mode (see Change the management mode to NETGEAR Insight
   or Web-browser on page 168), you must continue to use the Insight network password
   to access the local browser interface until you manually change the admin password
   on the access point.

   For more information about the Insight app, visit insight.netgear.com and see the
   NETGEAR knowledge base at netgear.com/support/product/insight.aspx.




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  To connect to the access point over WiFi using an iOS or Android mobile device:
   1. On your iOS or Android mobile device, go to the app store, search for NETGEAR
      Insight, and download the Insight app.




   2. Connect your mobile device to the WiFi network of access point.
      The default SSID is on the access point label on the bottom of the access point and
      is shown in the format NETGEARxxxxxx-SETUP, where xxxxxx is the last six
      hexadecimal digits of the access point’s MAC address. The default password is
      sharedsecret.

   3. Open the Insight app.
   4. If you did not set up a NETGEAR account, tap Create NETGEAR Account and follow
      the onscreen instructions.
   5. Enter the email address and password for your account and tap LOG IN.
      After you log in to your account, the IP address of the access point displays in the
      device list.
   6. Write down the access point IP address and save it for later use.
   7. To use the Insight app to configure and manage the access point, tap the access
      point and follow the prompts to register the access point and add it to an Insight
      network location.


   Connect over the Internet using the NETGEAR Insight Cloud
   portal
   The Insight Cloud portal is available for Insight Premium or Insight Pro subscribers. To
   use the NETGEAR Insight Cloud portal to configure and manage the access point, the
   access point must already be connected to the Internet.




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   IMPORTANT: If you add the access point to a NETGEAR Insight network location and
   manage the access point through the Insight app or Insight Cloud portal, the admin
   password for the access point changes. That is, after you add the access point to an
   Insight network location, the Insight network password for that location replaces the
   admin password. To access the local browser interface, you must then enter the Insight
   network password and not the admin password. If you later decide to remove the access
   point from the Insight network location or change the management mode to
   Web-browser mode (see Change the management mode to NETGEAR Insight or
   Web-browser on page 168), you must continue to use the Insight network password to
   access the local browser interface until you manually change the admin password on
   the access point.

   For more information about the Insight Cloud portal and the configuration and
   management options that are available through the Insight Cloud portal, visit
   insight.netgear.com and see the NETGEAR knowledge base at
   netgear.com/support/product/insight.aspx.
  To connect to the access point over the Internet through the Insight Cloud portal:
   1. Visit insight.netgear.com.
      The NETGEAR Account Login page displays.

   2. Enter your Insight email address and password.
      If you do not own an Insight account, you can create one.

   3. Click the Login button.
      You can now add the access point to an Insight network location so that you configure
      and manage the access point.




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   Connect over WiFi using a WiFi-enabled computer or
   mobile device
   This section describes how to connect to the access point for the first time over WiFi
   using a WiFi-enabled computer or mobile device (without using the NETGEAR Insight
   app).
  To connect to the access point over WiFi using a WiFi-enabled computer or mobile
  device:
   1. From your computer or mobile device, connect over WiFi to the access point’s default
      WiFi network.
      The default SSID is on the access point label on the bottom of the access point and
      is shown in the format NETGEARxxxxxx-SETUP, where xxxxxx is the last six
      hexadecimal digits of the access point’s MAC address. The default password is
      sharedsecret.

   2. On the computer or mobile device, open a web browser and, in the address bar,
      enter www.routerlogin.net (or www.aplogin.net).

       Note: You can use www.routerlogin.net (and www.aplogin.net) only during initial
       setup of the access point.

       The Day Zero Easy Setup page displays.

   3. If your browser does not open the Day Zero Easy Setup page but displays a security
      message and does not let you proceed, do one of the following:
       •   Google Chrome. If Google Chrome displays a Your connection is not private
           message, click the ADVANCED link. Then, click the Proceed to x.x.x.x (unsafe)
           link, in which x.x.x.x represents the IP address of the switch.
       •   Apple Safari. If Apple Safari displays a This connection is not private message,
           click the Show Details button. Then, click the visit this website link. If a warning
           pop-up window opens, click the Visit Website button. If another pop-up window
           opens to let you confirm changes to your certificate trust settings, enter your Mac
           user name and password and click the Update Setting button.
       •   Mozilla Firefox. If Mozilla Firefox displays a Your connection is not secure
           message, click the ADVANCED button. Then, click the Add Exception button.
           In the pop-up window that opens, click the Confirm Security Exception button.
       •   Microsoft Internet Explore. If Microsoft Internet Explorer displays a There is a
           problem with this website’s security certificate message, click the Continue to
           this website (not recommended) link.




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       •   Microsoft Edge. If Microsoft Edge displays a There is a problem with this website’s
           security certificate message or a similar warning, select Details > Go on to the
           webpage.




       In the address bar, www.routerlogin.net (or www.aplogin.net) is replaced by the IP
       address that is assigned to the access point by the DHCP server in your network.

   4. Write down the IP address of the access point.
   5. Select the Web-browser radio button.




       Note: After you save the basic settings that are shown on the page, the Day Zero
       Easy Setup page no longer displays when you log in. Instead, a login window opens.
       After you log in, the Dashboard page displays.

   6. Enter the settings that are described in the following table.




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        Setting            Description

        Country/Region     From the menu, select the country and region in which the access point is operating.
                           Note: Make sure that the country is set to the location where the device is operating. You
                           are responsible for complying with the local, regional, and national regulations that are
                           set for channels, power levels, and frequency ranges.
                           Note: It might not be legal to operate the access point in a region other than the regions
                           listed in the menu. If your country or region is not listed, check with your local government
                           agency.

        Time Zone          From the menu, select the time zone for the country and region in which the access point
                           is operating.

        DHCP Client        By default, the DHCP client of the access point allows the access point to receive an IP
                           address from a DHCP server (or router that functions as a DHCP server) in your network.
                           To set up the access point with a static (fixed) IP address, do the following:

                           a. Select the Disable radio button.
                             Additional fields display.

                           b. Specify the IP address, IP subnet mask, IP address of the default gateway, and IP address
                             of the DNS server.


        AP Name            As an option, enter a new system name for the access point. The name must contain
                           alphanumeric characters, must contain at least one alphabetical character, cannot be
                           longer than 15 characters, and can contain hyphens but cannot start or end with a hyphen.
                           By default, the system name is Netgearxxxxxx, in which xxxxxx represents the last six
                           hexadecimal digits of the access point’s MAC address.

        AP Login New       Enter a new admin password. This is the password that you must use to log in to the access
        Password           point’s local browser interface. (It is not the password that you use for WiFi access.)
                           The password must be 8 to 63 characters in length and must contain at least one uppercase
                           letter, one lowercase letter, and one number. The following special characters are allowed:
                           !@#$%^&*()
                           Write down and save the password for future use.

        Confirm New        Enter exactly the same password that you entered in the AP Login New Password field.
        Password

        SSID               You cannot use the default SSID for regular operation (the default SSID is for setup only).
                           Enter a new name with a maximum of 32 characters. You can use a combination of
                           alphanumeric and special characters, except for quotation marks (") and a backslash (\).




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       (Continued)


        Setting            Description

        Authentication     From the menu, select one of the following authentication types for the WiFi network:
                           • Open. Authentication is not required and data encryption is not supported. This setting
                             does not provide any security and is not appropriate for most situations.

                           • WPA2 Personal. This option allows only WiFi clients that support WPA2 to connect to
                             the SSID. Select this option if all WiFi clients are capable of supporting WPA2. This
                             option uses AES encryption.

                           • WPA2 Personal Mixed. This option allows both WPA and WPA2 WiFi clients to connect
                             to the SSID. This option uses TKIP and AES encryption. Broadcast packets use TKIP. For
                             unicast (that is, point-to-point) transmissions, WPA clients use TKIP and WPA2 clients
                             use AES.

                           After you complete the setup process, you can set up WPA2 Enterprise security with
                           RADIUS servers. For more information, see Set up an open or secure WiFi network on
                           page 45.

        Passphrase         Unless you select Open from the Authentication Type menu, enter a new passphrase
                           (network key or WiFi password) for the WiFi network.


   7. Click the Apply button.
      Your settings are saved and you are disconnected from the access point.
       If you changed the default country, the access point restarts.

   8. Reconnect over WiFi to the access point’s WiFi network using the new SSID and
      passphrase that you just defined on the Day Zero Easy Setup page.
   9. In the web browser, enter the access point IP address that you wrote down in Step
      4.
      If you assigned a static IP address to the access point, enter that IP address.
       A login window opens.

   10. If your browser does not open the login window but displays a security message
       and does not let you proceed, see the information in Step 3.
   11. Enter the access point user name and password.
       The user name is admin. The password is the one that you just defined on the Day
       Zero Easy Setup page. The user name and password are case-sensitive.
       The Dashboard page displays. You can now customize the access point settings for
       your network environment.



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   Connect over Ethernet using a computer connected to the
   same network
   The following procedure assumes that your network includes a DHCP server (or router
   that functions as a DHCP server) and that the access point and the computer are on the
   same network. By default, the access point functions as a DHCP client. If you want to
   set up the access point with a static (fixed) IP address, see Connect over Ethernet using
   a directly connected computer on page 37.
  To connect to the access point using a computer that is connected to the same
  network as the access point:
   1. To determine the IP address that the DHCP server assigned to the access point,
      access the DHCP server or use an IP network scanner.

       Note: You can also use the NETGEAR Insight app to discover the IP address that is
       assigned to the access point. For more information, see Connect over WiFi using
       the NETGEAR Insight App on an iOS or Android mobile device on page 26.

   2. On the computer, open a web browser and, in the address bar, enter the IP address
      that is assigned to the access point.
      The Day Zero Easy Setup page displays.

   3. If your browser does not open the Day Zero Easy Setup page but displays a security
      message and does not let you proceed, do one of the following:
       •   Google Chrome. If Google Chrome displays a Your connection is not private
           message, click the ADVANCED link. Then, click the Proceed to x.x.x.x (unsafe)
           link, in which x.x.x.x represents the IP address of the switch.
       •   Apple Safari. If Apple Safari displays a This connection is not private message,
           click the Show Details button. Then, click the visit this website link. If a warning
           pop-up window opens, click the Visit Website button. If another pop-up window
           opens to let you confirm changes to your certificate trust settings, enter your Mac
           user name and password and click the Update Setting button.
       •   Mozilla Firefox. If Mozilla Firefox displays a Your connection is not secure
           message, click the ADVANCED button. Then, click the Add Exception button.
           In the pop-up window that opens, click the Confirm Security Exception button.
       •   Microsoft Internet Explore. If Microsoft Internet Explorer displays a There is a
           problem with this website’s security certificate message, click the Continue to
           this website (not recommended) link.




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       •   Microsoft Edge. If Microsoft Edge displays a There is a problem with this website’s
           security certificate message or a similar warning, select Details > Go on to the
           webpage.




   4. Select the Web-browser radio button.




       Note: After you save the basic settings that are shown on the page, the Day Zero
       Easy Setup page no longer displays when you log in. Instead, a login window opens.
       After you log in, the Dashboard page displays.

   5. Enter the settings that are described in the following table.




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        Setting            Description

        Country/Region     From the menu, select the country and region in which the access point is operating.
                           Note: Make sure that the country is set to the location where the device is operating. You
                           are responsible for complying with the local, regional, and national regulations that are
                           set for channels, power levels, and frequency ranges.
                           Note: It might not be legal to operate the access point in a region other than the regions
                           listed in the menu. If your country or region is not listed, check with your local government
                           agency.

        Time Zone          From the menu, select the time zone for the country and region in which the access point
                           is operating.

        DHCP Client        By default, the DHCP client of the access point allows the access point to receive an IP
                           address from a DHCP server (or router that functions as a DHCP server) in your network.
                           To set up the access point with a static (fixed) IP address, do the following:

                           a. Select the Disable radio button.
                             Additional fields display.

                           b. Specify the IP address, IP subnet mask, IP address of the default gateway, and IP address
                             of the DNS server.


        AP Name            As an option, enter a new system name for the access point. The name must contain
                           alphanumeric characters, must contain at least one alphabetical character, cannot be
                           longer than 15 characters, and can contain hyphens but cannot start or end with a hyphen.
                           By default, the system name is Netgearxxxxxx, in which xxxxxx represents the last six
                           hexadecimal digits of the access point’s MAC address.

        AP Login New       Enter a new admin password. This is the password that you must use to log in to the access
        Password           point’s local browser interface. (It is not the password that you use for WiFi access.)
                           The password must be 8 to 63 characters in length and must contain at least one uppercase
                           letter, one lowercase letter, and one number. The following special characters are allowed:
                           !@#$%^&*()
                           Write down and save the password for future use.

        Confirm New        Enter exactly the same password that you entered in the AP Login New Password field.
        Password

        SSID               You cannot use the default SSID for regular operation (the default SSID is for setup only).
                           Enter a new name with a maximum of 32 characters. You can use a combination of
                           alphanumeric and special characters, except for quotation marks (") and a backslash (\).




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       (Continued)


        Setting            Description

        Authentication     From the menu, select one of the following authentication types for the WiFi network:
                           • Open. Authentication is not required and data encryption is not supported. This setting
                             does not provide any security and is not appropriate for most situations.

                           • WPA2 Personal. This option allows only WiFi clients that support WPA2 to connect to
                             the SSID. Select this option if all WiFi clients are capable of supporting WPA2. This
                             option uses AES encryption.

                           • WPA2 Personal Mixed. This option allows both WPA and WPA2 WiFi clients to connect
                             to the SSID. This option uses TKIP and AES encryption. Broadcast packets use TKIP. For
                             unicast (that is, point-to-point) transmissions, WPA clients use TKIP and WPA2 clients
                             use AES.

                           After you complete the setup process, you can set up WPA2 Enterprise security with
                           RADIUS servers. For more information, see Set up an open or secure WiFi network on
                           page 45.

        Passphrase         Unless you select Open from the Authentication Type menu, enter a new passphrase
                           (network key or WiFi password) for the WiFi network.


   6. Click the Apply button.
      Your settings are saved.
       If you changed the default country, the access point restarts.

       Note: Do not close the page!

       After a short period, the Dashboard page displays automatically. If the Dashboard
       page does not display, for example, because you assigned a static IP address, see
       the next step.
       You can now customize the access point settings for your network environment.




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   7. If the Dashboard does not display automatically, do the following:
       a. Take one of the following actions:
           •   If you assigned a static IP address to the access point, enter that IP address
               in the address bar of the web browser.
           •   If you did not assign a static IP address, reenter the IP address that is displayed
               in the address bar of the web browser. If that does not work, write down the
               IP address, close the web browser, reopen the web browser, and then reenter
               the IP address in the address bar of the web browser.
           •   If you did not assign a static IP address and you closed the page so that you
               cannot see the IP address of the access point, use an IP scanner tool, use a
               network discovery tool, or access the DHCP server to discover the IP address
               of the access point in your network. Then, open a browser and enter the IP
               address in the address bar of the web browser.

           A login window opens.
       b. If your browser does not open the login window but displays a security message
          and does not let you proceed, see the information in Step 3.
       c. Enter the access point user name and password.
          The user name is admin. The password is the one that you just defined on the
          Day Zero Easy Setup page. The user name and password are case-sensitive.
          The Dashboard page displays. You can now customize the access point settings
          for your network environment.


   Connect over Ethernet using a directly connected computer
   If your network does not include a DHCP server (or router that functions as a DHCP
   server), you can use a computer that is connected through an Ethernet cable to the LAN
   port of the access point.
  To connect to the access point using a computer that is connected to a LAN port
  of the access point:
   1. Record the IP address and subnet mask of your computer so that you can reinstate
      these IP address settings later.
   2. Temporarily change the IP address on your computer to 192.168.0.210 with
      255.255.255.0 as the subnet mask.
      (You can actually use any IP address in the 192.168.0.2–192.168.0.254 range, with
      the exception of IP address 192.168.0.100, which is the default IP address of the
      access point.)
       For more information about changing the IP address on your computer, see the help
       or documentation for your computer.


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   3. Use an Ethernet cable to connect your computer to a LAN port on the access point.
   4. On the computer, open a web browser and enter 192.168.0.100 in the address
      bar.
      The Day Zero Easy Setup page displays.

   5. If your browser does not open the Day Zero Easy Setup page but displays a security
      message and does not let you proceed, do one of the following:
       •   Google Chrome. If Google Chrome displays a Your connection is not private
           message, click the ADVANCED link. Then, click the Proceed to 192.168.0.100
           (unsafe) link.
       •   Apple Safari. If Apple Safari displays a This connection is not private message,
           click the Show Details button. Then, click the visit this website link. If a warning
           pop-up window opens, click the Visit Website button. If another pop-up window
           opens to let you confirm changes to your certificate trust settings, enter your Mac
           user name and password and click the Update Setting button.
       •   Mozilla Firefox. If Mozilla Firefox displays a Your connection is not secure
           message, click the ADVANCED button. Then, click the Add Exception button.
           In the pop-up window that opens, click the Confirm Security Exception button.
       •   Microsoft Internet Explore. If Microsoft Internet Explorer displays a There is a
           problem with this website’s security certificate message, click the Continue to
           this website (not recommended) link.
       •   Microsoft Edge. If Microsoft Edge displays a There is a problem with this website’s
           security certificate message or a similar warning, select Details > Go on to the
           webpage.




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   6. Select the Web-browser radio button.




       Note: After you save the basic settings that are shown on the page, the Day Zero
       Easy Setup page no longer displays when you log in. Instead, a login window opens.
       After you log in, the Dashboard page displays.

   7. Enter the settings that are described in the following table.

        Setting            Description

        Country/Region     From the menu, select the country and region in which the access point is operating.
                           Note: Make sure that the country is set to the location where the device is operating. You
                           are responsible for complying with the local, regional, and national regulations that are
                           set for channels, power levels, and frequency ranges.
                           Note: It might not be legal to operate the access point in a region other than the regions
                           listed in the menu. If your country or region is not listed, check with your local government
                           agency.

        Time Zone          From the menu, select the time zone for the country and region in which the access point
                           is operating.

        DHCP Client        By default, the DHCP client of the access point allows the access point to receive an IP
                           address from a DHCP server (or router that functions as a DHCP server) in your network.
                           To set up the access point with a static (fixed) IP address, do the following:

                           a. Select the Disable radio button.
                             Additional fields display.

                           b. Specify the IP address, IP subnet mask, IP address of the default gateway, and IP address
                             of the DNS server.




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       (Continued)


        Setting            Description

        AP Name            As an option, enter a new system name for the access point. The name must contain
                           alphanumeric characters, must contain at least one alphabetical character, cannot be
                           longer than 15 characters, and can contain hyphens but cannot start or end with a hyphen.
                           By default, the system name is Netgearxxxxxx, in which xxxxxx represents the last six
                           hexadecimal digits of the access point’s MAC address.

        AP Login New       Enter a new admin password. This is the password that you must use to log in to the access
        Password           point’s local browser interface. (It is not the password that you use for WiFi access.)
                           The password must be 8 to 63 characters in length and must contain at least one uppercase
                           letter, one lowercase letter, and one number. The following special characters are allowed:
                           !@#$%^&*()
                           Write down and save the password for future use.

        Confirm New        Enter exactly the same password that you entered in the AP Login New Password field.
        Password

        SSID               You cannot use the default SSID for regular operation (the default SSID is for setup only).
                           Enter a new name with a maximum of 32 characters. You can use a combination of
                           alphanumeric and special characters, except for quotation marks (") and a backslash (\).

        Authentication     From the menu, select one of the following authentication types for the WiFi network:
                           • Open. Authentication is not required and data encryption is not supported. This setting
                             does not provide any security and is not appropriate for most situations.

                           • WPA2 Personal. This option allows only WiFi clients that support WPA2 to connect to
                             the SSID. Select this option if all WiFi clients are capable of supporting WPA2. This
                             option uses AES encryption.

                           • WPA2 Personal Mixed. This option allows both WPA and WPA2 WiFi clients to connect
                             to the SSID. This option uses TKIP and AES encryption. Broadcast packets use TKIP. For
                             unicast (that is, point-to-point) transmissions, WPA clients use TKIP and WPA2 clients
                             use AES.

                           After you complete the setup process, you can set up WPA2 Enterprise security with
                           RADIUS servers. For more information, see Set up an open or secure WiFi network on
                           page 45.

        Passphrase         Unless you select Open from the Authentication Type menu, enter a new passphrase
                           (network key or WiFi password) for the WiFi network.


   8. Click the Apply button.
      Your settings are saved and you are disconnected from the access point.


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       If you changed the default country, the access point restarts.

   9. After a few minutes, if the login window does not open automatically, enter
      192.168.0.100 in the address bar of your browser.
      If you changed the IP address (that is, you specified a static IP address), enter the
      new IP address.
       A login window opens.

   10. If your browser does not open the login window but displays a security message
       and does not let you proceed, see the information in Step 5.
   11. Enter the access point user name and password.
       The user name is admin. The password is the one that you just defined on the Day
       Zero Easy Setup page. The user name and password are case-sensitive.
       The Dashboard page displays. You can now customize the access point settings for
       your network environment.

   12. After you complete the setup process, or both the setup and customization process,
       you can change the computer back to its original IP address settings.


   Log in to the access point after initial setup
   After initial setup, the access point is ready for use and you can change the settings and
   monitor the traffic.
   When you enter the IP address that is assigned to the access point, we recommend that
   you enter https rather than http. However, if you enter http, the browser automatically
   redirects your request to https. If you did not yet install the access point’s security
   certificate, your browser might display a security message. You can either ignore this
   message or install the security certificate. Consider the following examples:
   •   Google Chrome. If Google Chrome displays a Your connection is not private
       message, click the ADVANCED link. Then, click the Proceed to x.x.x.x (unsafe)
       link, in which x.x.x.x represents the IP address of the switch.
   •   Apple Safari. If Apple Safari displays a This connection is not private message, click
       the Show Details button. Then, click the visit this website link. If a warning pop-up
       window opens, click the Visit Website button. If another pop-up window opens to
       let you confirm changes to your certificate trust settings, enter your Mac user name
       and password and click the Update Setting button.
   •   Mozilla Firefox. If Mozilla Firefox displays a Your connection is not secure message,
       click the ADVANCED button. Then, click the Add Exception button. In the pop-up
       window that opens, click the Confirm Security Exception button.


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   •   Microsoft Internet Explore. If Microsoft Internet Explorer displays a There is a
       problem with this website’s security certificate message, click the Continue to this
       website (not recommended) link.
   •   Microsoft Edge. If Microsoft Edge displays a There is a problem with this website’s
       security certificate message or a similar warning, select Details > Go on to the
       webpage.

  To log in to the access point’s local browser interface:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   The following figure shows part of the Dashboard page.




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   The Dashboard page displays various panes that let you see the status of your access
   point at a glance. For more information about the Dashboard page and its various
   panes, see Monitor the Access Point and the Network on page 196.




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   3
   Manage the Basic WiFi and Radio
   Features

   This chapter describes how you can manage the basic WiFi and radio settings of the
   access point. For information about the advanced WiFi and radio settings, see Manage
   the Advanced WiFi and Radio Features on page 93.

   Tip: If you want to change the settings of the access point’s WiFi network, use a wired
   connection to avoid being disconnected when the new WiFi settings take effect.

   The chapter includes the following sections:
   •   Set up and manage WiFi networks
   •   Set up and manage captive portals for WiFi networks
   •   Manage the basic radio features




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   Set up and manage WiFi networks
   The access point supports eight WiFi networks (four in the 2.4 GHz radio band and four
   in the 5 GHz radio band), each with its own unique WiFi settings. The following sections
   describe how you can set up and manage WiFi networks on the access point:
   •   Set up an open or secure WiFi network
   •   View or change the settings of a WiFi network
   •   Disable or enable a WiFi network or set up a WiFi activity schedule
   •   Remove a WiFi network
   •   Enable or disable client isolation for a WiFi network
   •   Hide or broadcast the SSID for a WiFi network
   •   Enable or disable band steering with 802.11k RRM and 802.11v WiFi network
       management
   •   Change the VLAN ID for a WiFi network
   •   Enable or disable PMF for a WiFi network
   •   Enable or disable URL tracking for a WiFi network
   •   Change the format of the DHCP offer messages in a WiFi network
   •   Select a MAC ACL for a WiFi network
   •   Set bandwidth rate limits for a WiFi network


   Set up an open or secure WiFi network
   The access point provides one default SSID that is enabled by default and that broadcasts
   on the 2.4 GHz radio band and the 5 GHz radio band. This is the SSID that you were
   required to rename when you logged in to the access point for the first time. You can
   add more SSIDs: The access point can support a total of eight SSIDs. Each SSID can
   broadcast on the 2.4 GHz band, on the 5 GHz band, or on both bands simultaneously.
   SSID stands for service set identifier, which is the WiFi network name. When you create
   a new SSID, you are defining the settings for a new virtual access point (VAP). That means
   that the access point supports up to eight VAPs.
   The access point can simultaneously support the 2.4 GHz band for 802.11b/g/n WiFi
   devices and the 5 GHz band for 802.11a/n/ac WiFi devices.
   If you plan to use WPA2 Enterprise security for your WiFi network, first set up RADIUS
   servers (see Set up RADIUS servers on page 134).




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  To set up a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select and add an SSID.

   5. Click the + button to the left of Add SSID.




   6. Specify the WiFi network name (SSID), select whether the SSID is broadcast, and
      specify the VLAN ID as described in the following table.


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       Setting            Description

       Wireless Network   The SSID is the WiFi network name of the VAP. Enter a name for the SSID with a maximum
       Name (SSID)        of 32 characters. You can use a combination of alphanumeric and special characters,
                          except for quotation marks (") and a backslash (\).
                          For a WiFi device to be able to connect to the VAP, the SSID on the WiFi device must
                          match the SSID of the VAP.

       Broadcast SSID     By default, the VAP broadcasts its SSID so that WiFi clients can detect the SSID in their
                          scanned network lists. To turn off the SSID broadcast, select the No radio button.
                          Turning off the SSID broadcast provides additional WiFi security, but users must know the
                          SSID to be able to join the VAP.

       VLAN ID            You can enter the VLAN ID that must be associated with the VAP. By default, the VLAN ID
                          is 1.
                          This VLAN ID is not the same as the 802.1Q VLAN ID that is used for the wired network
                          (see Set the 802.1Q VLAN and management VLAN on page 146).
                          If the access point functions in Router mode, you can use the VLAN ID to assign a particular
                          DHCP server to the clients on the WiFi network (see Add a DHCP server for a WiFi network
                          on page 159).


   7. Specify the WiFi security by selecting an option from the Authentication menu and,
      if applicable, by specifying a passphrase in the Passphrase field or selecting an
      option from the Encryption menu, as described in the following table.




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       Setting            Description

       Open               A legacy open WiFi network does not provide any security. Any WiFi device can join the
                          network. We recommend that you do not use a legacy open WiFi network but configure
                          WiFi security. However, a legacy open network might be appropriate for a WiFi hotspot.
                          If you select Open from the Authentication menu, the Enhanced Open check box displays.
                          • Enhanced Open check box cleared. The WiFi network is a legacy open network without
                            any security. This is the default option for en open network. Clients are not authenticated,
                            traffic is not encrypted, and 802.11w (PMF) is automatically disabled (see Step 9).

                          • Enhanced Open check box selected. The WiFi network can only accept clients that
                            support the WiFi enhanced open feature, which is based on opportunistic wireless
                            encryption (OWE). Select this option only if all the clients in the WiFi network support
                            OWE. If you select this option, the encryption is CCM mode protocol (CCMP), and
                            802.11w (PMF) is automatically set to mandatory (see Step 9).


       WPA2 Personal      This option, which is the same as WPA2-PSK, is the default setting and uses AES encryption.
                          This type of security enables only WiFi devices that support WPA2 to join the VAP.
                          WPA2 provides a secure connection but some legacy WiFi devices do not detect WPA2
                          and support only WPA. If your network includes such older devices, select the mixed mode
                          security, WPA2 Personal Mixed.
                          In the Passphrase field, enter a phrase of 8 to 63 characters. To join the VAP, a user must
                          enter this passphrase. To view the passphrase in clear text, click the eye icon.

       WPA2/WPA           This option, which is the same as WPA2-PSK/WPA-PSK, enables WiFi devices that support
       Personal           either WPA2 or WPA to join the VAP. This option uses AES and TKIP encryption.
                          WPA-PSK (which uses TKIP) is less secure than WPA2-PSK (which uses AES) and limits the
                          speed of WiFi devices to 54 Mbps.
                          In the Passphrase field, enter a phrase of 8 to 63 characters. To join the VAP, a user must
                          enter this passphrase. To view the passphrase in clear text, click the eye icon.

       WPA2 Enterprise    This enterprise-level security uses RADIUS for centralized Authentication, Authorization,
                          and Accounting (AAA) management. For WPA2 Enterprise security to function, you must
                          set up RADIUS servers (see Set up RADIUS servers on page 134).
                          From the Data Encryption menu, select the data encryption mode:
                          • TKIP + AES. This type of data encryption enables WiFi devices that support either WPA
                            or WPA2 to join the access point’s WiFi network. This is the default mode.

                          • AES. This type of data encryption provides a secure connection but some older WiFi
                            devices do not detect WPA2 and support only WPA. Therefore, if your network includes
                            such older devices, select TKIP + AES security.




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      (Continued)


       Setting            Description

       WPA3 Personal      This option is the most secure personal authentication option. WPA3 uses SAE encryption
                          and enables only WiFi devices that support WPA3 to join the VAP. If you select this option,
                          802.11w (PMF) is automatically set to mandatory (see Step 9).
                          WPA3 provides a secure connection but some legacy WiFi devices do not detect WPA3
                          and support only WPA2. If your network also includes WPA2 devices, select WPA3/WPA2
                          Personal authentication.
                          In the Passphrase field, enter a phrase of 8 to 63 characters. To join the VAP, a user must
                          enter this passphrase. To view the passphrase in clear text, click the eye icon.

       WPA3/WPA2          This option, which is the same as WPA3/WPA2-PSK, enables WiFi devices that support
       Personal           either WPA3 or WPA2 to join the VAP. This option uses SAE and AES encryption.
                          WPA2-PSK (which uses AES) is less secure than WPA3 (which uses SAE).
                          In the Passphrase field, enter a phrase of 8 to 63 characters. To join the VAP, a user must
                          enter this passphrase. To view the passphrase in clear text, click the eye icon.


   8. Optionally, disable the WiFi broadcast or set up a WiFi activity schedule by selecting
      one of the following radio buttons:
      •   Always ON. When you set up an SSID, you are creating a new virtual access point
          (VAP). By default, the new VAP is enabled and the Always ON radio button is
          selected.
      •   Always OFF. Select this radio button to set up the SSID but temporarily disable
          the VAP.
      •   Custom. Select this radio button to set up a broadcast schedule. An icon displays
          to the right of the radio button. Do the following:
          a. Click the icon next to the radio button.
             A pop-up window opens.
          b. Either select a predefined time from the Preset menu or select custom time
             blocks by clicking the time blocks.
             A blue color for a time block indicates that the VAP will be enabled (on). A
             gray color for a time block indicates that the VAP will be disabled (off).
          c. Click the Done button.
             The pop-up window closes.

          For each SSID and each day (from 12:00 a.m. to 11:59 p.m.), you can create three
          schedules to disable the VAP.

   9. Optionally, enable 802.11w Protected Management Frames (PMF), select a single
      radio band only, enable band steering with 802.11k radio resource management

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      (RRM) and 802.11v WiFi network management, or do all of this, as described in the
      following table.

       Setting            Description

       802.11w (PMF)      Protected Management Frames (PMF), according to the 802.11w standard, is a security
                          feature that protects unicast and multicast management frames from being intercepted
                          and changed for malicious purposes. This feature is disabled by default, but you can
                          enable it as either optional or mandatory.
                          Select Mandatory to require devices to use PMF. Devices that do not support PMF cannot
                          connect to the WiFi network. If you select WPA3 Personal authentication or WiFi enhanced
                          open authentication, PMF becomes mandatory automatically.
                          Select Optional to let the access point automatically activate PMF based on whether
                          devices can support PMF.

       Band               Select a radio button for a single band (2.4 GHz or 5 GHz) or keep the default selection,
                          which is the Both radio button, to enable the VAP to broadcast on both bands.

       Band Steering /    By default, band steering with 802.11k RRM and 802.11v WiFi network management is
       802.11 k/v         disabled for the VAP.
                          To enable band steering with 802.11k RRM and 802.11v WiFi network management, select
                          the Enable radio button. Doing so allows the access point, under certain channel
                          conditions, to steer WiFi devices that are dual-band capable to the 2.4 GHz or 5 GHz band
                          of the VAP. Compared to the 2.4 GHz band, generally more channels and bandwidth are
                          available in the 5 GHz band, causing less interference and allowing for a better user
                          experience.
                          802.11k RRM and 802.11v WiFi network management affect the network in the following
                          ways:
                          • 802.11k RRM. This feature lets the access point and 802.11k-aware clients dynamically
                            measure the available radio resources. In an 802.11k-enabled network, access points
                            and clients can send neighbor reports, beacon reports, and link measurement reports
                            to each other, allowing 802.11k-aware clients to automatically select the best access
                            point for initial connection or for roaming.

                          • 802.11v WiFi network management. This feature lets the access point steer its WiFi
                            clients to the 2.4 GHz or 5 GHz band, based on the access point’s channel load.

                          The access point sets the received signal strength indicator (RSSI) threshold automatically.
                          (That is, you cannot configure the RSSI threshold manually.)


   10. Optionally, to configure client isolation, URL tracking, or both for the WiFi network,
       click the > Advanced tab.




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   11. Configure the client isolation and URL tracking settings as described in the following
       table.

       Setting            Description

       Wireless Client    By default, client isolation is disabled for the VAP, and the Disable radio button is selected.
       Isolation          To block communication between WiFi clients that are associated with the same SSID or
                          different SSIDs on the access point, select the Enable radio button.
                          If the management VLAN and WiFi network VLAN are identical (by default, both are
                          VLAN 1) and you enable client isolation, the Allow Access to AP UI check box displays.
                          By default, this check box is selected, allowing an admin user to access the local browser
                          UI over WiFi. If you clear the Allow Access to AP UI, an admin user cannot access the
                          local browser UI over WiFi.
                          Note: If the management VLAN and WiFi network VLAN are identical (which they are by
                          default), an admin user can always access the local browser UI over a wired network
                          connection.
                          Note: If you want to enable client isolation for an SSID and the access point functions in
                          Router Mode, you must disable inter-VLAN routing for the VLAN that is associated with
                          the SSID (see Enable or disable inter-VLAN routing on page 165).

       URL Tracking       By default, URL tracking is disabled, and the Disable radio button is selected. To enable
                          URL tracking for all URLs that are requested by WiFi clients that are connected to the SSID,
                          select the Enable radio button.
                          For information about how to view the tracked URLs per SSID or per WiFi client, see View
                          or download tracked URLs on page 211.

       DHCP Offer         When a device tries to associate with the WiFi network and negotiates an IP address, the
       Broadcast to       access point converts the broadcast DHCP offer message that it receives from the DHCP
       Unicast            server to a unicast message, and forwards it to the device. This is the default option (that
                          is, the Enable radio button is selected). To disable this option so that the access point
                          does not convert the broadcast DHCP offer messages to unicast messages, select the
                          Disable radio button.

      Although you could also configure a captive portal, a MAC ACL, and bandwidth rate
      limits while you set up a WiFi network, these features are described separately and
      in detail in the following sections:

      •   Set up and manage captive portals for WiFi networks on page 67

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      •   Manage local MAC access control lists on page 118 and Select a MAC ACL for a
          WiFi network on page 64
      •   Set bandwidth rate limits for a WiFi network on page 66

   12. Click the Apply button.
       Your settings are saved.

   13. Make sure that you can connect to the new WiFi network.
       If you cannot connect to the new WiFi network, check the following:
      • If your WiFi-enabled computer or mobile device is already connected to another
        WiFi network in your area, disconnect it from that WiFi network and connect it to
        the WiFi network that the access point provides. Some WiFi devices automatically
        connect to the first open network without WiFi security that they discover.
      • If your WiFi-enabled computer or mobile device is trying to connect to your
        network with its old settings (before you changed the settings), update the WiFi
        network selection in your WiFi-enabled computer or mobile device to match the
        current settings for your network.
      • Does your WiFi device display as a connected client? (See View client distribution,
        connected clients, and client trends on page 205.) If it does, it is connected to the
        network.
      • Are you using the correct WiFi network name (SSID) and password?


   View or change the settings of a WiFi network
   You can view or change the settings of the default WiFi network (SSID or VAP) or any
   custom WiFi network.
  To view or change the settings of a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.


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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Change the settings of the WiFi network as needed.
      For detailed descriptions of the settings, see Set up an open or secure WiFi network
      on page 45.

   7. If you made changes, click the Apply button.
      Your settings are saved.

   8. If you made changes, make sure that you can reconnect over WiFi to the network
      with its new settings.
      If you cannot connect over WiFi, check the following:
      • If your WiFi-enabled computer or mobile device is already connected to another
        WiFi network in your area, disconnect it from that WiFi network and connect it to
        the WiFi network that the access point provides. Some WiFi devices automatically
        connect to the first open network without WiFi security that they discover.
      • If your WiFi-enabled computer or mobile device is trying to connect to your
        network with its old settings (before you changed the settings), update the WiFi
        network selection in your WiFi-enabled computer or mobile device to match the
        current settings for your network.
      • Does your WiFi device display as a connected client? (See View client distribution,
        connected clients, and client trends on page 205.) If it does, it is connected to the
        network.
      • Are you using the correct WiFi network name (SSID) and password?




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   Disable or enable a WiFi network or set up a WiFi activity
   schedule
   You can temporarily disable a WiFi network (SSID or VAP), you can reenable the WiFi
   network, or you can set up a schedule that specifies when the WiFi network is active.
   Scheduling a WiFi network to be turned off is a green feature that allows you to turn off
   the WiFi network during scheduled vacations, office shutdowns, on evenings, or on
   weekends.
   For each WiFi network and each day (from 12:00 a.m. to 11:59 p.m.), you can create
   three schedules.
  To disable or enable a WiFi network or set up a WiFi activity schedule:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Under Schedule, select one of the following radio buttons:
      •   Always ON. The WiFi network is enabled.
      •   Always OFF. The WiFi network is disabled.


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      •   Custom. The WiFi network is enabled or disabled according to a schedule that
          you must set up.
          An icon displays to the right of the radio button.

   7. If you select Custom in the previous step, do the following:
      a. Click the icon next to the radio button.
         A pop-up window opens.
      b. Either select a predefined time from the Preset menu or select custom time
         blocks by clicking the time blocks.
         A blue color for a time block indicates that the WiFi network will be enabled (on).
         A gray color for a time block indicates that the WiFi network will be disabled (off).
      c. Click the Done button.
         The pop-up window closes.

   8. Click the Apply button.
      Your settings are saved.


   Remove a WiFi network
   You can remove a custom WiFi network (SSID or VAP) that you no longer need. You
   cannot remove the default WiFi network.
  To remove a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).


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      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the trash can icon to the right of the SSID.
      A pop-up warning window opens.

   6. Click the Delete button.
      The pop-window closes and the WiFi network is removed.


   Enable or disable client isolation for a WiFi network
   By default, client isolation is disabled for a WiFi network (SSID or VAP), allowing
   communication between WiFi clients that are associated with the same or different WiFi
   networks on the access point. For additional security, you can enable client isolation so
   that clients that are associated with the same or different WiFi networks cannot
   communicate with each other, except for communication over the Internet, which remains
   possible.
  To enable or disable client isolation for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

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   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Under Client Isolation, select one of the following radio buttons:
      •   Disable. Client isolation is disabled for the WiFi network. This is the default setting.
      •   Enable. Client isolation is enabled for the WiFi network.
          If the management VLAN and WiFi network VLAN are identical (by default, both
          are VLAN 1) and you enable client isolation, the Allow Access to AP UI check
          box displays. By default, this check box is selected, allowing an admin user to
          access the local browser UI over WiFi. If you clear the Allow Access to AP UI, an
          admin user cannot access the local browser UI over WiFi.

          Note: If the management VLAN and WiFi network VLAN are identical (which
          they are by default), an admin user can always access the local browser UI over
          a wired network connection.


   8. Click the Apply button.
      Your settings are saved.


   Hide or broadcast the SSID for a WiFi network
   By default, a WiFi network (SSID or VAP) broadcasts its network name (also referred to
   as the SSID) so that WiFi clients can detect the SSID in their scanned network lists. For
   additional security, you can turn off the SSID broadcast and hide the SSID so that users
   must know the SSID to be able to join the WiFi network.

   Note: If you set up a wireless distribution system (WDS; see Set up a WiFi bridge
   between access points on page 110), you must keep the SSID broadcast enabled.

  To hide or broadcast the network name for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.




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       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Under Broadcast SSID, select one of the following radio buttons:
       •   No. The SSID is hidden for the WiFi network.
       •   Yes. The SSID is broadcast for the WiFi network.

   7. Click the Apply button.
      Your settings are saved.


   Enable or disable band steering with 802.11k RRM and
   802.11v WiFi network management
   Band steering lets the access point identify the WiFi devices that are dual-band capable
   and steer those devices to the 2.4 GHz or 5 GHz band of a WiFi network (SSID or VAP).
   Compared to the 2.4 GHz band, generally more channels and bandwidth are available
   in the 5 GHz band, causing less interference and allowing for a better user experience.
   Band steering includes 802.11k radio resource management (RRM) and 802.11v WiFi
   network management. By default, band steering is disabled.
   802.11k RRM and 802.11v WiFi network management affect the network in the following
   ways:

   •   802.11k RRM. This feature lets the access point and 802.11k-aware clients
       dynamically measure the available radio resources. In an 802.11k-enabled network,

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       access points and clients can send neighbor reports, beacon reports, and link
       measurement reports to each other, allowing 802.11k-aware clients to automatically
       select the best access point for initial connection or for roaming.
   •   802.11v WiFi network management. This feature lets the access point steer its
       WiFi clients to the 2.4 GHz or 5 GHz band, based on the access point’s channel load.
       In an environment with multiple access points, 802.11v WiFi network management
       helps WiFi clients that are roaming to select the best access point.

   The access point sets the received signal strength indicator (RSSI) threshold automatically.
   (That is, you cannot configure the RSSI threshold manually.)
  To enable or disable band steering with 802.11k RRM and 802.11v WiFi network
  management for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Under Band Steering / 802.11 k/v, select one of the following radio buttons:
       •   Disable. Band steering is disabled for the VAP. This is the default setting.




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      •   Enabled. Under certain channel conditions, the access point steers WiFi devices
          that are dual-band capable to the 2.4 GHz or 5 GHz band of the VAP.

   7. Click the Apply button.
      Your settings are saved.


   Change the VLAN ID for a WiFi network
   If the access point functions in Router mode, you can use the VLAN ID to assign a
   particular DHCP server to the WiFi clients on the SSID (see Add a DHCP server for a
   WiFi network on page 159). By default, the VLAN ID for a WiFi network is 1.
   The VLAN ID for a WiFi network is not the same as the 802.1Q VLAN ID that is used for
   the wired network (see Set the 802.1Q VLAN and management VLAN on page 146).
  To change the VLAN ID for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. In the VLAN ID field, enter a ID (that is, a number).

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      By default, the VLAN ID for a WiFi network is 1.

   7. Click the Apply button.
      Your settings are saved.


   Enable or disable PMF for a WiFi network
   Protected Management Frames (PMF), according to the 802.11w standard, is a security
   feature that protects unicast and multicast management frames from being intercepted
   and changed for malicious purposes. This feature is disabled by default, but you can
   enable it as either optional or mandatory.
  To enable or disable PMF for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.




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   6. Under 802.11w (PMF), select one of the following radio buttons:
      •   Mandatory. Requires devices to use PMF. Devices that do not support PMF
          cannot connect to the WiFi network. If you select WPA3 Personal authentication
          or WiFi enhanced open authentication, PMF becomes mandatory automatically.
      •   Optional. Lets the access point automatically activate PMF based on whether
          devices can support PMF.
      •   Disable. PMF is disabled for the WiFi network.

   7. Click the Apply button.
      Your settings are saved.


   Enable or disable URL tracking for a WiFi network
   You can enable the access point to track all URLs that are requested by WiFi clients that
   are connected to a WiFi network (SSID or VAP). This feature is disabled by default, but
   you can enable it.
   For information about how to view the tracked URLs per SSID or per WiFi client, see
   View or download tracked URLs on page 211.
  To enable or disable URL tracking for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.

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      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Under URL Tracking, select one of the following radio buttons:
      •   Enable. URL Tracking is enabled for the WiFi network.
      •   Disable. URL Tracking is disabled for the WiFi network.

   8. Click the Apply button.
      Your settings are saved.


   Change the format of the DHCP offer messages in a WiFi
   network
   When a device tries to associate with the WiFi network and negotiates an IP address,
   the access point converts the broadcast DHCP offer message that it receives from the
   DHCP server to a unicast message, and forwards it to the device. This is the default
   configuration. For the DHCP message exchange, unicast packets are more reliable and
   minimize the traffic in the network. However, if your situation requires that DHCP offer
   messages must be distributed as broadcast packets, you can change the format so that
   in a specific WiFi network, the access point does not convert the broadcast DHCP offer
   messages to unicast messages.
  To change the format of the DHCP offer messages in a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.



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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Under DHCP Offer Broadcast to Unicast, select one of the following radio buttons:
      •   Enable. The access point forwards DHCP offer messages as unicast packets in
          the WiFi network. This is the default selection.
      •   Disable. The access point forwards DHCP offer messages as broadcast packets
          in the WiFi network.

   8. Click the Apply button.
      Your settings are saved


   Select a MAC ACL for a WiFi network
   After you set up one or more local MAC access control lists (ACLs, also referred to as
   access lists; see Manage local MAC access control lists on page 118), you can select an
   ACL for use with an SSID.
   You can also set up a RADIUS server (see Set up RADIUS servers on page 134) and select
   the RADIUS MAC ACL. You must define the ACL on the RADIUS server, using the
   following format for client MAC addresses in the RADIUS server: If the client MAC
   address is 00:0a:95:9d:68:16, specify it as 000a959d6816 in the RADIUS server.

   Note: A RADIUS MAC ACL cannot function if the WiFi security is WPA2 Enterprise. If
   you want to use a RADIUS MAC ACL, select a different type of WiFi security for the WiFi
   network (see Set up an open or secure WiFi network on page 45).

   When selected, the MAC ACL blocks WiFi access to the SSID for WiFi devices that are
   not in the selected access list. The blockage applies only to the SSID for which you


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   enable the MAC ACL. Only WiFi devices that are in the selected access list can connect
   to the SSID.
  To select a MAC ACL for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Select the MAC ACL check box.
   8. Do one of the following:
      •   Select the Local MAC ACL radio button, and from the Select Group menu, select
          the MAC ACL that you defined earlier.
          To change the MAC ACL policy, MAC addresses in the ACL, or both, click the
          link next to the group. For more information, see Manage local MAC access
          control lists on page 118.
      •   Select the Radius MAC ACL radio button.



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          This option functions only if you set up a RADIUS server (see Set up RADIUS
          servers on page 134).

   9. Click the Apply button.
      Your settings are saved. Only WiFi devices for which the MAC address is on the MAC
      ACL can connect to the access point through this SSID. (These devices might be
      able to connect to the access point through another SSID if you did not set up MAC
      ACL security for that SSID.)


   Set bandwidth rate limits for a WiFi network
   You can set rate limits for the upload and download bandwidths for devices that are
   connected to a WiFi network. The minimum bandwidth rate is 64 Kbps, the maximum
   bandwidth rate is 1024 Mbps. You can set one rate for the upload bandwidth and
   another rate for the download bandwidth.

   Note: Before you set bandwidth rate limits, check the Internet speed of the access
   point (see Check the Internet speed on page 224).

  To set bandwidth rate limits for devices that are connected to a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

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   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Select the Rate Limit check box.
   8. Specify the values:
       •   Upload. For the upload bandwidth limitation, enter a value from 64 to 1024 and
           select Kbps or Mbps from the menu.
       •   Download. For the download bandwidth limitation, enter a value from 64 to
           1024 and select Kbps or Mbps from the menu.

   9. Click the Apply button.
      Your settings are saved.



   Set up and manage captive portals for WiFi
   networks
   A captive portal is a web site that users see when they attempt to connect to a WiFi
   network. A captive portal includes a splash page and usually requires some form of
   authentication for the user. The access point supports three types of captive portals:

   •   Click-through captive portal. A basic portal for which the splash page is stored on
       the access point. For each WiFi network, you can set up a unique click-through
       captive portal.
   •   External captive portal. A portal that is hosted by an external captive portal vendor.
       You can apply an external captive portal to multiple WiFi networks or you can apply
       a unique external captive portal to each WiFi network.
   •   Facebook Wi-Fi captive portal. A Facebook business page that serves as a portal.
       You can configure a single Facebook Wi-Fi captive portal on the access point but
       you can apply it to multiple WiFi networks.

   The following sections describe how you can set up and manage the captive portals:
   •   Set up a click-through captive portal for a WiFi network
   •   Set up an external captive portal for a WiFi network
   •   Register and configure Facebook Wi-Fi for the access point
   •   Set up a Facebook Wi-Fi captive portal for a WiFi network


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   •   Unregister the access point from Facebook Wi-Fi


   Set up a click-through captive portal for a WiFi network
   A click-through captive portal is a basic portal for which the splash page is stored on
   the access point, that is, it is not an external captive portal. Use a click-through captive
   portal to welcome or instruct WiFi users and limit their sessions. You can require users
   to agree to an end user license agreement (EULA) and redirect them a specific website.
   A click-through captive portal is specific to the WiFi network (SSID) on which you set it
   up.
  To set up a click-through captive portal for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Select the Captive Portal check box.
      The page adjusts. By default, the Click Through radio button is selected.

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   8. Specify the click-through settings as described in the following table.

       Setting               Description

       Session Timeout (in   Enter the time after which a WiFi session is terminated and a user must log in again.
       min)                  The period is in the range from 1 to 1440 minutes. The default is 60 minutes.

       Redirect URL          To redirect a user to a specific website after login, select the Redirect URL check box
                             and enter the URL to which the user must be directed. If the Redirect URL check box
                             is cleared, a user is directed to a default web page.

       Title                 Enter the title that is displayed on the captive portal login page. If you do not
                             customize the title, the default title displays on the captive portal login page.

       Message               Enter a message to the user. This message is displayed on the captive portal login
                             page. If you do not customize the message, the default message displays on the
                             captive portal login page.




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      (Continued)


       Setting               Description

       JPEG/JPG Image (Max   To customize the image that is displayed on the captive portal login page, click the
       500KB)                Browse button and navigate to and select an image. If you do not customize the
                             image, the default image displays on the captive portal login page.

       EULA (Max 1KB)        The field includes a default end user license agreement (EULA). You can enter or
                             copy custom text into the field. To show the EULA on the captive portal login page,
                             select the EULA check box.


   9. To preview the captive portal login page, click the Preview button.
      The following figure shows an example (that is, the figure does not show the default
      captive portal but a customized one).




   10. Click the Apply button.
       Your settings are saved. WiFi clients attempting to connect to the SSID are presented
       with the captive portal login page.

      Note: An HTTPS session is blocked until after the captive portal authentication
      occurs.



   Set up an external captive portal for a WiFi network
   An external captive portal is a portal that is hosted by an external captive portal vendor.
   That is, this type of portal is not stored on the access point. For an external captive portal,
   you generally must register your devices with and purchase licenses from the vendor.


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   You can apply an external captive portal to multiple WiFi networks or you can apply a
   unique external captive portal to each WiFi network
  To set up an external captive portal for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.

   7. Select the Captive Portal check box.
      The page adjusts. By default, the Click-Through radio button is selected.




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   8. Click the External Captive Portal radio button.




   9. Specify the external captive portal settings as described in the following table.




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       Setting               Description

       Splash Page URL       Enter the URL that is provided by the vendor.
                             This URL redirects a user to the splash page on the website that hosts the captive
                             portal.

       Captive Portal        The access point supports two types of external captive portal authentication. These
       Authentication Type   types are mutually exclusive.

                             Web/HTTP. Authentication for access to the splash page occurs on the access point
                             using the HTTPS protocol. Specify the following settings:
                             • Web Authentication URL. Enter the web authentication URL that is provided by
                               the vendor.

                             • Key. Enter the key credential that is provided by the vendor. This field is optional
                               and depends on the authentication requirements of the vendor.

                             • Secret. Enter the secret credential that is provided by the vendor. This field is
                               optional and depends on the authentication requirements of the vendor.


                             Radius. Authentication for access to the splash page occurs on an external RADIUS
                             authentication server. The vendor might also require an accounting RADIUS server.
                             Specify the following settings for each RADIUS server, as directed by the vendor:
                             • IPv4 Address. Enter the IP address of the server. The IP address is provided by
                               the vendor.

                             • Port. Enter the port number that is used by the server. The IP port number is
                               provided by the vendor. By default, an authentication server uses port number
                               1812; an accounting server uses port number 1813.

                             • Password. Enter the password (shared secret) for interaction with the server. The
                               password is provided by the vendor.


       FailSafe              Select one of the following radio buttons:
                             • Enable. If authentication is not possible–for example, because captive portal servers
                               do not respond–users are still allowed to access the Internet access for a period
                               of 30 minutes.

                             • Disable. This is the default setting. If authentication is not possible, users cannot
                               reach the splash page and cannot access the Internet. Instead, they get a message
                               Oops. Something went wrong. Please try after some time.




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      (Continued)


       Setting               Description

       Allow HTTPS           Select one of the following radio buttons:
                             • Enable. Before authentication occurs, secure HTTP (HTTPS) traffic is allowed to
                               pass through.

                             • Disable. This is the default setting. HTTPS traffic is allowed only after authentication
                               occurs.


       Walled Garden         The walled garden specifies the external applications and sites that a user can access
                             from the captive portal. Generally, the vendor provides information about the
                             applications and sites. The vendor splash page, domain name, and authentication
                             servers must also be included in the walled garden. Follow the directions of the
                             vendor.
                             You can do the following to configure the walled garden:
                             • Add a single URL. In the right field, type the URL, press Enter, and click the Move
                               button.

                             • Add multiple URLs. In the right field, paste a list of URLs, and click the Move
                               button.

                             • Remove one or more URLs. Select the check boxes for URLs, and click the Remove
                               button.

                             • Remove all URLs. Select the Select All check box, and click the Remove button.



   10. Click the Apply button.
       Your settings are saved. WiFi clients attempting to connect to the SSID are presented
       with the captive portal login page.


   Register and configure Facebook Wi-Fi for the access point
   Before you can set up Facebook Wi-Fi on the access point so that you can provide
   customers WiFi access by letting them check in to an existing Facebook business page
   (see Set up a Facebook Wi-Fi captive portal for a WiFi network on page 77), you must
   register the access point with Facebook and configure the Facebook settings. By default,
   the capability to register is disabled.




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  To register and configure Facebook Wi-Fi for the access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Facebook Wi-Fi.
      The Facebook Wi-Fi page displays.

   5. Select the Register with Facebook Wi-Fi Yes radio button.
      The capability to register is enabled. By default, this capability is disabled.

   6. Click the Apply button.
      Your settings are saved and the Add Page button displays.

   7. Click the Add Page button.
      A new browser page opens and displays the Facebook Login page.




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   8. Log in to the Facebook account with which the Facebook business page is associated.




   9. From the Select a Page menu, select the Facebook business page.
   10. Select one of the following bypass mode options:
      •   To allow customers to skip check-in, select the Skip check-in link radio button.
          If you enable this option, users can either check in to the selected Facebook
          business page or skip the check-in.
      •   To require users to enter a WiFi code before they can gain WiFi access, select
          the Require Wi-Fi code radio button and type a WiFi code in the field that
          displays.
          If you enable this option, users can either check in to the selected Facebook
          business page or skip the check-in by using the WiFi code.

   11. From the Session Length menu, select the period after which users are automatically
       logged out.
   12. To add terms of service to the Facebook check-in page, select the Terms of Service
       check box and type or copy the terms of service.
   13. Click the Save Settings button.
       The Facebook Wi-Fi settings are saved.
      The name of the selected Facebook business page displays on the Facebook Wi-Fi
      configuration page, along with the Change Page button, which lets you replace the
      selected Facebook business page with another one.

   14. To allow clients that are connected to the Facebook captive portal to establish a
       secure HTTP (HTTPS) session before the captive portal authentication occurs, select
       the Allow HTTPS Enable radio button.


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      By default, the Allow HTTPS Disable radio button is selected and clients that are
      connected to the Facebook captive portal cannot establish an HTTPS session until
      after the captive portal authentication occurs.

   15. Click the Apply button.
       Your settings are saved.


   Set up a Facebook Wi-Fi captive portal for a WiFi network
   You can provide customers WiFi access by letting them check in to a Facebook business
   page. Before you can do so, you must register the access point with Facebook Wi-Fi
   (see Register and configure Facebook Wi-Fi for the access point on page 74).
  To set up a Facebook Wi-Fi captive portal for a WiFi network:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic.
      The page that displays lets you select an SSID.

   5. Click the > button to the left of the SSID.
      The settings for the selected SSID display.

   6. Click the > Advanced tab.
      The page expands.


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   7. Select the Captive Portal check box.
      The page adjusts. By default, the Click Through radio button is selected.

   8. Select the Facebook Wi-Fi radio button.
      The page adjusts again because you do not need to specify any further settings on
      the page.
      Customers receive WiFi access by checking in to a Facebook business page. To use
      this option, first register the access point with Facebook Wi-Fi (see Register and
      configure Facebook Wi-Fi for the access point on page 74).

   9. Click the Apply button.
      Your settings are saved. WiFi clients attempting to connect to the SSID are presented
      with the Facebook business page..

      Note: When you set up a captive portal with Facebook Wi-Fi, you can configure the
      option to allow clients that are connected to the Facebook captive portal to establish
      a secure HTTP (HTTPS) session before the captive portal authentication occurs (see
      Register and configure Facebook Wi-Fi for the access point on page 74).



   Unregister the access point from Facebook Wi-Fi
   If the access point is registered with Facebook Wi-Fi but you no longer want to use that
   option for a captive portal or you want to use another Facebook account, you can
   unregister the access point from Facebook Wi-Fi and remove the access point’s entry.
  To unregister the access point from Facebook Wi-Fi and remove the access point’s
  entry:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the

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       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Facebook Wi-Fi.
      The Facebook Wi-Fi page displays.

   5. Select the No radio button.
      The capability to register is disabled. However, the access point’s entry on the
      Facebook business page is not yet removed.

   6. Click the Apply button.
      Your settings are saved.

   7. Go to the Facebook business page and log in to your account.
   8. Select the check box for the access point’s entry.
   9. Click the Delete button.
      The access point’s entry is removed.



   Manage the basic radio features
   You can manage the basic radio features that are described in the following sections:
   •   Manage the basic settings for the radios
   •   Turn a radio on or off
   •   Change the WiFi mode for a radio
   •   Change the channel width for a radio
   •   Change the guard interval for a radio
   •   Change the output power for a radio
   •   Change the channel for a radio
   •   Manage Quality of Service for a WiFi radio
   For information about the advanced radio features, see Manage the advanced radio
   features on page 94.


   Manage the basic settings for the radios
   The basic WiFi settings for the radios apply to all WiFi networks (VAPs or SSIDs). You
   can specify the radio settings for the 2.4 GHz and 5 GHz radios individually. For


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   information about the advanced radio settings, see Manage the advanced WiFi settings
   for the radios on page 94.
  To manage the basic WiFi settings for the radios:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.




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   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.




   5. Configure the settings as described in the following table.
      The descriptions in the table apply to both radios, but you can specify the radio
      settings for the 2.4 GHz and 5 GHz radios individually.




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       Setting               Description

       Turn Radio On         By default, the Turn Radio On check box is selected and the radio broadcasts. Turning
                             off a radio disables WiFi access for the band, which can be helpful during
                             configuration, network tuning, or troubleshooting.

       Wireless Mode         Select one of the following WiFi modes for the 2.4 GHz radio:
                             • 11b. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access point.
                               However, the speed of 802.11n and 802.11g clients is limited to the maximum
                               speed that is supported by 802.11b (about 11 Mbps).

                             • 11bg. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access point.
                               However, the speed of 802.11n clients is limited to the maximum speed that is
                               supported by 802.11g (about 54 Mbps).

                             • 11ng. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access point.
                               This is the default setting.

                             Select one of the following WiFi modes for the 5 GHz radio:
                             • 11a. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access point.
                               However, the speed of 802.11ac and 802.11na clients is limited to the maximum
                               speed that is supported by 802.11a (about 54 Mbps).

                             • 11na. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access
                               point. However, the speed of 802.11ac clients is limited to the maximum speed
                               that is supported by 802.11n (generally, ranging from about 300 Mbps to about
                               450 Mbps).

                             • 11ac. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access
                               point. This is the default setting.


       Channel Width         From the menu, select the channel width for the radio. Use the following guidelines:
                             • A wider channel improves the performance.

                             • The 802.11n specification allows a 40 MHz–wide channel in addition to the legacy
                               20 MHz channel that is available with other modes.

                             • The 802.11ac specification allows an 80 MHz–wide channel in addition to the 20
                               MHz and 40 MHz channels that are available with other modes.

                             • The 40 MHz and 80 MHz channels enable higher data rates but leaves fewer
                               channels available for use.


       Guard Interval        From the menu, select the value that protects radio transmissions from interference.
                             An Auto guard interval (which is the default) improves performance, but some legacy
                             devices can operate only with a long –800ns guard interval.
                             The guard interval and channel width determine the available MCS index and data
                             transmit rates.


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      (Continued)


       Setting               Description

       Output Power          From the menu, select the transmission power of the radio. You can select
                             100%(Max), 50%, 25%, 12.5%, or 4%(Min). The default is 100%(Max).
                             Note: If two or more access points are operating in the same area and on the same
                             channel, interference can occur. In such a situation, you might want to decrease the
                             output power for the access point. Make sure that you comply with the regulatory
                             requirements for total radio frequency (RF) output power in your country.

       Channel               From the menu, select the WiFi channel for the radio. The available WiFi channels
                             and frequencies depend on the country and the radio. The default is Auto, which
                             enables the radio to automatically select the most suitable channel.
                             Note: You do not need to change the WiFi channel unless you experience
                             interference (which is indicated by lost connections).
                             Note: If you use multiple access points, reduce interference by selecting different
                             channels for adjacent access points. We recommend a channel spacing of four
                             channels between adjacent access points (for example, use Channels 1 and 5, or 6
                             and 10).


   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Turn a radio on or off
   By default, both the 2.4 GHz and 5 GHz radios broadcast. Turning off a radio disables
   WiFi access for the associated band, which affects all VAPs (or SSIDs) in that band.
   Turning off a radio can be helpful during configuration, network tuning, or
   troubleshooting.
  To turn a radio on or off:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.




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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.
      The Wireless Settings page displays.

   5. Take one of the following actions:
      •   Turn a radio on. Select the Turn Radio ON check box for the radio.
      •   Turn a radio off. Clear the Turn Radio ON check box for the radio.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Change the WiFi mode for a radio
   By default, all types of WiFi clients can access a WiFi network on the access point, that
   is, the WiFi modes on the access point support 802.11n, 802.11g, 802.11b, 802.11ac,
   802.11na, and 802.11a clients. You can change the modes to limit access to certain
   types of clients.
  To change the WiFi mode for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.


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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.
      The Wireless Settings page displays.

   5. Select the WiFi mode for the radio:
      •   2.4 GHz radio. Select one of the following WiFi modes for the 2.4 GHz radio:
          -   11b. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access
              point. However, the speed of 802.11n and 802.11g clients is limited to the
              maximum speed that is supported by 802.11b (about 11 Mbps).
          -   11bg. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access
              point. However, the speed of 802.11n clients is limited. However, the speed
              of 802.11n clients is limited to the maximum speed that is supported by
              802.11g (about 54 Mbps).
          -   11ng. 802.11n, 802.11g, and 802.11b WiFi clients can connect to the access
              point. This is the default setting.

      •   5 GHz radio. Select one of the following WiFi modes for the 5 GHz radio:
          -   11a. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access
              point. However, the speed of 802.11ac and 802.11na clients is limited to the
              maximum speed that is supported by 802.11a (about 54 Mbps).
          -   11na. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access
              point. However, the speed of 802.11ac clients is limited to the maximum
              speed that is supported by 802.11n (generally, ranging from about 300 Mbps
              to about 450 Mbps).
          -   11ac. 802.11ac, 802.11na, and 802.11a WiFi clients can connect to the access
              point. This is the default setting.



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   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Change the channel width for a radio
   Use the following guidelines when you determine the channel width for a radio:

   •   A wider channel improves the performance.
   •   The 802.11n specification allows a 40 MHz–wide channel in addition to the legacy
       20 MHz channel that is available with other modes.
   •   The 802.11ac specification allows an 80 MHz–wide channel in addition to the 20
       MHz and 40 MHz channels that are available with other modes.
   •   The 40 MHz and 80 MHz channels enable higher data rates but leave fewer channels
       available for use.

  To change the channel width for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.

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      The Wireless Settings page displays.

   5. From the Channel Width menu, select one of the following settings.
      •   20 MHz.
      •   40 MHz.
      •   80 MHz. This selection is available only for the 5 GHz radio.
      •   Dynamic 20 / 40 MHz. This selection is available only for the 2.4 GHz radio and
          is the default setting for that radio.
      •   Dynamic 20 / 40 / 80 MHz. This selection is available only for the 5 GHz radio
          and is the default setting for that radio.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Change the guard interval for a radio
   The guard interval protects radio transmissions from interference. An automatic guard
   interval (which is the default) improves performance, but some legacy devices can
   operate only with a long –800ns guard interval.
  To change the guard interval for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over

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      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.
      The Wireless Settings page displays.

   5. From the Guard Interval menu, select one of the following settings:
      •   Auto. This is the default setting.
      •   Long-800 ns.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Change the output power for a radio
   By default, the output power of the access point is set at the maximum. If two or more
   access points are operating in the same area and on the same channel, interference
   can occur. In such a situation, you might want to decrease the output power for the
   access point. Make sure that you comply with the regulatory requirements for total radio
   frequency (RF) output power in your country.
  To change the output power for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the

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      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.
      The Wireless Settings page displays.

   5. From the Output Power menu, select 100%(Max), 50%, 25%, 12.5%, or 4%(Min).
      The default is 100%(Max).

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Change the channel for a radio
   The available WiFi channels and frequencies depend on the country and the radio. The
   default is Auto, which enables the radio to automatically select the most suitable channel.

   Note: You do not need to change the WiFi channel unless you experience interference
   (which is indicated by lost connections).

   Note: If you use multiple access points, reduce interference by selecting different
   channels for adjacent access points. We recommend a channel spacing of four channels
   between adjacent access points (for example, use Channels 1 and 5, or 6 and 10).

  To change the channel for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.


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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > Wireless Settings.
      The Wireless Settings page displays.

   5. From the Channel menu, select a channel.
      The default is Auto. When you select a particular channel, the channel selection
      becomes static.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Manage Quality of Service for a WiFi radio
   You can specify the Quality of Service (QoS) setting for the 2.4 GHz and 5 GHz radios
   separately. These settings are enabled by default for both radios. Disabling QoS for a
   radio might impact the throughput and speed of WiFi traffic on the access point.
  To manage the QoS settings for a WiFi radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.

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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Basic > QoS Settings.




   5. Enable or disable the following features for a radio by selecting the applicable Enable
      or Disable radio buttons:
      •   Wi-Fi Multimedia (WMM). WiFi Multimedia (WMM) is a subset of the 802.11e
          standard. Time-dependent information such as video or audio is given higher
          priority than normal traffic. For WMM to function correctly, WiFi clients must also
          support WMM. By enabling WMM, you allow WMM to control upstream traffic
          flowing from WiFi devices to the access point and downstream traffic flowing
          from the access point to WiFi devices. WMM defines the following four queues
          in decreasing order of priority:
          -   Voice. The highest priority queue with minimum delay, which makes it very
              suitable for applications such as VoIP and streaming media.
          -   Video. The second highest priority queue with low delay. Video applications
              are routed to this queue.
          -   Best effort. The medium priority queue with medium delay. Most standard
              IP applications use this queue.
          -   Background. The low priority queue with high throughput. Applications such
              as FTP that are not time-sensitive but require high throughput can use this
              queue.

      •   WMM Powersave. Enabling the WMM Powersave feature saves power for
          battery-powered devices and fine-tunes power consumption.


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   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.




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   4
   Manage the Advanced WiFi and
   Radio Features

   This chapter describes how you can manage the advanced WiFi and radio features of
   the access point. For information about the basic WiFi and radio settings, see Manage
   the Basic WiFi and Radio Features on page 44.

   Tip: If you want to change the settings of the access point’s WiFi network, use a wired
   connection to avoid being disconnected when the new WiFi settings take effect.

   The chapter includes the following sections:
   •   Manage the advanced radio features
   •   Set a data volume limit for the access point
   •   Set up a WiFi bridge between access points




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   Manage the advanced radio features
   You can manage the advanced radio features that are described in the following sections:
   •   Manage the advanced WiFi settings for the radios
   •   Manage the maximum number of clients for a radio
   •   Manage the broadcast and multicast settings for a radio
   •   Manage sticky clients
   •   Manage load balancing for the radios
   •   Manage the ARP proxy
   •   Manage the amount of broadcast traffic
   For information about the basic radio features, see Manage the basic radio features on
   page 79.


   Manage the advanced WiFi settings for the radios
   The advanced WiFi settings for the radios apply to all WiFi networks (VAPs or SSIDs).
   You can specify the radio settings for the 2.4 GHz and 5 GHz radios individually. For
   information about the basic radio settings, see Manage the basic settings for the radios
   on page 79.
   A radio must be turned on for you to specify the settings. For more information about
   turning a radio on, see Turn a radio on or off on page 83.
  To manage the advanced WiFi settings for the radios:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over



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      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced.




   5. Configure the settings as described in the following table.
      The descriptions in the table apply to both radios. You can specify the radio settings
      for the 2.4 GHz and 5 GHz radios individually, but the 802.11n 256 QAM feature
      applies to the 2.4 GHz radio only and the MU-MIMO and 802.11h features apply to
      the 5 GHz radio only.




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       Setting                 Description

       Max. Wireless Clients   Enter the maximum number of WiFi clients that can simultaneously associate with
                               the radio. The range is from 1 to 200. The default is 64 WiFi clients.

       RTS Threshold           Enter the Request to Send (RTS) threshold. The range is from 256 to 2346. The default
       (256-2346)              is 2346.
                               If the packet size is equal to or less than the RTS threshold, the radio uses the Carrier
                               Sense Multiple Access with Collision Detection (CSMA/CD) mechanism and the data
                               frame is transmitted immediately after the silence period. If the packet size is larger
                               than the RTS threshold, the system uses the CSMA with Collision Avoidance
                               (CSMA/CA) mechanism. In this situation, the transmitting device sends the RTS packet
                               to the receiving device and waits for the receiving device to return a Clear to Send
                               (CTS) packet before sending the actual packet data.

       Beacon Interval         Enter an interval between 100 ms and 300 ms for each beacon transmission, which
       (100-300)               allows the radio to synchronize the WiFi network. The default is 100 ms.

       802.11n 256 QAM         Select the 802.11n 256 QAM check box to enable the 2.4 GHz radio to function
                               over 256-quadrature amplitude modulation (QAM), which can increase the 2.4 GHz
                               radio throughput for clients that are capable of supporting 256 QAM. By default, 256
                               QAM is disabled for the 2.4 GHz radio, that is, the check box is cleared.
                               By default, 256-QAM is enabled for the 5 GHz radio and you cannot disable it (the
                               page does not provide a check box for the 5 GHz radio).

       DTIM Interval (1-255)   Move the slider to specify the delivery traffic indication message (DTIM) interval or
                               the data beacon rate, which indicates the beacon delivery traffic indication message
                               period in multiples of beacon intervals. This value must be between 1 and 255. The
                               default is 2.

       Broadcast/Multicast     Multicast and broadcast rate limiting is enabled by default to improve the overall
       Rate Limiting           network performance by limiting the number of packets that are transmitted across
                               the network. By default, the setting is 50 (the maximum possible value), which specifies
                               a maximum rate limit of 50 packets per second. To change the setting, move the
                               slider. To disable multicast and broadcast rate limiting, clear the small check box.




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      (Continued)


       Setting               Description

       MU-MIMO               By default, the MU-MIMO Enable radio button is selected and multiuser MIMO
                             (MU-MIMO) is enabled. To disable MU-MIMO, select the MU-MIMO Disable radio
                             button.
                             802.11ac Wave 2 supports MU-MIMO, which enables multiple users to receive data
                             from the access point simultaneously using the same channel. With MU-MIMO, the
                             access point can transmit to multiple clients simultaneously using the same channel.
                             MU-MIMO is used in the downstream direction and requires both the access point
                             and the WiFi clients to be capable of 802.11ac Wave 2.
                             You can enable or disable MU-MIMO for the 5 GHz radio but not for the 2.4 GHz
                             radio.

       802.11h               Select the 802.11h Enable radio button to enable 802.11h-capable WiFi clients to
                             automatically switch to a new channel without disconnecting from the access point
                             and without losing any data when the access point changes to another channel. By
                             default, the 802.11h Disable radio button is selected and 802.11h is disabled.
                             You can enable or disable 802.11h for the 5 GHz radio but not for the 2.4 GHz radio.


   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Manage the maximum number of clients for a radio
   The number of clients that are allowed to associate with a radio affects the reliability
   and throughput of the WiFi connection. A smaller number can increase the reliability
   and throughput and a large number can decrease the reliability and throughput.
   By default, one radio allows up to 64 client associations. You can specify a lower or
   higher number of clients, up to 200 clients for one radio. If the number of associated
   clients exceeds the maximum number that you specify, the radio rejects new client
   associations until the number drops below that maximum number.
  To manage the maximum number of clients for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.

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      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced.
      The Wireless Settings page displays.

   5. In the Max.Wireless Clients field, enter the maximum number of WiFi clients that
      can simultaneously associate with the radio.
      The range is from 1 to 200 for the radio. The default is 64 WiFi clients for the radio.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Manage the broadcast and multicast settings for a radio
   Because multicast and broadcast traffic can adversely affect the throughput and latency
   of a WiFi network, you can change the multicast and broadcast rate limiting settings for
   a radio.
   By default, multicast and broadcast rate limiting is enabled to improve the overall
   network performance by limiting the number of packets that are transmitted across the
   network. By default, the setting is 50 (the maximum possible value), which specifies a
   maximum rate limit of 50 packets per second. You can lower this number.




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   To manage the broadcast and multicast settings for a radio:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced > Wireless Settings.
      The Wireless Settings page displays.

   5. To change the multicast and broadcast rate limiting settings for a radio, under
      Broadcast/Multicast Rate Limiting, take one of the following actions:
      •   To change the rate limiting setting, move the slider. By default, the setting is 50
          (the maximum possible value), which specifies a maximum rate limit of 50 packets
          per second.
      •   To disable or enable multicast and broadcast rate limiting, clear or select the
          small check box.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.




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   Manage sticky clients
   During roaming, sticky clients do not change to an access point with a better signal but
   remain associated with (that is, stick to) their initial access point, even though the quality
   of the connection to that access point is degraded. Such a situation causes delay for
   other clients that are associated with that access point.

   Note: For a home WiFi network with a single access point, a sticky client is useful
   because no other access point is available to associate with during roaming. For a
   business or enterprise network with multiple access points, a sticky client can cause a
   drain on WiFi resources.

   You can force sticky clients to disassociate from the radios of the access point.
   If load balancing based on the RSSI of the client is enabled (see Manage load balancing
   for the radios on page 101), after a client is forced to disassociate, the client can join
   again in the following situations:
   •   The client can associate again if its RSSI is equal to or higher than the minimum
       required RSSI.
   •   If the client persistently tries to associate with the access point, the access point
       grants access to that client, even if its RSSI is below minimum required RSSI.

   To manage sticky clients:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.



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   4. Select Management > Configuration > Wireless > Advanced > Load Balancing.
      The Load Balancing page displays.

   5. Either select or clear the Force Sticky Clients To Disassociate check box.
      Selecting the check box forces sticky clients to disassociate from a radio. Clearing
      the check box allows sticky clients to remain associated with a radio.

   6. Click the Apply button.
      Your settings are saved.


   Manage load balancing for the radios
   You can configure the radio utilization thresholds to enable each radio to maintain the
   speed and performance of the WiFi network as clients associate with and disassociate
   from the WiFi network.
   If you enable load balancing, client associations depend on the maximum number of
   clients per radio, the channel load per radio, and each client’s Received Signal Strength
   Indicator (RSSI). New client associations are allowed if a radio’s utilization remains within
   the defined load balancing settings. If a radio’s utilization exceeds the defined load
   balancing settings, new client associations are temporary halted until the radio’s
   utilization falls within the defined load balancing settings.

   Note: The Dashboard page can show information about the client and traffic distribution
   per radio as well as the client, traffic, and channel utilization for each radio (see View
   client distribution, connected clients, and client trends on page 205 and View WiFi and
   WAN traffic, traffic and ARP statistics, and channel utilization on page 209).

   By default, all of the following types of load balancing are enabled with their default
   settings:

   •   Load balancing based on the maximum number of clients. The access point
       allows client associations up to the specified maximum number of clients. After the
       maximum number is exceeded, new clients are rejected. Even though this is a global
       setting, it is implemented per radio.
   •   Load balancing based on the channel load. The access point allows client
       associations up to the defined maximum channel utilization. After the maximum
       channel utilization is exceeded, new clients are rejected. Even though this is a global
       setting, it is implemented per radio.

       Note: If a client is rejected but persistently tries to associate with the access point,
       the access point grants access to that client.




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   •   Load balancing based on the RSSI of the client. Clients with an RSSI that is equal
       to or higher than the defined minimum are allowed to associate with the access
       point. Clients with an RSSI below the defined minimum are rejected. Even though
       this is a global setting, it is implemented per radio.

       Note: If a client is rejected but persistently tries to associate with the access point,
       the access point grants access to that client.


   You can change the default settings for each type of load balancing, or completely
   disable one or more types of load balancing.
   To manage load balancing for the radios:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.




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   4. Select Management > Configuration > Wireless > Advanced > Load Balancing.




   5. To globally enable load balancing for the radios, select the Load Balancing Mode
      Enable radio button.
      The page adjusts and displays a slider for each type of load balancing and each
      radio.
      By default, load balancing is disabled. When you enable load balancing, all three
      types of load balancing are enabled. You can individually disable one or more types
      of load balancing.

   6. To individually enable or disable one or more types of load balancing, do the
      following:
      •   To disable a particular type of load balancing, clear the small blue check box to
          the left of the Based On text.
      •   To enable a particular type of load balancing, select the small blue check box to
          the left of the Based On text.

   7. To change the load balancing settings, do the following:
      •   Based On Maximum Number Of Clients. For each radio, move the associated
          slider to specify the maximum number of clients allowed, before the radio stops
          accepting new client associations. For each radio, the minimum number of clients
          is 5 and the maximum number is 200, and the default number is 64.
      •   Based On Channel Load. For each radio, move the associated slider to specify
          the maximum percentage of channel load that is allowed on the radio, before it
          stops accepting new client associations. For each radio, the minimum percentage
          of channel load is 50, the maximum percentage is 90, and the default percentage
          is 70.
      •   Based on Channel Receive Signal Strength. For each radio, move the associated
          slider to specify the minimum required RSSI value for an individual client, below


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         which the radio does not accept the client association. For each radio, the
         minimum RSSI value is 1, the maximum value is 50, and the default value is 23.

   8. Click the Apply button.
      A pop-up warning window opens.

   9. Click the OK button.
      The pop-up window closes and your settings are saved. The radio or radios restart
      and WiFi clients might need to reconnect.


   Manage the ARP proxy
   By default, the ARP proxy is enabled on the access point, allowing it to inspect all ARP
   broadcast packets for its clients. In this way, the access point responds to ARP requests
   for its clients, preventing unnecessary broadcast traffic on the radios.
   For information about the ARP statistics, including the number of proxied and dropped
   packets, see View WiFi and WAN traffic, traffic and ARP statistics, and channel utilization
   on page 209.
   To manage the ARP proxy:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced > ARP Proxy.
      The ARP Proxy page displays.


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   5. Select one of the following radio buttons
       •   Enable. The ARP proxy is enabled. This is the default setting.
       •   Disable. The ARP proxy is disabled. Broadcast traffic on the radios might increase.

   6. Click the Apply button.
      Your settings are saved.


   Manage the amount of broadcast traffic
   The access point supports broadcast enhancements that reduce the broadcast traffic
   on the radios, and therefore on all WiFi networks that you configure on the access point.
   We recommend that you enable the broadcast enhancements only if you expect the
   access point to host less than 20 clients on the 5 GHz radio and less than 10 clients on
   the 2.4 GHz radio. By default, the broadcast enhancements are disabled.
   Note the following limitations for the broadcast enhancements:
   •   If more 20 clients are connected to a WiFi network, the broadcast enhancements do
       not work for that WiFi network.
   •   Broadcast enhancement do not work if the access point functions in a wireless
       distribution system (WDS) or in an Insight Instant Mesh WiFi network.

   To manage broadcast enhancements:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).


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       The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced > Broadcast
      Enhancements.
      The Broadcast Enhancements page displays.

   5. Select one of the following radio buttons
       •   Enable. The broadcast enhancements are enabled.
       •   Disable. The broadcast enhancements are disabled. This is the default setting.

   6. Click the Apply button.
      Your settings are saved.



   Set a data volume limit for the access point
   You can set a total monthly data volume limit that applies to all WiFi networks that you
   configure on the access point, that is, it applies to all SSIDs (or VAPs) collectively. A
   typical use of this feature is to restrict guest user data consumption.
   For each SSID, you can define a percentage of the monthly data volume limit, in which
   case must allocate a data volume in MB to each WiFi client of that SSID. In relation to
   settings percentages for SSIDs, note the following:

   •   To make sure that each SSID receives its exact share of the total monthly data volume
       limit, make sure that the percentages for all SSIDs together do not exceed 100
       percent.
   •   To set a less restrictive policy, the percentages for all SSIDs together do not need
       to add up to 100 percent. For example, if you set 60 percent for one SSID and 60
       percent for another SSIDs, you are providing an equal chance to each SSID to
       consume 60 percent of the total monthly data volume limit. If one SSID actually
       consumes 60 percent, only 40 percent is available for the other SSID.
   •   If you do not set a data volume limit for any SSIDs, all SSIDs are allowed 100 percent
       of the total monthly data volume limit, and data is consumed on a first come, first
       served basis, up to the total monthly data volume limit.

   You can specify when the monthly counter resets or manually reset the counter.
   If the consumed data reaches a definable percentage of the profile data volume limit
   for an SSID, either the data is dropped for all WiFi clients of the SSID or those WiFi clients
   are disconnected.




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   To set a data volume limit for the access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Wireless > Advanced > Data Volume
      Limit.
      The Data Volume Limit page displays.




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   5. Select the Data Volume Limit check box.




   6. In the Data Volume Limit Setup section, specify the following settings, which apply
      to SSIDs collectively, whether or not you set a data volume limit for an SSID in Step
      7:
      a. Monthly limit. Enter the total monthly data volume limit in MB for the access
         point, that is, for all SSIDs collectively.
         For example, if you enter 500000, a data volume limit of 500 GB applies to all
         SSIDs collectively.
         The default value is 1024 MB (1 GB). The maximum that you can enter is 100 TB
         (100000 GB).
      b. Data limit control by. From the menu, select if the data volume limit applies to
         downloaded data, to uploaded data, or to both combined.
      c. Reset data limit counters. Specify the day and time of the month when the
         counter is reset and the data volume usage for all SSIDs is reset to zero.
         To immediately reset the counter to zero, click the Reset Counter button and
         confirm your action by clicking the OK button.




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   7. In the SSID Profiles section, specify the following settings for any individual SSID for
      which you want to set a percentage of the total monthly data volume limit:
      a. No Data Volume Limit. To specify that the data volume limit applies to the SSID,
         clear the No Data Volume Limit check box for the SSID.
         If you leave the check box selected, no data volume limit applies to the SSID,
         which means that the SSID is assigned 100 percent. (If you do not set a data
         volume limit for any SSID, each SSID is assigned 100 percent.)
      b. Profile Data Volume Limit (%). To set a percentage of the monthly data volume
         limit that you specified in Step 6, move the slider to the percentage that you want
         to set.
         For example, if the monthly data volume limit is 500000 MB and you move the
         slider to 60 percent, the volume limit for the SSID is 300000 MB (300 GB). That
         means that the SSID cannot consume more data than 300 GB. However, the actual
         available data volume for the SSID might be less than 300 GB if the data
         consumption on other SSIDs causes the total monthly data volume limit to be
         reached before the SSID consumes 300 GB.
      c. Per Client. If you set a percentage for an SSID, set a monthly data volume limit
         that applies to each WiFi client of the SSID by entering the monthly data volume
         limit in MB per WiFi client.
         Take the total monthly data volume limit and the percentage that you set for the
         SSID into account. For example, if the total monthly data volume limit is 500000
         MB, the percentage for the SSID is 60 percent, and you expect about 30 clients
         to connect to the SSID, you could set a data volume of 10000 MB (10 GB) per
         WiFi client of the SSID.

         Note: When the remaining data volume reaches 10 percent of the monthly data
         volume limit for a WiFi client, the data rate for that WiFi client is restricted to
         256 Kbps. However, the WiFi client can continue to consume data as long as the
         volume limit for the SSID is not yet reached.




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   8. In the Data Volume Limit Policy on SSID Profile section, specify the following settings
      that apply to each individual SSID for which you set a profile data volume limit in
      Step 7:
      a. Pop-up a warning message. Specify the percentage of the profile data volume
         limit for an SSID that, if exceeded, causes a pop-up message to be displayed. By
         default, if 10 percent of the remaining profile data volume limit for an SSID is
         exceeded, a pop-up warning message is displayed on the Data Volume Limit
         page.
      b. When SSID profile limit is reached. Select one of the following radio buttons
         to specify the action that occurs if the profile data volume limit for an SSID is
         exceeded:
         •   Drop data for all wireless clients. The data for all WiFi clients of the SSID is
             dropped but the WiFi clients are not disconnected from the SSID.
         •   Disconnect all wireless clients. All WiFi clients are disconnected from the
             SSID.


   9. Click the Apply button.
      Your settings are saved.
      For information about monitoring the consumed data volume for each SSID for which
      you enabled a data volume limit, see View the data volume consumption on page
      216.


   Set up a WiFi bridge between access points
   If the access point functions in AP mode, you can configure a wireless distribution system
   (WDS) that consists of point-to-point WiFi bridge connections between two access
   points. Each WiFi bridge connection requires a WDS profile for which the settings must
   match on the access points that make up the bridge. WDS does not function if the AP
   functions in Router mode.
   If the access point is connected to the Internet over a wired connection, the access point
   can function as the WiFi base station for up to four other access points that function as
   WiFi repeaters. The access point itself can also function as a WiFi repeater if it is
   connected to another access point that functions as a WiFi base station.
   A WiFi base station connects to the Internet, wired and WiFi clients can connect to the
   base station, and the base station sends its WiFi signal to one or more access points
   that function as WiFi repeaters. Wired and WiFi clients can also connect to a WiFi
   repeater, but the repeater connects to the Internet through the WiFi base station.



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   The following figure shows a WiFi repeating scenario with a WiFi base station on the
   left side and a single WiFi repeater on the right side.




   Figure 8. WiFi bridge configuration between two access points


   To use a WiFi bridge, you cannot use the auto channel feature for the access point and
   the SSID broadcast must be enabled.
   For a WiFi bridge, you must set up a WiFi base station (the master) and a WiFi repeater
   (the slave):

   •   WiFi base station. The access point functions as the master that bridges traffic to
       and from the repeater access point (the slave). The base station also handles local
       WiFi and wired traffic. To configure this mode, you must know the MAC address of
       the repeater access point. The MAC address is listed on the product label or on the
       WiFi bridge configuration page of the local browser interface.
   •   WiFi repeater. The access point functions as the slave and sends all traffic from its
       local WiFi or wired computers to the WiFi base station (the master). To configure
       this mode, you must know the MAC address of the base station.

   By default, the access point functions in dual-band concurrent mode. If you enable the
   WiFi repeater in either radio band, the WiFi base station or WiFi repeater cannot be
   enabled in the other radio band. However, if you enable the WiFi base station in either
   radio band and use the other radio band for either client access or as a WiFi base station,
   dual-band concurrent mode is not affected.
   Before you can set up a WiFi network with WDS, your configuration must meet the
   following conditions:
   •   Both access points must use the same WiFi channel and WiFi security settings.

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   •   Both access points must be on the same LAN IP subnet. That is, all of the access
       point LAN IP addresses are in the same network.
   •   All LAN devices (wired and WiFi computers) are configured to operate in the same
       LAN network address range as the access points.

   Note: If you are using the access point as the base station with a non-NETGEAR access
   point as a repeater, you might need to change more configuration settings. In particular,
   you might need to disable the DHCP server function on the non-NETGEAR access point
   that is the repeater.

   CAUTION: Before you set up a WiFi bridge between two access points, enable STP on
   the access points (see Enable or disable Spanning Tree Protocol on page 151) and on
   the switches to which the access points are connected. If your switches do not support
   STP, after the WiFi bridge is established, disconnect one of the access points from its
   switch to prevent a network loop and connectivity problems. If you used a PoE+ switch
   for that access point, you now must use a power adapter.

   To set up a WiFi bridge between two access points:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > Wireless Bridge.
      The page that displays lets you select a WDS profile (WDS 1, WDS 2, WDS 3, or WDS
      4).

   5. Click the > button to the left of a WDS profile.

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      The WDS profile page displays.

   6. Select the Band 2.4 GHz or 5 GHz radio button.
      Your selection determines the radio band on which the WDS is established. For
      countries that do not support dual-band operation, you cannot select the radio.

   7. Select the VAP Enable radio button.
      By default, a WDS profile is disabled.




   8. Configure the WDS profile settings as described in the following table.

       Setting                Description

       Wireless Network       The WiFi network name on which the WDS is established. The default name is
       Name (SSID)            Netgear-WDS-x, in which x is the number of the WDS (1, 2, 3, or 4).

       Local MAC Address      The MAC address of the local WDS radio interface, that is, the MAC address of the
                              local radio on which the WDS is established. You cannot change this MAC address
                              on this page. The MAC address is displayed for your information.
                              Enter this MAC address on the remote access point of the WDS connection.

       Remote MAC Address     The MAC address of the remote WDS radio interface, that is, the MAC address of
                              the remote radio on which the WDS is established.

       Network                By default, the selection from the menu is Open, in which case authentication and
       Authentication, Data   data encryption are not applicable. To secure the WDS connection, select WPA2
       Encryption, and        Personal and specify the following settings:
       Passphrase             • Encryption. The data encryption is AES and you cannot change this setting.

                              • Passphrase. The passphrase for the WDS connection. For you to enable the WDS
                                connection, the passphrase on the remote access point must match the passphrase
                                that you define in this field.



   9. Click the Apply button.
      Your settings are saved.

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   10. Configure the WiFi bridge settings on the access point at the other end of the WiFi
       bridge and restart that access point.
       If the device at the other end of the WiFi bridge is a NETGEAR model WAC505,
       WAC510, WAC540, or WAC564 access point, you do not need to restart it.
      The WiFi bridge is established.

   11. Verify connectivity across the LANs of both access points.
       If the configuration is set up correctly, a computer on any WiFi or wired LAN segment
       of the access point that functions as the WiFi repeater can connect to the Internet
       or share files and printers with any other computer or server connected to the access
       point that functions as the WiFi base station.




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   5
   Manage Access and Security

   This chapter describes how you can manage access and security features and user
   accounts.
   The chapter includes the following sections:
   •   Block specific URLs and keywords for Internet access
   •   Manage local MAC access control lists
   •   Manage user accounts
   •   Manage neighbor AP detection
   •   Set up RADIUS servers

   Note: For information about essential WiFi security (network authentication and
   encryption), see Set up an open or secure WiFi network on page 45.




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   Block specific URLs and keywords for Internet
   access
   You can set up a blacklist by specifying URLs (web addresses) for which Internet access
   must be blocked. You can also specify keywords that cause the access point to reject
   URLs that contain those keywords.
   To set up a blacklist with URLs and keywords for which Internet access must be
   blocked:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Security > URL Filtering.
      The URL Filtering page displays.




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   5. Select the Enable radio button.




   6. Compose the blacklist in the following ways:
      •   Blocked URLs. To add a URL to the blacklist, type or copy the URL in the upper
          field (to the left of the upper Add button) and click the upper Add button. You
          can also select one or more URLs from the Popular URL list by selecting the check
          boxes for the URLS and clicking the << Move button.
          To remove a URL from the blacklist, select the check box for the URL and click
          the upper left Remove button.
          When you block a URL, the domain and all URLs in the domain are blocked. For
          example, if you enter and add www.google.com, all web pages in the
          www.google.com domain are blocked, including, for example,
          www.google.com/finance.
      •   Blocked Keywords. To add a keyword entry to the blacklist, enter the keyword
          in the lower field (to the left of the lower Add button) and click the lower Add
          button.
          To remove a keyword entry from the blacklist, select the check box for the entry
          and click the lower Remove button.
          All URLs that contain the keyword are blocked. For example, if you enter and add
          Jobs, all URLs that contains Jobs (or jobs) are blocked.

   7. Click the Apply button.
      Your settings are saved.




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   Manage local MAC access control lists
   The access point supports eight local access control lists (ACLs) that are based on MAC
   addresses. Each local MAC ACL can contain a total number of 256 MAC addresses.
   If you set up an ACL with a policy that allows access and you apply that ACL to a WiFi
   network (that is, to an SSID), the ACL functions as follows:
   •   A WiFi device for which you place the MAC address in the ACL is allowed access to
       the WiFi network.
   •   All other WiFi devices are denied access to the WiFi network.

   If you set up an ACL with a policy that denies access and you apply that ACL to a WiFi
   network (that is, to an SSID), the ACL functions as follows:
   •   A WiFi device for which you place the MAC address in the ACL is denied access to
       the WiFi network.
   •   All other WiFi devices are allowed access to the WiFi network.

   An ACL takes effect only after you apply it to a WiFi network. For information about
   applying an ACL to a WiFi network, see Select a MAC ACL for a WiFi network on page
   64. You can apply a MAC ACL to more than one WiFi network.
   The following sections describe how you can manage MAC ACLs:
   •   Manually set up a MAC access control List
   •   Import an existing MAC access control list


   Manually set up a MAC access control List
   You can compose up to eight access control lists (ACLs) that are each based on up to
   256 MAC addresses. The access point includes MAC ACLs with the following default
   group names and settings, which you can change:

   •   Management. If enabled, allows access to trusted stations by default.
   •   Guest. If enabled, allows access to trusted stations by default.
   •   Guest1. If enabled, denies access to untrusted stations by default.
   •   Custom. If enabled, denies access to untrusted stations by default.
   •   Custom 1. If enabled, allows access to trusted stations by default.
   •   Custom 2. If enabled, allows access to trusted stations by default.
   •   Custom 3. If enabled, allows access to trusted stations by default.
   •   Custom 4. If enabled, allows access to trusted stations by default.


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   By default, these MAC ACLs are disabled and do not include any stations. You can
   manually add devices, import devices (see Import an existing MAC access control list
   on page 122), or do both.
   You can use a MAC ACL to control which WiFi devices (stations) can access a WiFi
   network. You can apply one MAC ACL to more than one WiFi network.
   To manually set up a MAC ACL:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Security > MAC ACL.




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   5. Click the group name for the MAC ACL that you want to set up.




      The previous figure shows some examples. Devices in the Available Stations table
      are automatically detected by the access point and are common to all MAC ACLs,
      which allows you to add a device to more than one MAC ACL. A neighboring station
      displays as Neighbor and a connected station displays as connected.

   6. To change the group name, enter a new name in the Group Name field.
      The default group names for the eight MAC ACLs are Management, Guest, Guest1,
      Custom, Custom 1, Custom 2, Custom 3, and Custom 4.
   7. Select the ACL Policy Allow or Deny radio button.
      If you select the Allow radio button, a WiFi device for which you place the MAC
      address in the ACL is allowed access to the WiFi network, but all other WiFi devices
      are denied access to the WiFi network.
      If you select the Deny radio button, a WiFi device for which you place the MAC
      address in the ACL is denied access to the WiFi network, but all other WiFi devices
      are allowed access to the WiFi network.




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   8. Compose the ACL in the following way:
      •   For an ACL for which you selected the Allow radio button in Step 7, do the
          following:
          -   To manually add a device to the Trusted Stations table, enter the MAC address
              in the format 00-00-00-00-00-00 in the field below the Trusted Stations table,
              and click the Add button.
              The device is added to the Trusted Stations table.
          -   To move a device from the Available Stations table to the Trusted Stations
              table, select the check box for the device and click the << Move button.
              You can search the Available Stations table. You can also filter devices in the
              Available Stations table by clicking the filter icon.
          -   To remove a device from the Trusted Stations table, select the check box for
              the device and click the Remove button.
              You can search the Trusted Stations table.
              When you remove a device from the Trusted Stations table, after the access
              point redetects the device, the device is once again placed in the Available
              Stations table.

      •   For an ACL for which you selected the Deny radio button in Step 7, do the
          following:
          -   To manually add a device to the Untrusted Stations table, enter the MAC
              address in the format 00-00-00-00-00-00 in the field below the Untrusted
              Stations table, and click the Add button.
              The device is added to the Untrusted Stations table.
          -   To move a device from the Available Stations table to the Untrusted Stations
              table, select the check box for the device and click the << Move button.
              You can search the Available Stations table. You can also filter devices in the
              Available Stations table by clicking the filter icon.
          -   To remove a device from the Untrusted Stations table, select the check box
              for the device and click the Remove button.
              You can search the Untrusted Stations table.
              When you remove a device from the Untrusted Stations table, after the access
              point redetects the device, the device is once again placed in the Available
              Stations table.


   9. Click the Apply button.
      Your settings are saved.
      For more information about applying an ACL to a WiFi network, see Select a MAC
      ACL for a WiFi network on page 64.


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       WiFi devices in the Trusted Stations table can access the WiFi network to which you
       apply the ACL. WiFi devices in the Untrusted Stations table cannot access the WiFi
       network to which you apply the ACL.


   Import an existing MAC access control list
   You can import an existing access control list (ACL) that is based on up to 256 MAC
   addresses. You can import the list into any MAC ACL, but the MAC addresses on the
   list are available only for the MAC ACL into which you import the list. That is, if you want
   to use the same list in another MAC ACL, you must also import the list into that MAC
   ACL.
   The file with MAC addresses must be in the following format:

   •   Entries in the file must be MAC addresses only in hexadecimal format with each octet
       separated by a hyphen, for example 00-11-22-33-44-55.
   •   You must separate entries with a comma.
   •   The file must be in text format (that is, with a .txt or .cfg extension).

   You can use a MAC ACL to control which WiFi devices can access a WiFi network. You
   can apply a MAC ACL to more than one WiFi network.
   To import an existing MAC ACL:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.



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   4. Select Management > Configuration > Security > MAC ACL.
   5. Click the group name for the MAC ACL that you want to set up.




      The previous figure shows some examples. Devices in the Available Stations table
      are automatically detected by the access point and are common to all MAC ACLs,
      which allows you to add a device to more than one MAC ACL. A neighboring station
      displays as Neighbor and a connected station displays as connected.

   6. To change the group name, enter a new name in the Group Name field.
      The default group names for the eight MAC ACLs are Management, Guest, Guest1,
      Custom, Custom 1, Custom 2, Custom 3, and Custom 4.

   7. Select the ACL Policy Allow or Deny radio button.
      If you select the Allow radio button, a WiFi device for which you import the MAC
      address into the ACL is allowed access to the WiFi network, but all other WiFi devices
      are denied access to the WiFi network.
      If you select the Deny radio button, a WiFi device for which you import the MAC
      address into the ACL is denied access to the WiFi network, but all other WiFi devices
      are allowed access to the WiFi network.

   8. To download a sample of a MAC ACL in the format that is required for importing,
      click the Download Sample link.

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   9. Import and compose the ACL in the following way:
      •   For an ACL for which you selected the Allow radio button in Step 7, do the
          following:
          a. Replace or merge the MAC addresses in the import list with the MAC
             addresses in the Trusted Stations table (if any are already in the table) by
             selecting one of the following radio buttons:
             -   Replace. MAC addresses in the Trusted Stations table are replaced with
                 the ones in the import list.
             -   Merge. MAC addresses in the Trusted Stations table are merged with the
                 ones in the import list.

          b. Click the Browse button and navigate to and select the import file.
             The MAC addresses on the import list are placed in the Trusted Stations table.
          c. To remove a MAC address from the Trusted Stations table, select the MAC
             address and click the Remove button.
             You can search the Trusted Stations table.
             When you remove a device from the Trusted Stations table, after the access
             point redetects the device, the device is once again placed in the Available
             Stations table.

      •   For an ACL for which you selected the Deny radio button in Step 7, do the
          following:
          a. Replace or merge the MAC addresses in the import list with the MAC
             addresses in the Untrusted Stations table (if any are already in the table) by
             selecting one of the following radio buttons:
             -   Replace. MAC addresses in the Untrusted Stations table are replaced with
                 the ones in the import list.
             -   Merge. MAC addresses in the Untrusted Stations table are merged with
                 the ones in the import list.

          b. Click the Browse button and navigate to and select the import file.
             The MAC addresses on the import list are placed in the Untrusted Stations
             table.
          c. To remove a MAC address from the Untrusted Stations table, select the MAC
             address and click the Remove button.
             You can search the Untrusted Stations table.
             When you remove a device from the Untrusted Stations table, after the access
             point redetects the device, the device is once again placed in the Available
             Stations table.


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   10. Click the Apply button.
       Your settings are saved. For information about manually adding MAC addresses to
       those in the Trusted Stations table or Untrusted Stations table, see Manually set up
       a MAC access control List on page 118.
       For more information about applying an ACL to a WiFi network, see Select a MAC
       ACL for a WiFi network on page 64.
       WiFi devices in the Trusted Stations table can access the WiFi network to which you
       apply the ACL. WiFi devices in the Untrusted Stations table cannot access the WiFi
       network to which you apply the ACL.



   Manage user accounts
   User accounts provide either read/write or read-only access to the local browser interface
   of the access point. You can add, change, or delete user accounts. You cannot delete
   or change the default admin user account except for the password.
   The following sections describe how you can manage user accounts:
   •   Add a user account
   •   Change the settings for a user account
   •   Remove a user account
   For information about changing the password for the default admin user account, see
   Change the admin user account password on page 172.


   Add a user account
   To add a user account:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.

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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > User Accounts.




   5. Click the add user account icon.
      Additional fields and a menu display.

   6. Specify the settings for the new user account:
      •   User Name. Enter a user name.
      •   Password. Enter a password between 8 and 64 characters in length. The password
          must contain at least one uppercase letter, one lowercase letter, and one number.
          The following special characters are allowed:
          !@#$%^&*()
      •   Privilege. From the menu, select Read-Write or Read-Only.
      •   Session Timeout. Use the Hours and Minutes fields to specify the period after
          which a session automatically expires and the user must log in again.
          By default, a session expires after 45 minutes.

   7. Click the Apply button.
      Your settings are saved.




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   Change the settings for a user account
   You cannot change the access privilege for the default admin user account.
   To change the user name, password, or access privilege for a user account:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > User Accounts.
      The existing user accounts display.

   5. To the right of the user account, change the existing settings as needed:
      •   User Name. Enter another user name.
      •   Password. Enter another password between 8 and 64 characters in length. The
          password must contain at least one uppercase letter, one lowercase letter, and
          one number. The following special characters are allowed:
          !@#$%^&*()
      •   Privilege. From the menu, select Read-Write or Read-Only.
      •   Session Timeout. Use the Hours and Minutes fields to specify the period after
          which a session automatically expires and the user must log in again.
          By default, a session expires after 45 minutes.

   6. Click the Apply button.
      Your settings are saved.


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   Remove a user account
   You can remove a user account that you no longer need. You cannot remove the default
   admin user account.
   To remove a user account:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > User Accounts.
      The existing user accounts display.

   5. Click the X to the right of the user account.
      A pop-up warning window opens.

   6. Click the Delete button.
      The pop-up windows closes and the user account is removed.



   Manage neighbor AP detection
   The access point can detect neighbor access points (APs) and you can classify them as
   known APs.



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   If you enable neighbor AP detection, the access point continuously scans the WiFi
   network, collects information about all access points on the channels, and maintains a
   list of access points it detects in the area. Initially all detected access points are displayed
   in the Unknown AP List. You can add access points that you are familiar with to the
   Known AP List. You can also import a list of known access points in the Known AP List.

   CAUTION: Access points in the Unknown AP List require further investigation. They
   could be rogue access points, which use the SSID of a legitimate network. These types
   of access points can present a serious security threat.

   The following sections describe how you can manage neighbor AP detection and add
   neighbor access points to the Known AP List:
   •   Enable neighbor access point detection and move access points to the Known AP
       List
   •   Import an existing neighbor access point list in the Known AP List


   Enable neighbor access point detection and move access
   points to the Known AP List
   The access point can detect neighbor access points (APs) and lets you classify them as
   known APs. After you enable neighbor AP detection, the access point maintains a list
   of access points it detects in the area. Initially all detected access points are displayed
   in the Unknown AP List. You can manually move access points from the Unknown AP
   List to the Known AP List.
   By default neighbor access point detection is disabled.
   To enable neighbor access point detection and move detected access points to
   the Known AP List:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.



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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Security > Neighbor AP.
      The page that displays lets you select the radio band (2.4GHz or 5GHz).

   5. Click the > button to the left of the radio band.
      The Neighbor AP page displays for the selected radio band.

   6. Select the Enable Neighbor AP check box.
   7. Click the Apply button.
      Your settings are saved. Neighbor AP detection is now enabled.




   8. From the Detection Policy menu, select the scan method:
      •   Mild. The access point scans for neighbor access points every 15 minutes. This
          is the default setting.
      •   Moderate. The access point scans for neighbor access points every 5 minutes.
      •   Aggressive. The access point scans for neighbor access points every 1 minute.


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   9. To move access points from the Unknown AP List to the Known AP List, do the
      following:
       a. Click the Unknown AP List tab.




       b. If no access points display, click the Refresh button.
       c. Select the check boxes for the access points that you are familiar with.
       d. Click the << Move to Known AP List button.
       e. Click the Known AP List tab.
          The selected access points display in the Known AP List.

          Note: You can delete access points from the Known AP List. After being detected,
          these access points once more display in the Unknown AP List.


   10. Click the Apply button.
       Your settings are saved.


   Import an existing neighbor access point list in the Known
   AP List
   You can import a list with MAC addresses of known neighbor access points in the Known
   AP List.
   The file with MAC addresses must be in the following format:

   •   Entries in the file must be MAC addresses only in hexadecimal format with each octet
       separated by a hyphen, for example 00-11-22-33-44-55.
   •   You must separate entries with a comma.
   •   The file must be in text format (that is, with a .txt or .cfg extension).



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   For information about enabling neighbor AP detection, see Enable neighbor access
   point detection and move access points to the Known AP List on page 129.
   To import a list with MAC addresses of known neighbor access points in the Known
   AP List:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > Security > Neighbor AP.
      The page that displays lets you select the radio band (2.4GHz or 5GHz).




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   5. Click the > button to the left of the radio band.




   6. To download a sample of an AP list in the format that is required for importing in
      the Known AP List, click the Download Sample link.
   7. Import and compose the Known AP List in the following way:
      a. Replace or merge the MAC addresses in the import list with the MAC addresses
         in the Known AP List by selecting one of the following radio buttons:
          •   Replace. MAC addresses in the Known AP List are replaced with the ones in
              the import list.
          •   Merge. MAC addresses in the Known AP List are merged with the ones in the
              import list.

      b. Click the Browse button and navigate to and select the import file.
         The MAC addresses on the import list are placed in the Known AP List.
      c. To remove a MAC address from the Known AP List, select the MAC address and
         click the Delete button.
         When you remove a device from the Known AP List, after the access point
         redetects the device, the device is once again placed in the Known AP List.

   8. Click the Apply button.
      Your settings are saved.




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   Set up RADIUS servers
   If you use WPA2 Enterprise security or a RADIUS MAC ACL, you must set up RADIUS
   servers for authentication, accounting, or both authentication and accounting using
   RADIUS. You must set up primary IPv4 servers and you can set up secondary IPv4 servers.
   These RADIUS server settings apply either to all WiFi networks that use WPA2 Enterprise
   security (see Set up an open or secure WiFi network on page 45) or to all WiFi networks
   that use a RADIUS MAC ACL.

   Note: WPA2 Enterprise security and a RADIUS MAC ACL are mutually exclusive. If you
   want to use a RADIUS MAC ACL for a WiFi network, select a different type of WiFi security
   (see Set up an open or secure WiFi network on page 45). If you want to use WPA2
   Enterprise security for a WiFi network, use a local MAC ACL (see Manage local MAC
   access control lists on page 118).

   If you use a RADIUS MAC ACL, you must define the ACL on the RADIUS server, using
   the format in the following example for client MAC addresses in the RADIUS server: If
   the client MAC address is 00:0a:95:9d:68:16, specify it as 000a959d6816 in the RADIUS
   server.
   To set up RADIUS servers:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.




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   4. Select Management > Configuration > Security > RADIUS Settings.




   5. For each RADIUS server that you want to set up, configure the following settings:
      •   IPv4 Address. Enter the IPv4 address of the RADIUS server. The access point
          must be able to reach this IP address.
      •   Port. Enter the number of the UDP port on the access point that is used to access
          the RADIUS server. For authentication servers, the default port number is 1812.
          For accounting servers, the default port number is 1813.
      •   Password. Enter the password (shared key) that is used between the access point
          and the RADIUS server during the authentication or accounting process. By
          default, the password is sharedsecret.

   6. Configure the following authentication settings, which apply to all RADIUS server
      that you set up:
      •   Reauthentication time. Enter the interval in seconds after which the supplicant
          (the WiFi client) must be reauthenticated with the RADIUS server. The default
          interval is 3600 seconds (1 hour). Enter 0 to disable reauthentication.
      •   Update Global Key. Select the check box to allow the global key update, and
          enter the interval in seconds. The check box is selected by default, and the default
          interval is 1800 seconds (30 minutes). Clear the check box to prevent the global
          key update.

   7. Click the Apply button.
      Your settings are saved.




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   6
   Manage the Local Area Network
   and IP Settings

   This chapter describes how you can manage the local area network (LAN) and IP settings
   of the access point.
   The chapter includes the following sections:
   •   Disable the DHCP client and configure a LAN or WAN IP address
   •   Enable the DHCP client
   •   Set the 802.1Q VLAN and management VLAN
   •   AP mode only: Specify an existing domain name
   •   Enable or disable Spanning Tree Protocol
   •   Enable or disable the network integrity check function
   •   Enable or disable IGMP snooping
   •   Enable or disable Ethernet LLDP
   •   Enable or disable UPnP
   •   Router mode only: Manage DHCP servers




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   Disable the DHCP client and configure a LAN
   or WAN IP address
   By default, the DHCP client of the access point is enabled and the access point receives
   an IP address from a DHCP server in your network.
   How your access point receives its IP address depends on whether it functions in AP
   mode (which is the default system mode) or Router mode:

   •   AP mode. The access point receives a LAN IP address from a DHCP server (or a
       router that functions as a DHCP server) in your network. If your network does not
       include a DHCP server or you prefer to specify a fixed (static) LAN IP address, disable
       the DHCP client of the access point.
   •   Router mode. The access point receives a WAN IP address from your Internet
       provider. Although it is highly unlikely that you must disable the DHCP client when
       the access point functions in Router mode, you can do so and specify either a fixed
       (static) WAN IP address or a PPPoE WAN IP address for the WAN PoE port.

   For more information, see the following sections:
   •   AP mode: Disable the DHCP client and specify a fixed IP address
   •   Router mode: Disable the DHCP client and specify a fixed WAN IP address
   •   Router mode: Specify WAN Point-to-Point Protocol over Ethernet settings


   AP mode: Disable the DHCP client and specify a fixed IP
   address
   To disable the DHCP client and specify a fixed IP address if the access point
   functions in AP mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.

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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN.
      The page that displays lets you specify the LAN settings, but the fields are masked
      because the DHCP client is enabled.

   5. Select the Disable radio button.




   6. Specify the settings that are described in the following table.

       Setting               Description

       IP Address            IP address in the range that is used by your LAN.

       Subnet Mask           The subnet mask must be compatible with your LAN. (The subnet mask is usually
                             255.255.255.0).

       Gateway               IP address of the gateway on your LAN.

       Primary DNS           IP address of the primary Domain Name System (DNS) server on your LAN.

       Secondary DNS         IP address of the secondary DNS server on your LAN, or leave this field blank.


   7. Click the Apply button.
      Your settings are saved. The access point restarts with the new IP settings.




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   Router mode: Disable the DHCP client and specify a fixed
   WAN IP address
   To configure a fixed (static) IP address connection, you need the IP address information
   that your Internet service provider (ISP) gave you when you signed up for the Internet
   service.
   To disable the DHCP client and specify a fixed WAN IP address if the access point
   functions in Router mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > WAN.
      The page that displays lets you specify the WAN settings.




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   5. From the WAN Interface Type menu, select Static.




      The page also displays the WAN Interface field, which is fixed at WAN (Ethernet
      Port).

   6. Specify the settings that are described in the following table.

       Setting               Description

       IP Address            IP address in the range that is used by your Internet modem.

       Subnet Mask           The subnet mask must be compatible with your Internet modem. (The subnet mask
                             is usually 255.255.255.0.)

       Gateway               IP address of the gateway that is used by your Internet modem.

       Primary DNS           IP address of the primary DNS server that is used by your Internet modem.

       Secondary DNS         IP address of the secondary DNS server that is used by your Internet modem, or leave
                             this field blank.


   7. Click the Apply button.
      Your settings are saved. The access point restarts with the new IP settings and
      establishes a connection with your ISP. This process might take a while.


   Router mode: Specify WAN Point-to-Point Protocol over
   Ethernet settings
   To configure a WAN Point-to-Point Protocol over Ethernet (PPPoE) connection, you
   need the PPPoE login information that your Internet service provider (ISP) gave you
   when you signed up for the Internet service.



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   To specify the WAN PPPoE settings if the access point functions in Router mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > WAN.
      The page that displays lets you specify the WAN settings.

   5. From the WAN Interface Type menu, select PPPoE.




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   6. Specify the settings that are described in the following table.

       Setting               Description

       User Name             The user name that your ISP gave you for the PPPoE connection or that you
                             personalized.

       Password              The password that your ISP gave you for the PPPoE connection or that you
                             personalized.

       Connection Mode       From the Connection Mode menu, select one of the following options:
                             • Automatic. After you click the Apply button, the access point automatically
                               establishes a PPPoE connection with the ISP.

                             • Manual. After you click the Apply button, you must manually establish the PPPoE
                               connection with the ISP by clicking the Connect button.
                               When the connection is established, to terminate the PPPoE connection, you must
                               click the Disconnect button.



      Note: Whether you select the automatic or manual connection mode, all other fields
      are automatically populated when the access point obtains an IP address from your
      ISP. That is, the ISP assigns the IP address and all other all related PPPoE settings.
      However, the WAN Interface field is fixed at WAN (Ethernet Port).

   7. Click the Apply button.
      Your settings are saved.
      If you specified an automatic connection mode, the access point establishes a PPPoE
      connection with the ISP, obtains a WAN IP address from the ISP.

   8. If you specified a manual connection mode, click the Connect button.
      The access point establishes a PPPoE connection with the ISP and obtains a WAN
      IP address from the ISP. This process It might take a while.
      After the access point obtains a WAN IP address, the Connect button changes to
      the Disconnect button to enable you to manually terminate the PPPoE connection.




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   Enable the DHCP client
   By default, the DHCP client of the access point is enabled and the access point receives
   an IP address from a DHCP server.
   How your access point receives its IP address depends on whether it functions in AP
   mode (which is the default system mode) or Router mode:

   •   If the access point functions in its default system mode (AP mode), it receives an IP
       address from a DHCP server (or a router that functions as a DHCP server) in your
       network.
   •   If the access point functions in Router mode, it receives an IP address from your
       Internet modem.

   If you disabled the DHCP client, you can reenable it, which is described in the following
   sections:
   •   AP mode: Enable the DHCP client
   •   Router mode: Enable the DHCP client and let the access point obtain a WAN IP
       address


   AP mode: Enable the DHCP client
   To enable the DHCP client if the access point functions in AP mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

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   4. Select Management > Configuration > IP > LAN.




   5. Select the Enable radio button.
      The fields are masked.

   6. Click the Apply button.
      Your settings are saved. The access point restarts with the new IP settings. It might
      take a while before the access point receives its IP address setting from the DHCP
      server.


   Router mode: Enable the DHCP client and let the access
   point obtain a WAN IP address
   If your Internet service provider (ISP) assigns IP addresses automatically through their
   DHCP server and you enable the DHCP client of the access point if the access point
   functions in Router mode, the access point can automatically obtain an IP address from
   your ISP. (This is the default setting if the access point functions in Router mode.)
   To enable the DHCP client if the access point functions in Router mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.

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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > WAN.
      The page that displays lets you specify the WAN settings.

   5. From the WAN Interface Type menu, select Dynamic.




      Note: All fields are automatically populated when the access point obtains an IP
      address from your Internet service provider (ISP). That is, the ISP assigns the IP
      address and all other all related settings. However, the WAN Interface field is fixed
      at WAN (Ethernet Port).

   6. Click the Apply button.
      Your settings are saved. The access point restarts with the new IP settings, establishes
      a connection with the ISP, and obtains a WAN IP address from the DHCP server of
      your ISP. This process might take a while.




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   Set the 802.1Q VLAN and management
   VLAN
   The 802.1Q VLAN protocol on the access point logically separates traffic on the same
   physical (wired) network. This protocol can work with tagged and untagged VLANs, as
   follows:

   •   Untagged VLAN. The access point sends untagged frames from its Ethernet interface.
       Incoming untagged frames are assigned to the untagged VLAN. By default, the
       untagged VLAN is VLAN 1. By default, the access point functions with an untagged
       VLAN.
   •   Tagged VLAN. The access point tags all frames that it sends from its Ethernet
       interface. Only the incoming frames that are tagged with known VLAN IDs are
       accepted.

   The management VLAN is used for managing traffic such as Telnet, SNMP, and HTTP
   traffic to and from the access point. Frames that belong to the management VLAN and
   that are sent over the trunk do not receive an 802.1Q header. If a port is a member of
   a single VLAN, its traffic can be untagged.
   The following sections describe how you can set up the 802.1Q VLAN and management
   VLAN:
   •   AP mode: Set the 802.1Q VLAN and management VLAN
   •   Router mode: Set the 802.1Q VLAN and management VLAN


   AP mode: Set the 802.1Q VLAN and management VLAN
   To set the 802.1Q VLAN and management VLAN when the access point functions
   in AP mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.



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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN.




   5. To change the 802.1Q VLAN, either clear or select the Untagged VLAN check box:
      •   Untagged VLAN. By default, the Untagged VLAN check box is selected. The
          access point sends untagged frames from its Ethernet interface. Incoming
          untagged frames are assigned to the untagged VLAN. By default, the untagged
          VLAN is VLAN 1 but you can enter another VLAN ID in the field if that VLAN ID is
          supported on your network.
      •   Tagged VLAN. Clear the Untagged VLAN check box only if the hubs and switches
          on your LAN support the 802.1Q VLAN protocol. The access point tags all frames
          that it sends from its Ethernet interface. Only the incoming frames that are tagged
          with known VLAN IDs are accepted. Similarly, change the ID for the untagged
          VLAN only if the hubs and switches on your LAN support the 802.1Q VLAN
          protocol and the new VLAN ID is supported on your network.

   6. To change the VLAN ID for the management VLAN, enter another VLAN ID in the
      Management VLAN field.


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      By default, the management VLAN is VLAN 1. If you change the VLAN ID, be sure
      that the VLAN ID is supported on your network.

   7. Click the Apply button.
      Your settings are saved. The access point restarts with the new VLAN settings.


   Router mode: Set the 802.1Q VLAN and management VLAN
   To set the 802.1Q VLAN and management VLAN when the access point functions
   in Router mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN.




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   5. To change the 802.1Q VLAN, either clear or select the Untagged VLAN check box:
      •   Untagged VLAN. By default, the Untagged VLAN check box is selected. The
          access point sends untagged frames from its Ethernet interface. Incoming
          untagged frames are assigned to the untagged VLAN. By default, the untagged
          VLAN is VLAN 1 but you can enter another VLAN ID in the field if that VLAN ID is
          supported on your network.
      •   Tagged VLAN. Clear the Untagged VLAN check box only if the hubs and switches
          on your LAN support the 802.1Q VLAN protocol. The access point tags all frames
          that it sends from its Ethernet interface. Only the incoming frames that are tagged
          with known VLAN IDs are accepted. Similarly, change the ID for the untagged
          VLAN only if the hubs and switches on your LAN support the 802.1Q VLAN
          protocol and the new VLAN ID is supported on your network.

   6. To change the VLAN ID for the management VLAN, enter another VLAN ID in the
      Management VLAN field.
      By default, the management VLAN is VLAN 1. If you change the VLAN ID, be sure
      that the VLAN ID is supported on your network.

   7. Click the Apply button.
      Your settings are saved. The access point restarts with the new VLAN settings.




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   AP mode only: Specify an existing domain
   name
   You can specify an existing fully qualified domain name (FQDN) for the access point so
   that you can access the access point by using a domain name instead of an IP address.
   The FQDN must be a domain name that is registered with a Domain Name System
   (DNS) provider.
   The following are the requirements for the FQDN:
   •   The length can be from 1 to 64 characters.
   •   Alphanumeric characters are allowed (a–z and 1–9)
   •   A dot (.) and a hyphen (-) are allowed but the name cannot start with either.

   An example is myap01_firstfloor_myorganization.com.
   To specify a FQDN:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.




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   4. Select Management > Configuration > IP > LAN.




   5. In the Fully Qualified Domain Name field, specify the FQDN.
   6. Click the Apply button.
      Your settings are saved. The access point attempts to resolve the FDQN to an IP
      address.



   Enable or disable Spanning Tree Protocol
   For locations where multiple access points are active and redundant network paths
   might be present, Spanning Tree Protocol (STP) can prevent network loops. If your
   location might include redundant network paths, we recommend that you enable STP.
   To enable or disable Spanning Tree Protocol:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.



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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > General.
      The General page displays.

   5. Select one of the following radio buttons:
      •   Enable. STP is enabled.
      •   Disable. STP is disabled. This is the default setting.

   6. Click the Apply button.
      Your settings are saved.



   Enable or disable the network integrity check
   function
   The network integrity check function enables the access point to validate whether the
   upstream link is active before the access point allows WiFi associations. Make sure that
   the default gateway is configured correctly. By default, the network integrity check
   function is disabled.
   To enable or disable the network integrity check function:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.


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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > General.
      The General page displays.

   5. Select one of the following radio buttons:
      •   Enable. The network integrity check function is enabled.
      •   Disable. The network integrity check function is disabled. This is the default
          setting.

   6. Click the Apply button.
      Your settings are saved.



   Enable or disable IGMP snooping
   IGMP snooping allows IP multicast packets to be transmitted only to the members of a
   corresponding multicast group. Enabling IGMP snooping prevents flooding of multicast
   traffic to all the ports in a broadcast domain. By default IGMP snooping is disabled on
   the access point.
   To enable or disable IGMP snooping:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.

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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > General.
      The General page displays.

   5. Select one of the following radio buttons:
      •   Enable. IGMP snooping is enabled.
      •   Disable. IGMP snooping is disabled. This is the default setting.

   6. Click the Apply button.
      Your settings are saved.



   Enable or disable Ethernet LLDP
   Link Layer Discovery Protocol (LLDP), as specified in IEEE 802.1AB, can provide link-layer
   messages to adjacent network devices. For example, LLDP lets network devices such
   as switches and management devices discover the access point in a network.
   LLDP can also detect if the access point receives power through PoE. By default, LLDP
   is enabled.
   To enable or disable the LLDP:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.



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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > Ethernet LLDP.
      The Ethernet LLDP page displays.

   5. Select one of the following radio buttons:
      •   Enable. LLDP is enabled. This is the default setting.
      •   Disable. LLDP is disabled.

      CAUTION: If the access point receives power from a PoE switch and you disable
      LLDP, power to the access point might be turned off after you click the Apply button.
      In that case, restart the access point.

   6. Click the Apply button.
      Your settings are saved.



   Enable or disable UPnP
   Universal Plug and Play (UPnP) lets the access point be discovered by other devices in
   the network that support UPnP. UPnP is enabled by default.
   To enable or disable UPnP:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.


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       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).
       The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > UPnP.
      The UPnP page displays.

   5. Select one of the following radio buttons:
       •   Enable. UPnP is enabled. This is the default setting.
       •   Disable. UPnP is disabled.

   6. Click the Apply button.
      Your settings are saved.



   Router mode only: Manage DHCP servers
   When the system mode of the access point is Router mode (see Change the system
   mode to Router mode or AP mode on page 170), you can add up to seven Dynamic Host
   Configuration Protocol (DHCP) servers in addition to the default DHCP server. (The
   access point can support a total of eight DHCP servers.) Each DHCP server can issue IP
   addresses from a unique address pool to the clients of a WiFi network with a unique
   VLAN ID. Each DHCP server corresponds to a unique VLAN ID.
   The access point delivers the following settings to any WiFi device that requests DHCP:
   •   An IP address from the range that you define
   •   Subnet mask
   •   Gateway IP address
   •   DNS server IP address
   •   WINS server IP address, if any

   The following sections describe how you can manage DHCP servers:
   •   Manage the default DHCP server
   •   Add a DHCP server for a WiFi network
   •   View or change the settings for a DHCP server
   •   Disable a DHCP server


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   •   Remove a DHCP server
   •   Enable or disable inter-VLAN routing


   Manage the default DHCP server
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page
   170). If it is, the management VLAN DHCP server (the default DHCP server) of the access
   point is enabled and assigns IP addresses to clients of the default WiFi network.
   To manage the default DHCP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
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       26).
       The Dashboard page displays.




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   4. Select Management > Configuration > IP > LAN.




      The settings of the default DHCP server apply to the management VLAN, which, by
      default, is VLAN 1. For information about setting the 802.1Q VLAN and the
      management VLAN, see Set the 802.1Q VLAN and management VLAN on page 146.
      By default, the Management VLAN DHCP Server Enable radio button is selected.

   5. Specify the settings that are described in the following table.

       Setting               Description

       Starting Address      Enter the starting IP address of the DHCP IP address range.
                             By default, the address is 192.160.0.2.

       Ending Address        Enter the ending IP address of the DHCP IP address range.
                             By default, the address is 192.168.0.50.

       Subnet Mask           Enter the subnet mask that is used for all IP addresses in the DHCP IP address range.
                             By default, the mask is 255.255.255.0.

       Gateway               The IP address of the gateway that is used by your Internet modem.
                             By default, the address is 192.168.0.100.




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      (Continued)


       Setting               Description

       Primary DNS           The IP address of the primary Domain Name System (DNS) server that is used by your
                             Internet modem.
                             By default, the address is 8.8.8.8.

       Secondary DNS         The IP address of the secondary DNS server that is used by your Internet modem.
                             By default, the address is 8.8.4.4.

       Primary WNS           The IP address of the primary Windows Internet Name Service (WINS) server that is
                             used by your Internet modem, if any.

       Secondary WNS         The IP address of the secondary WINS server that is used by your Internet modem,
                             if any.

       Lease                 From the menus, specify the duration of the IP address lease. By default, the lease
                             expires after one day (24 hours), after which the WiFi client must renew the lease.


   6. Click the Apply button.
      Your settings are saved.


   Add a DHCP server for a WiFi network
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page
   170). If it is, the default DHCP server of the access point is enabled and you can also add
   up to seven additional DHCP servers for WiFi clients only.

   IMPORTANT: You can add an additional DHCP server only after you set up a WiFi
   network with a unique VLAN ID that is not yet serviced by an existing DHCP server (see
   Set up an open or secure WiFi network on page 45).

   To add a DHCP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

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   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN > DHCP Server Settings.
      If you did not yet add any DHCP servers, only + Add Server displays.

   5. Click the + button to the left of Add Server.




      Servers that you add are designated Server 2 through Server 7.
      By default, the Enable radio button is selected.

   6. Specify the settings that are described in the following table.

       Setting               Description

       VLAN ID               From the VLAN ID menu, select the VLAN ID for the WiFi network (SSID) to which
                             you assign the DHCP server. For information about assigning a VLAN ID to a WiFi
                             network, see Change the VLAN ID for a WiFi network on page 60.

       Starting Address      Enter the starting IP address of the DHCP IP address range.




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      (Continued)


       Setting               Description

       Ending Address        Enter the ending IP address of the DHCP IP address range.

       Subnet Mask           Enter the subnet mask that is used for all IP addresses in the DHCP IP address range.

       Gateway               The IP address of the gateway that is used by your Internet modem.

       Primary DNS           The IP address of the primary Domain Name System (DNS) server that is used by your
                             Internet modem.

       Secondary DNS         The IP address of the secondary DNS server that is used by your Internet modem.
                             Or leave this field blank.

       Primary WNS           The IP address of the primary Windows Internet Name Service (WINS) server that is
                             used by your Internet modem, if any.

       Secondary WNS         The IP address of the secondary WINS server that is used by your Internet modem.
                             Or leave this field blank.

       Lease                 From the menus, specify the duration of the IP address lease. By default, the lease
                             expires after one day (24 hours), after which the WiFi client must renew the lease.


   7. Click the Apply button.
      Your settings are saved.

   8. To view the SSIDs to which the DHCP server is assigned, click the SSID link just below
      the VLANID field at the top of the page.


   View or change the settings for a DHCP server
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page
   170). If it is, the default DHCP server of the access point is enabled and you can also add
   up to seven additional DHCP servers for WiFi clients only.
   You can view or change the setting of a DHCP server that you added. For information
   about the default DHCP server, see Manage the default DHCP server on page 157.
   To view or change the setting of a DHCP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.

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      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN > DHCP Server Settings.




   5. Click the > button to the left the DHCP server.
      The settings for the selected DHCP server display.

   6. Change the settings for the DHCP server as needed.
      For detailed descriptions of the settings, see Add a DHCP server for a WiFi network
      on page 159.

   7. If you made changes, click the Apply button.
      Your settings are saved.


   Disable a DHCP server
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page
   170). If it is, the default DHCP server of the access point is enabled and you can also add
   up to seven additional DHCP servers for WiFi clients only.
   You can temporarily disable a DHCP server.


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   To disable a DHCP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN > DHCP Server Settings.




   5. Click the > button to the left the DHCP server.
      The settings for the selected DHCP server display.

   6. Select the Server Disable radio button.
   7. Click the Apply button.
      Your settings are saved.


   Remove a DHCP server
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page


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   170). If it is, the default DHCP server of the access point is enabled and you can also add
   up to seven additional DHCP servers for WiFi clients only.
   You can remove a DHCP server that you no longer need.
   To remove a DHCP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN > DHCP Server Settings.




   5. Click the > button to the left the DHCP server.
      The settings for the selected DHCP server display.

   6. Click the Delete button.
      A pop-up warning window opens.

   7. Click the Delete button.
      The pop-up window closes and the DHCP server is removed.


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   Enable or disable inter-VLAN routing
   The information in this section applies only when the system mode of the access point
   is Router mode (see Change the system mode to Router mode or AP mode on page
   170).
   By default, inter-VLAN routing is enabled and clients of different WiFi networks (each
   with a unique VLAN) can communicate with each other. You can select the VLANs that
   participate in inter-VLAN routing. For added security, you can disable inter-VLAN routing
   so that clients of different WiFi networks (each with a unique VLAN) cannot communicate
   with each other.
   To enable or disable inter-VLAN routing:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > IP > LAN > Inter VLAN Settings.
      The inter-VLAN routing options displays.

   5. Enable or disable inter-VLAN routing by doing the following:
      •   To enable inter-VLAN routing, do the following:
          a. Select the Enable radio button.
             Inter-VLAN routing is enabled. This is the default setting.
          b. To specify the VLANs that must participate in inter-VLAN routing, select or
             clear the check boxes for the individual VLANs.

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             If you did not create any VLANs, only the default VLAN (with ID 1) displays.

      •   To disable inter-VLAN routing, select the Disable radio button.

   6. Click the Apply button.
      Your settings are saved.




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   7
   Manage and Maintain the Access
   Point

   This chapter describes how you can manage and maintain the access point.
   The chapter includes the following sections:
   •   Change the management mode to NETGEAR Insight or Web-browser
   •   Change the system mode to Router mode or AP mode
   •   Change the country or region of operation
   •   Change the admin user account password
   •   Change the system name
   •   Specify a custom NTP server
   •   Set the time zone
   •   Manage the syslog settings
   •   Manage the firmware of the access point
   •   Manage the configuration file of the access point
   •   Reboot the access point from the local browser interface
   •   Schedule the access point to reboot
   •   Return the access point to its factory default settings
   •   Enable or disable Secure Shell
   •   Enable SNMP and manage the SNMP settings
   •   Manage the LEDs




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   Change the management mode to
   NETGEAR Insight or Web-browser
   The access point can function in one of the following management modes:

   •   NETGEAR Insight mode. You can manage the access point remotely from a mobile
       device on which the NETGEAR Insight app is installed or, if you are an Insight Premium
       or Insight Pro subscriber, through the Insight Cloud portal. The NETGEAR Insight
       mode is the default setting. In this mode, you can connect to the access point over
       the local browser interface, but only a basic and limited local browser interface is
       available. For information about the Insight app and Insight Cloud portal, visit
       insight.netgear.com and see the NETGEAR knowledge base at
       netgear.com/support/product/insight.aspx.

       IMPORTANT: When you change the management mode from Web-browser mode
       to NETGEAR Insight mode, the configuration of the access point is reset (cleared)
       with the exception of the IP address, access point name, and password for the local
       browser interface. The access point restarts and broadcasts SSID Netgearxxxxxx, in
       which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
       address. The MAC address is listed on the product label. The default WiFi passphrase
       is sharedsecret.

   •   Web-browser mode. You can manage the access point locally from a WiFi or wired
       device through the local browser interface. In this mode, the access point functions
       as a standalone device and is not connected to the Insight cloud-based management
       platform.

       IMPORTANT: If you first add the access point to a NETGEAR Insight network location
       and manage the access point through the Insight app or Insight Cloud portal and
       then you change the management mode to Web-browser mode, you must continue
       to use the Insight network password to access the local browser interface until you
       manually change the admin password on the access point.


   To change the management mode to NETGEAR Insight mode or Web-browser
   mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.


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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Basic > Management Mode.
      The Management Mode page displays.

   5. Select one of the following radio buttons:
      •   NETGEAR Insight. The access point functions in NETGEAR Insight management
          mode.
      •   Web-browser. The access point functions in Web-browser management mode.

      WARNING: When you change the management mode from Web-browser mode
      to NETGEAR Insight mode, the configuration of the access point is reset (cleared)
      with the exception of the IP address, access point name, and password for the local
      browser interface. The access point restarts and broadcasts SSID Netgearxxxxxx, in
      which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
      address. The MAC address is listed on the product label. The default WiFi passphrase
      is sharedsecret.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The access point restarts in
      the new management mode.




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   Change the system mode to Router mode
   or AP mode
   The access point can function in one of the following system modes:

   •   AP. Select the AP radio button to let the access point function with its router
       functionality disabled. This is the default setting. When the access point is in AP
       mode, connect the WAN PoE port of the access point to your network.
   •   Router. Select the Router radio button to let the access point function with its router
       functionality enabled, including network address translation (NAT) and the option
       to enable and configure the DHCP server of the access point. When the access point
       is in Router mode, connect the WAN PoE port of the access point to a LAN port on
       the Internet modem.

       IMPORTANT: When you change the system mode, the access point is also reset to
       factory default settings with the exception of the IP address of the WAN PoE port,
       the host name, the country of operation, and the time zone.


   For more information about how you can connect the access point to your network or
   Internet modem, see Set up and connect the access point to your network or Internet
   modem on page 22.
   To change the system mode to AP mode or Router mode:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
       If you previously added the access point to a NETGEAR Insight network location and
       managed the access point through the Insight app or Insight Cloud portal, enter the
       Insight network password for that location. For more information, see Connect over
       WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
       26).

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       The Dashboard page displays.

   4. Select Management > Configuration > System > Basic.
      The General page displays the basic system settings.

   5. Select one of the following radio buttons:
       •   AP. The access point functions in AP mode. This is the default setting.
       •   Router. The access point functions in Router mode.

       WARNING: The system mode changes and the access point is reset to factory
       default settings with the exception of the IP address of the WAN PoE port, the host
       name, the country of operation, and the time zone.

   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The access point restarts in
      the new system mode.



   Change the country or region of operation
   You can change the country or region in which the access point operates. Note the
   following:

   •   Make sure that the country is set to the location where the device is operating. You
       are responsible for complying with the local, regional, and national regulations that
       are set for channels, power levels, and frequency ranges.
   •   It might not be legal to operate the access point in a country or region other than
       those listed in the menu. If your country or region is not listed in the menu, you must
       check with your local government agency or check the NETGEAR website for
       information about which channels you can use.

   To change the country or region of operation:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.



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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Basic.
      The General page displays the basic system settings.

   5. Select a country or region from the Country / Region menu.
   6. Click the Apply button.
      A pop-up warning window opens.

   7. Click the OK button.
      The pop-up window closes and your settings are saved. The access point restarts
      with the default WiFi settings that are specific to the selected country or region.



   Change the admin user account password
   This admin user account password is the password that you must use to log in to the
   local browser interface of the access point with the user name admin. (It is not the
   passphrase that you use for WiFi access.)
   The password must be 8 to 63 characters in length and must contain at least one
   uppercase letter, one lowercase letter, and one number. The following special characters
   are allowed:
   !@#$%^&*()
   To change the password for the user name admin:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.

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      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > User Accounts.
      The page that displays lets you change the user accounts.

   5. Next to admin, in the Password field, enter the new password.
   6. In the Confirm Password field, enter the same new password.

      Note: You cannot change the user name. The name must remain admin.

   7. Click the Apply button.
      Your settings are saved. The next time that you log in to the access point, you must
      use the new password. If you forget the new password, you must reset the access
      point to factory default settings. Doing so restores the password to the default
      password.



   Change the system name
   The system name is a unique NetBIOS name for the access point. The default system
   name is located on the access point label. By default, the system name is Netgearxxxxxx,
   in which xxxxxx represents the last six hexadecimal digits of the access point’s MAC
   address.




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   To change the system name:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Basic.
      The General page displays the basic system settings.

   5. Enter a new name in the System Name field.
      Using the following guidelines:

      •   The name must contain alphanumeric characters, can contain hyphens, and
          cannot be longer than 15 characters.
      •   The name cannot start or end with a hyphen.
      •   The name must contain at least one alphabetical character.

   6. Click the Apply button.
      Your settings are saved.



   Specify a custom NTP server
   By default, the access point receives its time from a default NETGEAR Network Time
   Protocol (NTP) server, but you can also specify a custom NTP server.



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   To specify a custom NTP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Basic > Time.




      By default, the Enable radio button is selected and the access point receives its time
      from a default NETGEAR NTP server.

   5. Select the Use Custom NTP Server check box.
   6. Take one of the following actions:
      •   Enter the host name of the NTP server.
          By default, the Hostname radio button is selected.
      •   Select the IP address radio button and enter the IP address of the NTP server.

   7. Click the Apply button.




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      Your settings are saved. When the access point connects over the Internet to the
      new NTP server, the date and time that display on the page are adjusted according
      to your settings.
      For information about setting the time zone, see Set the time zone on page 176.



   Set the time zone
   The access point might detect the time zone automatically or you might need to adjust
   the time zone and daylight saving time settings. When the access point synchronizes
   its clock with a Network Time Protocol (NTP) server, the page shows the date and time.
   If the page does not show the correct date and time, you might need to set the time
   zone and adjust the daylight saving time setting.
   To set the time zone and adjust the daylight saving time setting:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Basic > Time.
      The page that displays lets you change the time settings.

   5. From the Time Zone menu, select the time zone for the area in which the access
      point operates.
   6. Click the Apply button.



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      Your settings are saved. When the access point connects over the Internet to an NTP
      server, the date and time that display on the page are adjusted according to your
      settings.
      For information about other time settings, see Specify a custom NTP server on page
      174.



   Manage the syslog settings
   If a syslog server is present on your network, you can configure the access point to send
   its system logs to the syslog server.
   To manage the syslog settings and enable the syslog function:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > Syslog.




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   5. Specify the IP address and port number for the syslog server:
       •   Syslog Server IP Address. Enter the IP address of the syslog server on your
           network.
       •   Port Number. Enter the port number at which the syslog can be reached. By
           default, the port number is 514.

   6. To enable the syslog server function, select the Enable Syslog check box.
   7. Click the Apply button.
      Your settings are saved.



   Manage the firmware of the access point
   The access point firmware is stored in flash memory.
   You can check to see if new firmware is available and upgrade the access point to the
   new firmware. You can also visit the NETGEAR support website, download the firmware
   manually to a local computer, and update the access point to the new firmware. If
   someone (usually the network administrator) places new firmware on a secure FTP (SFTP)
   server in the network, you can load the firmware from the server and upgrade the
   firmware of the access point.
   The following sections describe the firmware management methods:
   •   Check for new firmware and upgrade the access point
   •   Manually download firmware and upgrade the access point
   •   Revert to the backup firmware
   •   Use an SFTP server to upgrade the access point


   Check for new firmware and upgrade the access point
   For you to check for new firmware, the access point must be connected to the Internet.
   To check for new firmware and upgrade your access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
       If your browser does not open the login window but displays a security message
       and does not let you proceed, see Log in to the access point after initial setup on
       page 41.

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   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Click the Check for Upgrade button.
      The access point detects new firmware if any is available and displays a message
      asking if you want to download and install it.

   5. To download and install the new firmware, follow the prompts and dialog boxes.
      The access point locates the firmware, downloads it, and begins the upgrade.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the
      upgrade. For example, do not close the browser, click a link, or load a new page.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED remains solid green.

      The firmware upgrade process takes several minutes. When the upgrade is complete,
      your access point restarts.

   6. Verify that the access point runs the new firmware version by logging back in to the
      access point.
      The firmware version is stated on the Dashboard page.

   7. Read the new firmware release notes to determine whether you must reconfigure
      the access point after upgrading.


   Manually download firmware and upgrade the access point
   Downloading firmware to a local computer and upgrading the access point are two
   separate tasks that are combined in the following procedure. After you upgrade the




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   access point to new firmware, the old firmware is saved as backup firmware so that you
   can revert to it (see Revert to the backup firmware on page 181).

   IMPORTANT: When you install an older firmware version (or the backup firmware
   version), that is, you downgrade rather than upgrade the firmware, the configuration
   of the access point is reset (cleared) with the exception of the IP address, access point
   name, and password for the local browser interface. The access point restarts and
   broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six hexadecimal
   digits of the access point’s MAC address. The MAC address is listed on the product
   label. The default WiFi passphrase is sharedsecret.

   To download firmware manually and upgrade your access point:
   1. Visit netgear.com/support/download/, locate the support page for your product,
      and download the new firmware.
   2. Read the new firmware release notes to determine whether you must reconfigure
      the access point after upgrading.
   3. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   4. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   5. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   6. Select Management > Maintenance > Upgrade > Firmware Upgrade.
      The Firmware Upgrade page displays.

   7. Make sure that Local is selected from the Upgrade Options menu.
      Local is the default selection.



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   8. Locate and select the firmware file on your computer by doing the following:
      a. Click the Browse button.
      b. Navigate to the firmware file.
         The filename ends in .tar.

      c. Select the firmware file.

   9. Click the Upgrade button.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the
      upgrade. For example, do not close the browser, click a link, or load a new page.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED remains solid green.

      The firmware upgrade process takes several minutes. When the upgrade is complete,
      the access point restarts.

   10. Verify that the access point runs the new firmware version by logging back in to the
       access point.
       The firmware version is stated on the Dashboard page.


   Revert to the backup firmware
   After you upgrade the access point to new firmware, the old firmware is saved as backup
   firmware so that you can revert to it.

   IMPORTANT: When you revert to the backup firmware and the backup firmware is an
   earlier version than the firmware version that is running on the access point, the
   configuration of the access point is reset (cleared) with the exception of the IP address,
   access point name, and password for the local browser interface. The access point
   restarts and broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six
   hexadecimal digits of the access point’s MAC address. The MAC address is listed on
   the product label. The default WiFi passphrase is sharedsecret.

   To revert to the backup firmware on the access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.



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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Upgrade > Firmware Upgrade.
      The Firmware Upgrade page displays. The page shows both the current firmware
      version and the backup firmware version.

   5. Click the Bootup Backup Firmware button.
      A pop-up warning window opens.

      IMPORTANT: When you revert to the backup firmware, the configuration of the
      access point is reset (cleared) with the exception of the IP address, access point
      name, and password for the local browser interface. The access point restarts and
      broadcasts SSID Netgearxxxxxx, in which xxxxxx represents the last six hexadecimal
      digits of the access point’s MAC address. The MAC address is listed on the product
      label. The default WiFi passphrase is sharedsecret.

   6. Click the Swap button.
      The pop-up window closes, the firmware reversion process initiates, and the access
      point restarts.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the
      reversion. For example, do not close the browser, click a link, or load a new page.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED remains solid green.

   7. Verify that the access point runs the backup firmware version by logging back in to
      the access point.
      The firmware version is stated on the Dashboard page.




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   Use an SFTP server to upgrade the access point
   If someone (usually the network administrator) places new firmware on a secure FTP
   (SFTP) server in the network, you can load the firmware from the SFTP server and upgrade
   the firmware of the access point.
   To upgrade the firmware of the access point from an SFTP server:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Upgrade > Firmware Upgrade.
      The Firmware Upgrade page displays.

   5. From the Upgrade Options menu, select SFTP.
   6. Specify the following server settings:
      •   Firmware File. The name of the access point firmware file on the SFTP server.
      •   SFTP Server IP. The IP address of the SFTP server on your network.
      •   User Name. The user name that is required to access the SFTP server.
      •   Password. The password that is required to access the SFTP server.

   7. Click the Upgrade button.




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      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the
      upgrade. For example, do not close the browser, click a link, or load a new page.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED remains solid green.

      The firmware upgrade process takes several minutes. When the upgrade is complete,
      the access point restarts.

   8. Verify that the access point runs the new firmware version by logging back in to the
      access point.
      The firmware version is stated on the Dashboard page.



   Manage the configuration file of the access
   point
   The configuration settings of the access point are stored within the access point in a
   configuration file. You can back up (save) this file to your computer or restore it.


   Back up the access point configuration
   You can save a copy of the current configuration settings. If necessary, you can restore
   the configuration settings later.

   Note: The backup file is saved in a binary format so that it is protected and cannot be
   opened by a regular application.

   To back up the access point’s configuration settings:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.


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      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Upgrade > Backup and Restore > Backup
      Settings.
      The Backup Settings page displays.

   5. Click the Backup button.
      A pop-up window opens.

   6. Enter a password to protect the backup file, and click the Continue button.
      You can either using your existing password (the one that you use to log in to the
      access point) or enter a unique password.
      The password must be 8 to 63 characters in length and must contain at least one
      uppercase letter, one lowercase letter, and one number. The following special
      characters are allowed:
      !@#$%^&*()

      Tip: We recommend that you write down the password because you must enter it
      again if you restore the configuration from the backup file.

   7. Choose a location to store the file on your computer.
      The name of the backup file is WAC510-WAC510-dd-mm-yy_hh-mm-ss-config.tar,
      in which dd is the date, mm is the month, yy is the year, hh is the hour (in 24-hour
      format), mm is the minutes, and ss is the seconds.
      An example of a name of a backup file is
      WAC510-WAC510-02-15-19_18-56-53-config.tar.

   8. Follow the directions of your browser to save the file.




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   Restore the access point configuration
   If you backed up the configuration file, you can restore the configuration from this file.
   To restore configuration settings that you backed up:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Upgrade > Backup and Restore > Restore
      Settings.
      The Restore Settings page displays.

   5. Click the Browse button and navigate to and select the saved configuration file.
      The name of the backup file is WAC510-WAC510-dd-mm-yy_hh-mm-ss-config.tar,
      in which dd is the date, mm is the month, yy is the year, hh is the hour (in 24-hour
      format), mm is the minutes, and ss is the seconds.
      An example of a name of a backup file is
      WAC510-WAC510-02-15-19_18-56-53-config.tar.

   6. Click the Restore button.
      A pop-up window opens.

   7. Enter the password that you specified when you saved the backup file, and click the
      Continue button.
   8. Click the Restore button.


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      The pop-up window closes and the configuration is uploaded to the access point.
      When the restoration is complete, the access point reboots. This process takes about
      two minutes.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the
      restoration. For example, do not close the browser, click a link, or load a new page.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED turns solid green.



   Reboot the access point from the local
   browser interface
   If you cannot physically access the access point to reboot it (that is, disconnect the power
   and reconnect the power), you can use the local browser interface to reboot the access
   point.
   To reboot the access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Reset > Reboot AP.
      The Reboot AP page displays.



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   5. Click the Reboot AP button.
      A pop-up warning window opens.

   6. Click the Reboot button.
      The pop-up window closes and the access point reboots, which takes about one
      minute.



   Schedule the access point to reboot
   You can schedule the access point to reboot at a time that is more convenient for the
   network, for example, when you do not expect any WiFi clients (or only a few) to be
   connected to the access point.
   To schedule the access point to reboot:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Reset > Reboot AP.
      The Reboot AP page displays.

   5. Click the Enable Scheduled Reboot button so that the button displays blue.
      The scheduling controls display.

   6. Select the check box for the day on which you want the access point to reboot.


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      You can select multiple days.

   7. Using the Start Time menus, specify the hour and minutes for the time at which the
      access point must reboot.
      Specify the hour in 24-hour format.

   8. Click the Apply button.
      Your settings are saved.



   Return the access point to its factory default
   settings
   Under some circumstances (for example, if you lost track of the changes that you made
   to the access point settings or you move the access point to a different network), you
   might want to erase the configuration and reset the access point to factory default
   settings.
   If you do not know the current IP address of the access point, first try to use an IP scanner
   application to detect the IP address before you reset the access point to factory default
   settings.
   To reset the access point to factory default settings, you can use either the Reset button
   on the side of the access point or the use the erase function in the local browser interface.
   However, if you cannot find the IP address or lost the password to access the access
   point, you must use the Reset button.
   After you reset the access point to factory default settings, the user name is admin, the
   password is password, the LAN IP address is 192.168.0.100, the access point’s DHCP
   client is enabled, the default SSID is shown in the format NETGEARxxxxxx-SETUP, and
   the default password for WiFi access is sharedsecret.
   For an extensive list of factory default settings, see Factory default settings on page 236.


   Use the Reset button to reset the access point
   You can use the Reset button to return the access point to its factory default settings.
   However, if you added the access point to a NETGEAR Insight network location, you
   must first use the Insight app or Insight Cloud portal to remove the access point from
   the Insight network location before the factory default settings function of the Reset
   button is available.

   CAUTION: This process erases all settings that you configured in the access point.



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   To reset the access point to factory default settings:
   1. On the left side of the access point, locate the recessed Reset button.




   2. Using a straightened paper clip, press and hold the Reset button for at least 10
      seconds.

      Note: If you hold the Reset button for less than 10 seconds and then release it, the
      access point reboots rather than returning to its factory default settings.

   3. Release the Reset button.
      The configuration is reset to factory default settings. When the reset is complete,
      the access point reboots. This process takes about two minutes.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the reset.
      Do not turn off the access point. Wait until the access point finishes restarting and
      the Power LED turns solid green.



   Use the local browser interface to reset the access point
   You can use the access point’s local browser interface to return the access point to its
   factory default settings.

   CAUTION: This process erases all settings that you configured in the access point.

   To erase the settings:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.




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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Reset > Restore Defaults.
      The Restore Defaults page displays.

   5. Click the Restore Defaults button.
      A pop-up warning window opens.

   6. Click the Restore button.
      The pop-up windows closes and the configuration is reset to factory default settings.
      When the reset is complete, the access point reboots. This process takes about two
      minutes.

      WARNING: To avoid the risk of corrupting the firmware, do not interrupt the reset.
      For example, do not close the browser, click a link, or load a new page. Do not turn
      off the access point. Wait until the access point finishes restarting and the Power
      LED turns solid green.



   Enable or disable Secure Shell
   By default, you can access the access point over a Secure Shell (SSH) connection.
   To enable or disable SSH:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.


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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Remote Management.
      The Remote Management page displays.

   5. Select one of the following Secure Shell (SSH) radio buttons:
      •   Enable. SSH is enabled. This is the default setting.
      •   Disable. SSH is disabled.

   6. Click the Apply button.
      Your settings are saved.



   Enable SNMP and manage the SNMP
   settings
   You can access the access point over a Simple Network Management Protocol (SNMP)
   connection, which allows SNMP network management software such as HP OpenView
   to manage the access point by using the SNMPv1 or v2 protocol. By default, SNMP is
   disabled.
   To enable SNMP and manage the SNMP settings:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.



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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Maintenance > Remote Management.
      The Remote Management page displays.

   5. Select the SNMP Enable radio button.
      By default, SNMP is disabled.




   6. Specify the following settings:
      •   Read-Only Community Name. The community string that allows the SNMP
          manager to read the access point’s MIB objects. The default is public.
      •   Read-Write Community Name. The community string that allows the SNMP
          manager to read and write the access point’s MIB objects. The default is private.
      •   Trap Community Name. The community name that is associated with the IP
          address at which traps must be received. The default is trap.


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      •   IP address (to receive traps). The IP address of the SNMP manager that must
          receive the traps.
      •   Trap Port. The port number at which the SNMP manager must receive traps. The
          default is 162.

   7. Click the Apply button.
      Your settings are saved.



   Manage the LEDs
   By default, all LEDs are enabled and function as described in Top panel with LEDs on
   page 14. You can manage whether the LEDs light at all. This function is useful if the
   access point must function in a dark environment.
   To enable or disable the LEDs:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Configuration > System > Advanced > LED Control.
      The LED Control page displays.

   5. Select one of the following radio buttons:
      •   Enable All LEDs. All LEDs are enabled. This is the default setting.

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      •   Disable All LEDs. All LEDs are disabled.
      •   Enable Power LED. All LEDs are disabled except for the Power LED.

   6. Click the Apply button.
      Your settings are saved.




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   8
   Monitor the Access Point and the
   Network

   This chapter describes how you can monitor the access point and the network.
   The chapter includes the following sections:
   •   View the access point Internet, IP, and system settings
   •   View the WiFi radio settings
   •   View unknown and known neighbor access points
   •   View client distribution, connected clients, and client trends
   •   View WiFi and WAN traffic, traffic and ARP statistics, and channel utilization
   •   View or download tracked URLs
   •   View, save, download, or clear the logs
   •   View a WiFi bridge connection
   •   View the data volume consumption
   •   View alarms and notifications




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   View the access point Internet, IP, and system
   settings
   To view the access point, Internet, IP, and system settings:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Locate the Connection Status Information pane, System Information pane, and IP
      Settings Information pane, which are shown, respectively, on the left, upper center,
      and lower center of the following Dashboard figure.




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      (If the page width on your device is narrow, these panes might be located elsewhere
      on the Dashboard.)




      •   Connection Status Information pane. The Connection Status Information pane
          is in the top, left corner of the Dashboard (if the page width on your device is
          sufficient; otherwise, it might be elsewhere) and displays the following:
          -   Status of the connection to the NETGEAR Insight cloud-based management
              platform, if any.
          -   Status of the Internet connection.
          -   Functioning mode of the access point
          -   Number of clients connected to the access point.

      •   System Information pane. The System Information pane is in the center at the
          top of the Dashboard (if the page width on your device is sufficient; otherwise,
          it might be elsewhere) and displays the following:
          -   System name of the access point and country or region of operation.
          -   Ethernet MAC address.
          -   The serial number.
          -   Device uptime.
          -   Firmware version.
          -   The date and time that the access point itself or someone manually last
              checked if new firmware was available.

          This pane also contains a button that you can click to check for firmware updates
          for the access point (see Check for new firmware and upgrade the access point
          on page 178).




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      •   IP Settings Information pane. The IP Settings Information pane is in the center
          of the Dashboard page (if the page width on your device is sufficient; otherwise,
          it might be elsewhere) and displays the following:
          -   IP address of the access point and its DHCP status
          -   Gateway IP address
          -   Gateway status
          -   Wired traffic volume


   5. To view more detailed information, select Management > Monitoring > System.




      The page shows four sections:

      •   System Information section. The following settings are displayed:
          -   System Name. The access point NetBIOS name.
          -   System Mode. The access point system mode (AP or Router).
          -   Wan MAC Address. The MAC address of the WAN Ethernet port of the access
              point.
          -   Lan MAC Address. The MAC address of the LAN Ethernet port of the access
              point.
          -   Wireless MAC Address for 2.4 GHz. The MAC address of 2.4 GHz WiFi
              interface (radio) of the access point.
          -   Wireless MAC Address for 5 GHz. The MAC address of 5 GHz WiFi interface
              (radio) of the access point.
          -   Ethernet LLDP. The status of Ethernet LLDP feature (Enabled or Disabled).
          -   LLDP Neighbour. The name of the LLDP neighbour, if any.

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          -   Country / Region. The country or region in which the access point operates
              or for which the access point is licensed.
          -   Current Firmware Version. The version of the firmware that is running on
              the access point.
          -   Backup Firmware Version. The version of the backup firmware on the access
              point.
          -   Bootloader Version. The primary bootloader (U-Boot) version that is installed
              on the access point.
          -   Serial Number. The serial number of the access point.
          -   Current Time. The current system time of the access point.
          -   Uptime. The time since the access point was last restarted.

      •   AP Interface Status. A green icon indicates that the interface is in use. A gray
          icon indicates that the interface is not in use.
      •   IPv4 Settings section. The following settings are displayed:
          -   IPv4 Address. The IPv4 address of the access point.
          -   Subnet Mask. The subnet mask of the access point.
          -   Default Gateway. The default gateway for the access point.
          -   DHCP Client. The status of DHCP client (Enabled or Disabled).

      •   Wireless Settings section. The following settings are displayed, with separate
          columns for the 2.4 GHz and 5 GHz radios:
          -   Wireless Mode. The operating WiFi mode of the radio.
          -   Channel / Frequency. The channel and frequency that are used by the radio.




   View the WiFi radio settings
   To view the WiFi radio settings of the access point:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.



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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Locate the Radio Information pane at the top, right corner of the Dashboard page
      (if the page width on your device is sufficient; otherwise, it might be elsewhere).




      The following settings are displayed:

      •   Radio status (If the 2.4 GHz or 5 GHz icon is displayed as gray, the radio is turned
          off.)
      •   Mode
      •   Channel
      •   Channel width
      •   Number of connected clients and maximum number of supported clients
      •   WiFi traffic volume
      •   Channel utilization

   5. To view information for the 5 GHz radio, click the 5 GHz tab.
      By default, information for the 2.4 GHz radio is shown.


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   6. To view more detailed information, select Management > Monitoring > System.




      The page shows four sections:

      •   System Information section. The following settings are displayed:
          -   System Name. The access point NetBIOS name.
          -   System Mode. The access point system mode (AP or Router).
          -   Wan MAC Address. The MAC address of the WAN Ethernet port of the access
              point.
          -   Lan MAC Address. The MAC address of the LAN Ethernet port of the access
              point.
          -   Wireless MAC Address for 2.4 GHz. The MAC address of 2.4 GHz WiFi
              interface (radio) of the access point.
          -   Wireless MAC Address for 5 GHz. The MAC address of 5 GHz WiFi interface
              (radio) of the access point.
          -   Ethernet LLDP. The status of Ethernet LLDP feature (Enabled or Disabled).
          -   LLDP Neighbour. The name of the LLDP neighbour, if any.
          -   Country / Region. The country or region in which the access point operates
              or for which the access point is licensed.
          -   Current Firmware Version. The version of the firmware that is running on
              the access point.
          -   Backup Firmware Version. The version of the backup firmware on the access
              point.
          -   Bootloader Version. The primary bootloader (U-Boot) version that is installed
              on the access point.


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          -   Serial Number. The serial number of the access point.
          -   Current Time. The current system time of the access point.
          -   Uptime. The time since the access point was last restarted.

      •   AP Interface Status. A green icon indicates that the interface is in use. A gray
          icon indicates that the interface is not in use.
      •   IPv4 Settings section. The following settings are displayed:
          -   IPv4 Address. The IPv4 address of the access point.
          -   Subnet Mask. The subnet mask of the access point.
          -   Default Gateway. The default gateway for the access point.
          -   DHCP Client. The status of DHCP client (Enabled or Disabled).

      •   Wireless Settings section. The following settings are displayed, with separate
          columns for the 2.4 GHz and 5 GHz radios:
          -   Wireless Mode. The operating WiFi mode of the radio.
          -   Channel / Frequency. The channel and frequency that are used by the radio.




   View unknown and known neighbor access
   points
   If you enabled neighbor access point (AP) detection (see Manage neighbor AP detection
   on page 128), you can view the unknown access points in the Unknown AP list and the
   known access points in the Known AP list.
   To view the detected neighbor access points:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.


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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Monitoring > Neighbor AP.




      At the top of the page, for each radio band, the page states the total number of
      unknown access points.

   5. To display the most recent unknown access points, click the Refresh button.
   6. To view the Known AP list, click the Known AP tab.




      At the top of the page, for each radio band, the page states the total number of
      known access points.

   7. To display the most recent known access points, click the Refresh button.

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   View client distribution, connected clients,
   and client trends
   To view the clients that are connected to the access point, either over WiFi or
   through an Ethernet connection:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Locate the Client Distribution pane (shown on the left side in the following figure)
      and the Recent Clients pane (shown on the right side).




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      The Client Distribution pane shows the types of clients (Windows, Mac, iOS, Android,
      Linux, and other operating systems) and how these clients are distributed over the
      networks. (By default, the Network button is selected.)
      The Recent Clients pane shows the top 5 recently connected clients list.

   5. To see how the clients are distributed over the radios, click the Radio button in the
      Client Distribution pane.
      The page adjusts and shows the types of clients for each radio.

   6. To see recent clients for all networks or a single network, in the Connected Clients
      pane, click the icon in the menu under Recent Clients, and select All WiFi Clients,
      the clients for a specific WiFi network (SSID), or LAN Devices.
      For your selection, the pane displays the total number of connected clients and the
      device names of the connected clients.

   7. To view information about a connected client, click its device name.
      The page displays the MAC address, device name, IP address, and SSID (WiFi clients
      only) for the client. You can also view more information, including very detailed
      information (see Step 11).

   8. To view trends about clients, scroll down to the Hours Trend pane.




      The Hours Trend pane shows a graph with the number of clients, the traffic in MB,
      or the channel utilization over a period that you can select. (The previous figure
      shows the trend for the last 48 hours.) By default, the client information is selected
      (that is, the Client button is selected) and the graph shows the total number of clients
      for both radios and the number of clients for each radio (2.4 GHz and 5 GHz).
      You can also click the Traffic button or the Channel Utilization button. For more
      information, see View WiFi and WAN traffic, traffic and ARP statistics, and channel
      utilization on page 209.

   9. To view more information, point to a node on one of the lines on the graph.
   10. To change the period over which information is filtered and displayed, select the
       number of recent hours from the menu to the right of the buttons.




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   11. To view more information about currently connected WiFi and wired clients, select
       Management > Monitoring > Connected Clients.




      By default, the Wireless Clients tab is selected and the connected WiFi clients
      display. (For information about wired clients, see Step 13).
      For each radio, the page displays the number of connected clients and the maximum
      number of supported clients.
      For each radio and each WiFi client, the page displays the SSID, MAC address, IP
      address, host name, operating system (OS), and WiFi mode.




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   12. To view very detailed information about a WiFi client, do the following:
      a. Click the information icon to the left of the client.
         The Detailed Client Information page displays and shows the following
         information:
          •   MAC Address. The MAC address of the client.
          •   IP Address. The IP address associated with the client.
          •   Host Name. The host name of the client.
          •   OS. The operating system that runs on the client.
          •   BSSID. The BSSID that the client connects to.
          •   SSID. The SSID of the radio that the client connects to.
          •   Channel. The channel that the client connects to.
          •   Channel Width. The width of the channel that the client connects to.
          •   Tx Rate. The rate of traffic transmission of the client.
          •   Rx Rate. The rate of traffic reception of the client.
          •   RSSI. The RSSI threshold value of the client.
          •   Tx Bytes. The number of bytes that the client transmitted.
          •   Rx Bytes. The number of bytes that the client received.
          •   State. The QoS state of the connection.
          •   Type. The type of WiFi security that is used for the connection.
          •   Device Type. The type of device that the client is.
          •   Mode. The WiFi mode of the connection.
          •   Status. The security status of the connection.
          •   Idle Time. The time that the client remained idle.
          •   Assoc Time Stamp. The time that is associated with the information on the
              Detailed Client Information page.

      b. Click the Close button.
         The Detailed Client Information page closes.




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   13. To view information about the wired clients, click the Wired Clients tab.




      For each wired client, the page displays the MAC address, host name, IP address,
      and operating system (OS).

   14. To display the most recent information, click the Refresh button.


   View WiFi and WAN traffic, traffic and ARP
   statistics, and channel utilization
   To view WiFi and WAN (wired) traffic, traffic and ARP statistics, and channel
   utilization:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.


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   4. Scroll down to the Hours Trend pane at the bottom of the Dashboard page.
      By default, the Clients button is selected.




   5. To view traffic information, do the following:
      a. Click the Traffic button.
         The graph shows the information for WAN (wired) traffic, total WiFi traffic, WiFi
         traffic for the 2.4 GHz radio, and WiFi traffic for the 5 GHz radio.
      b. To view more information, point to a node on one of the lines on the graph.

   6. To view channel utilization, do the following:
      a. Click the Channel Utilization button.
         The graph shows the channel utilization for the 2.4 GHz radio.
      b. To view the channel utilization for the 5 GHz radio, click the 5 GHz button.
      c. To view more information, point to a bar.

   7. To change the period over which information is filtered and displayed, select the
      number of recent hours from the menu to the right of the buttons.
   8. To view traffic statistics, select Management > Monitoring > Statistics.




      The page displays the network traffic statistics for both the WiFi and wired (Ethernet)
      interfaces of the access point since the access point started or rebooted. The page
      also displays the number of clients that are associated with each radio.



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      If the ARP proxy is enabled (see Manage the ARP proxy on page 104), the page also
      displays the ARP statistics, including the number of proxied and dropped packets.




   9. To display the most recent information, click the Refresh button.


   View or download tracked URLs
   If you enabled URL tracking for a WiFi network (see Enable or disable URL tracking for
   a WiFi network on page 62), you can view the tracked URLs by URL, WiFi client, and
   SSID. You can also download a URL tracking report as a .csv file.
   To view or download tracked URLs:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.




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   4. Select Management > Monitoring > URL Tracking.




      By default, the table shows the URLs that were accessed, each with the MAC address
      of the WiFi client that accessed the URL, the associated SSID, and the number of
      times that the WiFi client accessed the URL.
   5. To view additional information, click the … link to the right of a MAC address or
      SSID.
   6. To view URL tracking information by WiFi client, do the following:
      a. From the menu, select Client.
         The table shows the MAC addresses of the WiFi clients, each with the client host
         name, and the first URL of the list of URLs that the client accessed.
      b. To view all URLs that a WiFi client accessed, click the … link to the right of the
         first URL.
         A pop-up window opens and displays all URLs that the WiFi client accessed.
      c. Click the Close button.
         The pop-up window closes.




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   7. To view URL tracking information by SSID, do the following:
      a. From the menu, select SSID.
         The table shows the SSIDs and the first URL of the list of URLs that were accessed
         on the SSID.
      b. To view all URLs that were accessed on the SSID, click the … link to the right of
         the first URL.
         A pop-up window opens and displays all URLs that the were accessed on the
         SSID.
      c. Click the Close button.
         The pop-up window closes.

   8. To download a URL tracking report as a .csv file, click the Download button, and
      follow the directions of your browser.
   9. To clear all URL tracking information, do the following:
      a. Click the Clear button.
         A pop-up warning window opens.
      b. Click the OK button.
         The pop-up window closes and the information is cleared.



   View, save, download, or clear the logs
   You can view and manage the activity logs of the access point. You can also download
   a detailed log file.

   Note: If the access point functions in the NETGEAR Insight management mode, you
   can also view and manage the cloud activity logs, which show the connection of the
   access point to the Insight cloud-based management platform. If the access point
   functions in the NETGEAR Insight management mode, this is option is available from
   the Dashboard page by selecting Management > Monitoring > Cloud Logs.

   To view, save, download, or clear the logs:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.




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      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Monitoring > Logs.




      The page shows the following information for each log entry:

      •   Date and time. The date and time that the entry was logged.
      •   Action. The action that occurred, such as whether a WLAN connection was made.
      •   Source. The name, IP address, or MAC address of a source device, application,
          or website, if applicable.
      •   Target. The name, IP address, or MAC address of a target device, application,
          or website, if applicable.




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   5. To save the logs, do the following:
      a. Click the Save button.
      b. Follow the directions of your browser to save the file to your computer.

   6. To download the detailed log entries, do the following:
      a. Click the Download Detailed Logs button.
         Depending on the size of the file, downloading the detailed log entries might
         take several minutes.
      b. Follow the directions of your browser to save the file to your computer.

   7. To refresh the log entries onscreen, click the Refresh button.

      WARNING: After you clear the log entries, you can no longer save or download
      them.

   8. To clear the log entries, click the Clear button.


   View a WiFi bridge connection
   You can view whether a WiFi bridge is established and view the function (master or
   slave), MAC addresses, and IP addresses of the access points that form the WiFi bridge.
   To view a WiFi bridge connection:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over



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      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Monitoring > Wireless Bridge.




   5. To view the function, MAC address, and IP address of an access point, point to the
      access point.


   View the data volume consumption
   If you enabled data limits for one or more WiFi networks (see Set a data volume limit
   for the access point on page 106), you can view the data volume consumption and volume
   status details.
   To view the data volume consumption and volume status details:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
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      The Dashboard page displays.

   4. Select Management > Monitoring > Data Volume Limit.




      At the top, the page states the start date and time of the data volume counter, the
      current date and time, and the total volume that is left in relation to the data volume
      limit that you set.
      For each SSID, the table shows the allocated data (which is the allocated SSID
      percentage of the total monthly data volume limit that you set), the uploaded and
      downloaded data, and the total data consumption.

   5. To view details about the volume, do the following:
      a. Click the Volume Status button.
         A pop-up window opens and, for each SSID, displays details in a graphic.
      b. Click the X in the upper right corner.
         The pop-up window closes.

   6. To display the most recent information, click the Refresh button.


   View alarms and notifications
   You can view the alarms and notifications from any access point page. The following
   procedure describes how you can view them from the Dashboard page.
   To view the alarms and notifications:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.

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      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Locate the alarm bell icon at the top right of the page.
      The icon shows a number, indicating the total number of new alarms and notifications
      since the last time that you viewed alarms and notifications.

   5. Click the alarm bell icon.




      The pop-up window shows the alarms (indicated by a red bell) and notifications
      (indicated by a blue bell) with a description and time.

   6. To view more alarms and notification, scroll down in the pop-up window.




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   9
   Diagnostics and Troubleshooting

   This chapter describes how you can capture WiFi packets and troubleshoot the access
   point and network.
   The chapter includes the following sections:
   •   Capture WiFi and Ethernet packets
   •   Perform a ping test
   •   Check the Internet speed
   •   Quick tips for troubleshooting
   •   Troubleshoot with the LEDs
   •   Troubleshoot the WiFi connectivity
   •   Troubleshoot Internet browsing
   •   You cannot log in to the access point over a LAN connection
   •   Changes are not saved
   •   You enter the wrong password and can no longer log in to the access point
   •   Troubleshoot your network using the ping utility




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   Capture WiFi and Ethernet packets
   You can capture WiFi and Ethernet packets that are received and transmitted by the
   access point and save the file with captured packets to your computer. During the packet
   capture process, normal functioning of the access point is not affected.
   The packet capture capability can be useful for analyzing a WiFi deployment, monitoring
   a WiFi network, debugging protocols, determining WiFi network bottlenecks, and, in
   general, troubleshooting any irregularities in a WiFi network.
   You can select to capture all packets or selected packets only.

   Note: To view the captured packets, you need an application that can open .pcap
   files.

   To capture packets:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
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      The Dashboard page displays.




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   4. Select Management > Diagnostics > Packet Capture.




   5. Specify the settings that are described in the following table.

       Setting                  Description

       Capture Interface        From the Capture Interface menu, select one of the following interfaces on which
                                packets must be captured:
                                • brtunk. All packets are captured, that is, packets on the Ethernet interfaces, 2.4
                                  GHz radio, and 5 GHz radio. This is the default setting.

                                • Eth0. Only packets on the WAN Ethernet interface are captured.

                                • Eth1. Only packets on the LAN Ethernet interface are captured.

                                • radio1. Only packets on the 2.4 GHz radio are captured.

                                • radio2. Only packets on the 5 GHz radio are captured.


       Max. Capture File Size   Enter the maximum size that the file with captured packets is limited to. The range
       (64-4096 KB)             is from 64 to 4096 KB. The default is 64 KB.

       Promiscuous Capture      To enable the access point to capture packets in promiscuous mode, select the
                                Enable check box. By default, promiscuous mode is disabled.
                                In promiscuous mode the radio or radios receive all traffic on the channel, including
                                traffic that is not destined for the access point. While the radio or radios are operating
                                in promiscuous mode, they continue to serve associated clients. Packets that are not
                                destined for the access point are not forwarded. When the capture process stops,
                                the radio or radios revert to nonpromiscuous mode.

       Client Filter            To capture packets for a specific client only, select the Client Filter check box and
                                enter the client’s MAC address in the Client Filter MAC Address field.




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      (Continued)


       Setting               Description

       Client Filter MAC     If you select the Client Filter check box, enter the client’s MAC address to capture
       Address               the packets only for the specific client on the selected interface.
                             You must enter the MAC address in hexadecimal format with each octet separated
                             by a hyphen, for example 00-11-22-33-44-55.

       Capture Duration      Enter the maximum duration of the capture process (that is, if you do not click the
       (10-3600 secs)        Stop button).
                             The range is from 10 to 3600 seconds. By default, the maximum duration is 60
                             seconds.


   6. To start the packet capture process, click the Start button.
      If any captured packets are already stored on the access point, you are prompted
      to allow the packet capture process to overwrite the old information.

   7. To stop the packet capture process, click the Stop button.
   8. To download the file with captured packets, do the following:
      a. Click the Download button.
      b. Follow the directions of your browser to save the file to your computer.

   9. To display the latest information on the page, click the Refresh button.


   Perform a ping test
   You can ping the IP address of a device or network location from the access point and
   view the results of the ping test.
   To perform a ping test:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.

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      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Diagnostics > Ping Test.




   5. Specify the settings that are described in the following table.

       Setting                  Description

       Ping Count               The number of pings that the access point must send. The default number is 16.

       Packet Size (in Bytes)   The size of each ping packet. The default size is 64 bytes.

       Ping Interval (in sec)   The interval between pings. The default interval is 1 second.

       Ping Timeout (in sec)    The period after which a ping times out. The default period is 60 seconds.

       Remote Host              The IP address that the access point must ping.


   6. To start the ping test, click the Start button.
      The results of the ping test display in the Ping Result field.

   7. To stop the ping test before the ping count is reached or if the ping times out, click
      the Stop button.


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   Check the Internet speed
   You can check the Internet speed of the access point. The results might be helpful if
   you want to set bandwidth rate limits (see Set bandwidth rate limits for a WiFi network
   on page 66).
   To check the Internet speed:
   1. Open a web browser from a computer that is connected to the same network as the
      access point or directly to the access point through an Ethernet cable or WiFi
      connection.
   2. Enter the IP address that is assigned to the access point.
      A login window opens.
      If your browser does not open the login window but displays a security message
      and does not let you proceed, see Log in to the access point after initial setup on
      page 41.

   3. Enter the access point user name and password.
      The user name is admin. The password is the one that you specified the first time
      that you logged in. The user name and password are case-sensitive.
      If you previously added the access point to a NETGEAR Insight network location and
      managed the access point through the Insight app or Insight Cloud portal, enter the
      Insight network password for that location. For more information, see Connect over
      WiFi using the NETGEAR Insight App on an iOS or Android mobile device on page
      26).
      The Dashboard page displays.

   4. Select Management > Diagnostics > Speed Check.
      The Internet Speed Check page displays.

   5. Click the Test Speed button.
      The Privacy Policy pop-up window opens.

   6. Click the Agree button.
      The pop-up window closes. After a short delay, the page displays the measured
      latency in ms, download speed in Mbps, and upload speed in Mbps.

   7. To view the test history, click the View History link.
      A table shows the results of previous tests.




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   Quick tips for troubleshooting
   If your network is unresponsive or does not function normally, restart your network:
   1. Unplug the Ethernet cable from the access point to your network switch or Internet
      modem.
   2. If you use a power adapter, disconnect it from the access point.
   3. Plug in the Ethernet cable from the access point to your network switch or Internet
      modem. Wait two minutes.
   4. If you use a power adapter, connect it to the access point and wait two minutes.

   If you cannot connect over WiFi to the access point, try the following:

   •   Make sure that the WiFi LED on the access point is not off.
       If the WiFi LED is off, one or both WiFi radios are probably off too. For more
       information about the WiFi radios, see Turn a radio on or off on page 83.
   •   Make sure that the WiFi settings in your WiFi device and access point match exactly.
       For a device that is connected over WiFi, the WiFi network name (SSID) and WiFi
       security settings of the access point and WiFi device must match exactly.
       For information about accessing the access point for initial configuration over a WiFi
       connection, see Connect to the access point for initial configuration on page 25.
   •   Make sure that your WiFi device supports the security that you are using for your
       WiFi network (WPA2 Personal or WPA2 Personal Mixed). For more information, see
       View or change the settings of a WiFi network on page 52.
   •   Make sure that your WiFi device is not too far from the access point or too close. To
       see if the signal strength improves, move your WiFi device near the access point but
       at least 6 feet (1.8 meters) away.
   •   Make sure that the WiFi signal is not blocked by objects between the access point
       and your WiFi device.
   •   Make sure that the access point’s SSID broadcast is not disabled.
       If the access point’s SSID broadcast is disabled, the WiFi network name is hidden
       and does not display in your WiFi device’s scanning list. To connect to a hidden
       network, you must enter the network name and the WiFi password. For more
       information about the SSID broadcast, see Hide or broadcast the SSID for a WiFi
       network on page 57.
   •   Make sure that your WiFi device does not use a static IP address but is configured
       to receive an IP address automatically with DHCP. (For most devices, DHCP is the
       default setting.)




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   If you cannot connect over an Ethernet cable to the access point, try the following:

   •   Make sure that the Ethernet cables are securely plugged in.
   •   Make sure that your network includes a DHCP server that can issue an IP address to
       the access point or, if your access point requires a fixed (static) IP address, that the
       IP address and subnet are correct.


   Troubleshoot with the LEDs
   When you turn on the power, the LEDs light as described here:
   1. The Power LED lights solid amber. After about one minute, the Power LED turns
      solid green, indicating that the startup procedure is complete and the access point
      is ready.
   2. When the startup procedure is complete, verify the following:
       •   The WAN PoE LED lights solid amber or solid green.
       •   The Insight LED lights solid blue or solid green (see Top panel with LEDs on page
           14).
       •   The 2.4G WLAN LED, 5G WLAN LED, or both LEDs light solid green or solid blue
           or blink blue (unless one or both WiFi radios are turned off).
       •   If a LAN device is connected to the LAN port, the LAN LED lights solid amber or
           solid green.

   You can use the LEDs for troubleshooting. For more information, see the following
   sections:

   •   Power LED is off on page 227
   •   Power LED remains solid amber on page 227
   •   Power LED is blinking amber continuously on page 228
   •   Insight LED is off on page 228
   •   2.4G or 5G WLAN LED is off on page 229
   •   WAN PoE LED or LAN LED is off while a device is connected on page 229




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   Power LED is off
   If you use a Power over Ethernet (PoE) connection and the Power LED and other LEDs
   are off when the Ethernet cables are connected, do the following:

   •   Make sure that the Ethernet cable between the access point and the PoE switch is
       correctly connected at both ends.
   •   Make sure that the other end of the Ethernet cable is plugged into a PoE port (not
       a non-PoE port) on a PoE switch (not a non-PoE switch) that is receiving power.
   •   Make sure that the PoE power budget of the PoE switch is not oversubscribed and
       that the PoE switch is capable of delivering PoE power to the access point.

   If you use a power adapter and the Power LED and other LEDs are off when the access
   point is turned on, do the following:

   •   Make sure that the power adapter is correctly connected to the access point and
       that the power adapter is correctly connected to a functioning power outlet. If it is
       in a power strip, make sure that the power strip is turned on. If it is plugged directly
       into the wall, verify that the outlet is not switched off.
   •   Make sure that you are using the NETGEAR 12V, 2.5A power adapter for this product.

   If the error persists, a hardware problem might exist. For recovery instructions or help
   with a hardware problem, contact technical support at netgear.com/support.


   Power LED remains solid amber
   When you turn on the power to the access point, the Power LED lights solid amber
   temporarily and then turns solid green, indicating that the startup procedure is complete
   and the access point is ready.
   If the Power LED remains solid amber and does not turn solid green, a failure occurred
   or the access point is malfunctioning.
   If the Power LED does not turn solid green, do the following:
   1. Turn the power off and back on and wait several minutes to see if the access point
      recovers.
   2. If the access point does not recover, you can use the Reset button to return the
      access point to its factory default settings. For more information, see Use the Reset
      button to reset the access point on page 189.

   If the error persists, a hardware problem might exist. For recovery instructions or help
   with a hardware problem, contact technical support at netgear.com/support.




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   Power LED is blinking amber continuously
   When you turn on the power to the access point, the Power LED lights solid amber
   temporarily and then turns solid green, indicating that the startup procedure is complete
   and the access point is ready. During regular operation, the only time that the Power
   LED blinks amber temporarily is when firmware is being upgraded.
   If the Power LED blinks amber continuously and does not turn solid green, the access
   point did not receive an IP address from a DHCP server.
   Check to make sure that the DHCP client of the access point is enabled (see Enable the
   DHCP client on page 143), that your network includes a DHCP server (or a router that
   functions as a DHCP server), and that the DHCP server can reach the access point (both
   must be on the same network).
   In the unlikely situation that your network does not include a DHCP server, you might
   need to configure a fixed (static) IP address on the access point (see Disable the DHCP
   client and configure a LAN or WAN IP address on page 137).


   Insight LED is off
   If the WAN PoE port of the access point is connected to a PoE switch, non-PoE switch,
   or Internet modem and the WAN PoE LED lights amber or green but the Insight LED is
   off, the access point functions either in the PC Web-browser mode or in the NETGEAR
   Insight App mode but is not connected to the Insight cloud-based management platform.
   If the access point functions in the PC Web-browser mode, the Insight LED is off. This
   is normal LED behavior.
   If the access point functions in the NETGEAR Insight App mode but the Insight LED is
   off, do the following:
   1. Verify that the management mode of the access point is indeed the NETGEAR Insight
      App mode.
      For more information, see Change the management mode to NETGEAR Insight or
      Web-browser on page 168.

   2. Make sure that the cable connections between the access point and your network
      are good.
   3. Make sure that the access point is connected to the Internet and that the Internet
      connection is good.
   4. Make sure that the access point is running the latest firmware.
      For more information, see Manage the firmware of the access point on page 178.

   5. Restart the access point and wait five minutes to see if the Insight LED lights solid
      blue.


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       If you use a power adapter with the access point, disconnect and reconnect the
       power adapter and wait five minutes to see if the Insight LED lights solid blue.

   6. Use the Reset button to return the access point to its factory default settings.
      For more information, see Use the Reset button to reset the access point on page
      189.

   If the error persists, a hardware problem might exist. For recovery instructions or help
   with a hardware problem, contact technical support at netgear.com/support.


   2.4G or 5G WLAN LED is off
   If the 2.4G WLAN LED or 5G WLAN LED is off, do the following:
   •   Check to see if a radio is disabled (see Turn a radio on or off on page 83). By default,
       both radios are enabled and the WLAN LEDs light solid green or solid blue or blink
       blue.
   •   If you are using a Power over Ethernet (PoE) connection, make sure that the PoE
       switch is providing sufficient power to the access point. Insufficient PoE power can
       affect the radios.

   If the error persists, a hardware problem might exist. For recovery instructions or help
   with a hardware problem, contact technical support at netgear.com/support.


   WAN PoE LED or LAN LED is off while a device is connected
   When a powered-on network device such as a PoE switch, non-PoE switch, or Internet
   modem is connected to the WAN PoE port of the access point, the WAN PoE LED lights
   amber or green, depending on the speed of the connection. Similarly, when a network
   device such as a switch, hub, or computer is connected to the LAN port of the access
   point, the LAN LED lights amber or green, depending on the speed of the connection.
   If the WAN PoE LED or LAN LED remains off, a hardware connection problem might be
   occurring. Check these items:
   •   Make sure that the Ethernet cable connectors are securely plugged in at the access
       point and the network device.
   •   Make sure that the connected network device is actually turned on.
   •   Make sure that you are using the correct Ethernet cable. Use a standard Category
       5 Ethernet patch cable. If the network device incorporates Auto Uplink™ (MDI/MDIX)
       ports, you can use either a crossover cable or a normal patch cable.




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   Troubleshoot the WiFi connectivity
   If you are experiencing trouble connecting over WiFi to the access point, try to isolate
   the problem:

   •   Make sure that the WiFi settings in your WiFi device and access point match exactly.
       For a device that is connected over WiFi, the WiFi network name (SSID) and WiFi
       security settings of the access point and WiFi device must match exactly.
       For information about accessing the access point for initial configuration over a WiFi
       connection, see Connect to the access point for initial configuration on page 25.
   •   Does the WiFi device that you are using find your WiFi network?
       If not, check the WLAN LEDs. If a WLAN LED is off, the associated WiFi radio is
       probably off, too. For more information about the WiFi radios, see Turn a radio on
       or off on page 83.
   •   If you disabled the access point’s SSID broadcast, your WiFi network is hidden and
       does not display in your WiFi client’s scanning list. (By default, SSID broadcast is
       enabled.) For more information about the SSID broadcast, see Set up and manage
       WiFi networks on page 45.
   •   Does your WiFi device support the security that you are using for your WiFi network
       (WPA2 Personal or WPA2 Personal Mixed). For more information, see Set up and
       manage WiFi networks on page 45.

       Tip: If you want to change the WiFi settings of the access point’s network, use a
       wired connection to avoid being disconnected when the new WiFi settings take
       effect.


   If your WiFi device finds your network but the signal strength is weak, check these
   conditions:

   •   Is your access point too far from your WiFi device, or too close? Place your WiFi
       device near the access point, but at least 6 feet (1.8 meters) away, and see whether
       the signal strength improves.
   •   Are objects between the access point and your WiFi device blocking the WiFi signal?


   Troubleshoot Internet browsing
   If your computer or WiFi device is connected to the access point but unable to load any
   web pages from the Internet, it might be for one of the following reasons:

   •   Your computer might not recognize any DNS server addresses.

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       If you manually entered a DNS address when you set up the access point (that is,
       the access point uses static IP address settings), reboot your computer and verify
       the DNS address. Alternatively, you can configure your computer manually with DNS
       addresses, as described in your operating system documentation.
   •   Your computer might not use the correct TCP/IP settings.
       If your computer obtains its information by DHCP, reboot the computer and verify
       the address of the switch or Internet modem to which the access point is connected.
       For information about TCP/IP problems, see Troubleshoot your network using the
       ping utility on page 233.


   You cannot log in to the access point over a
   LAN connection
   If you are unable to log in to the access point from a computer on your local network
   and use the access point’s local browser interface, check the following:

   •   If you are using an Ethernet-connected computer, check the Ethernet cable between
       the computer and the access point.
   •   Make sure that the IP address of your computer is in the same subnet as the access
       point.
       If you disabled the access point’s DHCP client and configured a fixed (static) IP
       address when you connected the access point to your network or Internet modem
       (see Disable the DHCP client and configure a LAN or WAN IP address on page 137),
       change the IP address and subnet mask on your computer to so that the IP addresses
       of your computer and the access point are in the same IP subnet.
   •   If your access point’s IP address was changed (for example, the DHCP server in your
       network issued an IP address to the access point) and you do not know the current
       IP address, use an IP scanner application to detect the IP address. If you still cannot
       find the IP address, reset the access point’s configuration to factory defaults. This
       sets the access point’s IP address to 192.168.0.100. For more information, see Use
       the Reset button to reset the access point on page 189.
   •   Make sure that Java, JavaScript, or ActiveX is enabled in your browser. If you are
       using Internet Explorer, click the Refresh button to be sure that the Java applet is
       loaded.
   •   Try quitting the browser and launching it again.
   •   Make sure that you are using the correct login information. The user name is admin
       and the password is the one that you specified the first time that you logged in. Make
       sure that Caps Lock is off when you enter this information.



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   Changes are not saved
   If you are logged in to the access point’s local browser interface and the access point
   does not save the changes that you make on a page, do the following:

   •    When entering configuration settings, always click the Apply button before moving
        to another page or tab or your changes are lost.
   •    Click the Refresh or Reload button in the web browser. It is possible that the changes
        occurred but that the old settings remain in the web browser’s cache.


   You enter the wrong password and can no
   longer log in to the access point
   If you enter the wrong admin password three or more times, access to the access point’s
   local browser interface is blocked for a period. For example, if you enter the wrong
   password three times, access to the access point is blocked for five minutes.
   The blockage period depends on the number of failed login attempts. During the
   blockage period, any attempts to log in to the access point are ignored, even if you
   enter the correct password. You must wait until the blockage is lifted, and then you get
   a single opportunity to enter the correct password. If you enter the wrong password
   again, the blockage period is extended as described in the following table.


   Table 2. Login blockage periods


    Number of failed     Blockage period in
    attempts             minutes

    3                    5

    4                    10

    5                    20

    6                    40

    And so on            And so on

   In addition, the following rules apply to the number of failed login attempts:

   •    If the number of failed login attempts is smaller than the number of allowed retry
        attempts, the counter for failed login attempts is reset after 30 minutes. For example,



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       if you enter the wrong password twice but enter the correct password at the third
       login attempt, the two failed login attempts are erased from memory after 30 minutes.
   •   If the number of failed login attempts is larger than the number of allowed retry
       attempts, the counter for failed login attempts is reset after 24 hours. For example,
       if you enter the wrong password five times but enter the correct password at the
       sixth login attempt, the five failed login attempts are erased from memory after 24
       hours.
   •   The last access attempt determines whether the counter for failed login attempts is
       increased.
   •   If you reboot the access point, the counter for failed login attempts is reset.


   Troubleshoot your network using the ping
   utility
   Most network devices and routers contain a ping utility that sends an echo request
   packet to the designated device. The device then responds with an echo reply. You can
   easily troubleshoot a network using the ping utility in your computer or workstation.


   Test the LAN path to your access point
   You can ping the access point from your computer to verify that the LAN path to your
   access point is set up correctly.
   To ping the access point from a Windows-based computer:
   1. From the Windows taskbar, click the Start button and select Run.
   2. In the field provided, enter ping followed by the IP address of the access point, as
      in this example:
      ping 192.168.0.100

   3. Click the OK button.
      A message such as the following one displays:
       Pinging <IP address> with 32 bytes of data
       If the path is working, you see this message:
       Reply from < IP address >: bytes=32 time=NN ms TTL=xxx
       If the path is not working, you see this message:
       Request timed out



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   If the path is not functioning correctly, one of the following problems might be occurring:

   •   Wrong physical connections
       For a wired connection, make sure that the numbered LAN LED is lit for the port to
       which you are connected.
       Check that the appropriate LEDs are on for your network devices. If your access
       point and computer are connected to a separate Ethernet switch, make sure that
       the link LEDs are lit for the switch ports that are connected to your computer and
       access point.
   •   Wrong network configuration
       Verify that the Ethernet card driver software and TCP/IP software are both installed
       and configured on your computer.
       Verify that the IP address for your access point and your computer are correct and
       that the addresses are in the same subnet.


   Test the path from your computer to a remote device
   After you verify that the LAN path works correctly, test the path from your computer to
   a remote device.
   To test the path from your computer to a remote device:
   1. From the Windows toolbar, click the Start button and select Run.
   2. In the field provided, enter ping -n 10 IP address.
      IP address is the IP address of a remote device such as a remote DNS server.

   If the path is functioning correctly, replies as described in Test the LAN path to your
   access point on page 233 display. If you do not receive replies, do the following:

   •   Check to see that your computer lists the IP address of the router to which the access
       point is connected as the default router. If the IP configuration of your computer is
       assigned by DHCP, this information is not visible in your computer’s Network Control
       Panel.
   •   Check to see that the network address of your computer (the portion of the IP address
       specified by the netmask) is different from the network address of the remote device.




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   A
   Factory Default Settings and
   Technical Specifications

   This appendix includes the following sections:
   •   Factory default settings
   •   Technical specifications




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   Factory default settings
   You can reset the access point to the factory default settings, which are shown in the
   following table.
   For more information about resetting the access point to its factory settings, see Return
   the access point to its factory default settings on page 189.


   Table 3. Factory default settings


    Feature                      Default Setting

    Management and login settings

    Management mode              NETGEAR Insight management mode

    User login URL               192.168.0.100

    User name (case-sensitive)   admin, nonconfigurable

    Login password               password, configurable
    (case-sensitive)

    General system settings

    Operating mode               AP mode
                                 By default, Router mode is disabled, including NAT and the DHCP server function.

    DHCP client                  Enabled so that the access point receives an IP address from a DHCP server or router
                                 in the network.

    NTP client                   Enabled

    Spanning Tree Protocol       Disabled

    Network integrity check      Disabled

    802.1Q VLAN                  Untagged VLAN with VLAN ID 1

    Management VLAN              VLAN ID 1

    Syslog                       Disabled

    Ethernet LLDP                Enabled

    UPnP                         Enabled

    LEDs                         Enabled

    WiFi network settings for initial setup

    SSID name                    SSID for initial setup is NETGEARxxxxxx-SETUP, where xxxxxx is the last six hexadecimal
                                 digits of the access point’s MAC address.



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   Table 3. Factory default settings (Continued)


    Feature                      Default Setting

    Security                     WPA2 Personal (which is WPA2-PSK)
                                 WiFi password (network key): sharedsecret

    RF channel                   Auto. The available channels depend on the region.

    WLAN settings for an individual WiFi network (SSID or VAP)

    WiFi communication           Both the 2.4 GHz radio and the 5 GHz radio are enabled.

    WiFi client isolation        Disabled

    Broadcast SSID               Enabled

    Band steering                Disabled
                                 Automatic band steering includes automatic 802.11k RRM and automatic 802.11v
                                 WiFi network management.

    VLAN ID (for WiFi clients)   1

    Network authentication       WPA2 Personal (which is WPA2-PSK)

    Data encryption              AES

    Passphrase                   sharedsecret

    802.11w (PMF)                Disabled

    URL tracking                 Disabled

    DHCP offer broadcast to      Enabled
    unicast

    MAC ACL                      None assigned

    Rate limit                   None

    Captive portal               None

    Basic WiFi settings for all WiFi networks (SSIDs or VAPs)

    Radios                       Both the 2.4 GHz radio and the 5 GHz radio are enabled.

    WiFi mode                    2.4 GHz radio: 11ng mode, which also supports 11b and 11bg
                                 5 GHz radio: 11ac mode, which also support 11a and 11na

    Channel width                Dynamic 20 / 40 MHz for the 2.4 GHz radio
                                 Dynamic 20 / 40 / 80 MHz for the 5 GHz radio

    Output power                 Maximum (100%)

    Guard interval               Auto

    Channel                      Auto




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   Table 3. Factory default settings (Continued)


    Feature                    Default Setting

    WiFi schedule              None

    Wi-Fi Multimedia (WMM)     Enabled

    WMM powersave              Enabled

    Advanced WiFi settings for all WiFi networks (SSIDs or VAPs)

    Number of WiFi clients     Default: 64 per radio
                               Maximum: 200 per radio

    Beacon interval            100 millisec.

    802.11n 256 QAM            Disabled for the 2.4 GHz radio (nonconfigurable for the 5 GHz radio)

    RTS threshold              2346

    DTIM interval              2 sec.

    Broadcast/multicast rate   Enabled with a limit of 50 packets per second
    limiting

    MU-MIMO                    Enabled for the 5 GHz radio (nonconfigurable for the 2.4 GHz radio)

    802.11h                    Disabled for the 5 GHz radio (nonconfigurable for the 2.4 GHz radio)

    Load balancing between     Disabled
    radios

    Force sticky clients to    Disabled
    disassociate

    ARP proxy                  Disabled

    Broadcast enhancements     Disabled

    Data volume limit          None

    Wireless bridge            None configured

    General security

    URL filtering              None

    RADIUS servers             None configured

    Neighbour AP detection     Disabled

    MAC ACLs                   None




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   Technical specifications
   The following table shows the technical specifications of the access point.

   Table 4. Technical specifications


    Feature                     Description

    Supported WiFi radio        2.4 GHz band: 802.11ng, 801.11bg, and 802.11b
    frequencies and WiFi        5 GHz band: 802.11ac, 802.11na, and 802.11a
    modes                       Supports 2.4 GHz and 5 GHz concurrent operation

    Maximum theoretical         About 1300 Mbps simultaneous throughput (400 Mbps on the 2.4 GHz band and
    throughput                  867 Mbps on the 5 GHz band)
                                Note: Throughput can vary. Network conditions and environmental factors, including
                                volume of network traffic, building materials and construction, and network overhead,
                                affect the data throughput rate.

    Maximum number of           Maximum number of 2.4 GHz WiFi clients: 200 (200 per radio)
    supported clients           Maximum number of 5 GHz WiFi clients: 200 (200 per radio)
                                Maximum number of clients for the access point: 400 (2 radios)

    WiFi standards              IEEE 802.11ac Wave 2 standard
                                WiFi Multimedia Prioritization (WMM)
                                Wireless distribution system (WDS)

    802.11 security             WPA3 Personal, WPA3/WPA2 Personal (mixed), WPA2 Personal, WPA2/WPA Personal
                                (mixed), and WPA2 Enterprise

    Operating frequency range   2.4 GHz band:
                                • US and Canada: 2.412–2.462 GHz
                                • Europe: 2.412–2.472 GHz
                                • Australia: 2.412–2.472 GHz
                                • Japan: 2.412–2.472 GHz

                                5 GHz band:
                                • US and Canada: 5.18–5.24 + 5.745–5.825 GHz
                                • Europe: 5.18–5.24 GHz and DFS (5.25–5.35 + 5.50–5.70)
                                • Australia: 5.18–5.24 + 5.745–5.825 GHz
                                • Japan: 5.18–5.24 GHz and DFS (5.26–5.32 + 5.50–5.64)


    Power over Ethernet         If you do not use a power adapter, the PoE port requires 802.3af (PoE) power.
                                PoE might be considered a network environment 0 per IEC TR 62101, and thus the
                                interconnected ITE circuits might be considered safety extra low voltage (SELV).

    PoE consumption             9.3W




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   Table 4. Technical specifications (Continued)


    Feature                     Description

    Power adapter               12 VDC, 2.5A
    (The power adapter is not   The plug is localized to the country of sale.
    included but can be
    ordered as an option)

    Hardware interfaces         One WAN PoE port and one regular (non-PoE) LAN port, both of which are
                                10/100/1000BASE-T RJ-45 ports with Auto Uplink (Auto MDI-X).
                                If you do not use a power adapter, the PoE port requires 802.3af (PoE) power.

    Dimensions (W x D x H)      7.75 x 7.75 x 1.45 in. (197.32 x 197.32 x 37 mm)

    Weight                      1.22 lb (555.5 g)

    Operating temperature       32º to 104ºF (0° to 40°C)

    Operating humidity          10 to 90% maximum relative humidity, noncondensing

    Storage temperature         –4° to 158°F (–20º to 70ºC)

    Storage humidity            5 to 95% maximum relative humidity, noncondensing

    Regulatory compliance US    47 CFR FCC Part 15, Subpart B, Class B
                                ICES-003:2016 Issue 6, Class B
                                47 CFR FCC Part 15, Subpart C (Section 15.247)
                                47 CFR FCC Part 15, Subpart E (Section 15.407)
                                FCC Part 2 (Section 2.1091)
                                KDB 447498 D03

    Regulatory compliance       47 CFR FCC Part 15, Subpart B, Class B
    Canada                      ICES-003:2016 Issue 6, Class B
                                Canada RSS-247 Issue 1 (2015-05)
                                Canada RSS-Gen Issue 4 (2014-11)

    Regulatory compliance       EN 55032:2012 + AC:2013/CISPR 32:2012
    Europe                      EN 61000-3-2:2014
                                EN 61000-3-3:2013
                                EN 55024:2010
                                EN 300 328 V1.9.1 (2015-02)
                                EN 301 893 V1.8.1 (2015-03)
                                EN 50385:2002
                                EN 50581.2012
                                EN 50564: 2011
                                EN 60950-1 2005 (ed.2) + A1:2009 + A2:2013
                                EN 60950-1:2006 + A11:2009 + A12:2011 + A2:2013

    Regulatory compliance       AS/NZS CISPR 32:2013, Class B
    Australia                   AS/NZS 4268:2012 + A1:2013
                                AS/NZS 4268:2012 + A1:2013
                                AS/NZS 2772.2:2011




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